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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA




       IN RE:                                    MDL No. 3076
                                                 23-md-03076-KMM
       FTX CRYPTOCURRENCY EXCHANGE
       COLLAPSE LITIGATION




       THIS DOCUMENT RELATES TO:

       Multinational VC Defendants




                AMENDED ADMINISTRATIVE CLASS ACTION COMPLAINT
                         AND DEMAND FOR JURY TRIAL:
                           Multinational VC Defendants
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            In accordance with this Court’s Order (EFC No. 61 at 1), Plaintiffs hereby file this

    Administrative Class Action Complaint and Demand for Jury Trial pursuant to Rule 42 of the

    Federal Rules of Civil Procedure as the controlling document for pre-trial purposes, including Rule

    12(b)(6), with regards to the Multinational VC Defendants, as named herein, and as transferred to

    this Court from the following actions:

         • O'Keefe et al v. Sequoia Capital Operations, LLC at al, No. 1:23-cv-20700 (S.D. Fla.)

         • O'Keefe v. Temasek Holdings (Private) Limited, et al., No. 3:23-cv-03655 (N.D. Cal.)

         • Chernyavsky et al v. Temasek Holdings (Private) Limited, et al., No. 1:23-cv-22960

         (S.D. Fla.)

         • Cabo et al v. Temasek Holdings (Private) Limited, et al., No. 3:23-cv-03974 (N.D. Cal.)

         • To be filed action(s) once leave to file the instant amendment is granted.

         • To be filed action(s) once leave to file the instant amendment is granted.

    Plaintiffs are not otherwise joining or merging these actions, which retain their individual nature

    for all other purposes, including venue, transferor forum, personal jurisdiction, and subject matter

    jurisdiction.

            Plaintiffs use the following defined terms throughout:

                x   “MDL Defendants” collectively refers to all Defendants named in the seven

                    Administrative Class Action Complaints.

                x   “FTX Insider Defendants” refers to Samuel Bankman-Fried, Caroline Ellison, Gary

                    Wang, and Nishad Singh.

                x   “Auditor Defendants” refers to Prager Metis CPAs, LLC and Armanino LLP.

                x   “VC Defendants” collectively refers to Sequoia Capital Operations, LLC

                    (“Sequoia”), Thoma Bravo, LP (“Thoma Bravo”), Paradigm Operations LP



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                (“Paradigm”), SkyBridge Capital II, LLC (“SkyBridge”), Multicoin Capital

                Management LLC (“Multicoin Capital”), Tiger Global Management, LLC

                (“Tiger”), Ribbit Management Company, LLC (“Ribbit Capital”), Altimeter

                Capital Management, LP (“Altimeter”), and K5 Global Advisor, LLC (“K5

                Global”).

            x   “Multinational VC Defendants” refers to Defendants Sino Global Capital Limited

                (“Sino Global”) and its affiliates Sino Global Capital Holdings, LLC, Sino Global

                Capital Management LLC, Liquid Value Offshore Feeder Fund I LLP, Liquid

                Value GP Limited, Liquid Value Fund GP Ltd.; Softbank Group Corp. (“Softbank

                Group”), together with its wholly owned subsidiaries SB Group US, Inc., SoftBank

                Investment Advisers (UK) Limited, and SoftBank Global Advisers Limited and

                affiliates SoftBank II Tempest (DE) LLC (collectively, “SoftBank”); and Temasek

                Holdings (Private) Limited (“Temasek Holdings”) together with its wholly owned

                subsidiaries, Temasek International (USA) LLC (“Temasek USA”), Temasek

                International Private Limited (“Temasek International”), Artz Fund Investments

                Private Limited (“Artz” or “Artz Fund”), and Blakiston Investments Pte. Ltd.

                (“Blakiston”) (collectively, “Temasek”).

            x   “Law Firm Defendant” refers to Defendant Fenwick & West LLP.

            x   “Promoter and Digital Creator Defendants” or “Brand Ambassador Defendants”

                refers to Thomas Brady, Gisele Bündchen, Kevin O’Leary, Udonis Haslem, David

                Ortiz, Stephen Curry, Golden State Warriors, LLC, Shaquille O’Neal, William

                Treavor Lawrence, Shohei Ohtani, Noami Osaka, Solomid Corporation d/b/a Team

                Solomid, TSM and/or TSM FTX, Graham Stephan, Andrei Jikh, Jaspreet Singh,




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                   Brian Jung, Jeremy Lefebvre, Tom Nash, Erika Kullberg and Creators Agency,

                   LLC.

               x   “Bank Defendants” refers to Defendants Deltec Bank & Trust Company Ltd.

                   (“Deltec”), Farmington State Bank d/b/a Moonstone Bank (“Moonstone”), and

                   Jean Chalopin.

               x   FTX Trading LTD and its subsidiaries d/b/a FTX (“FTX Trading”) and West Realm

                   Shires Inc. and its subsidiaries (“WRS”), are together referred to herein as “FTX.”

                   WRS includes, without limitation, its subsidiary West Realm Shires Services Inc.

                   d/b/a FTX US (“FTX US”). FTX and Alameda Research, LLC and its subsidiaries

                   (“Alameda”) collectively make up the “FTX Group.”

           Plaintiffs, on behalf of themselves and all others similarly situated, sue the MDL

    Defendants for their respective actions, as outlined herein, 1 which contributed to the collapse of

    the FTX Group, including but not limited to 1) aiding and abetting and/or actively participating in

    the FTX Group’s massive, multibillion dollar global fraud, and 2) promoting, offering, or selling

    unregistered securities such as FTX’s yield-bearing accounts (“YBA”) and FTX’s native

    cryptocurrency token (“FTT”), which caused Plaintiffs substantial harm. Plaintiffs, on behalf of

    themselves and all others similarly situated, allege the following based upon personal knowledge

    as to Plaintiffs and Plaintiffs’ own acts, and upon an investigation conducted by and through

    counsel.




    1
      At the request of the Court at the June 21, 2023, Status Conference, Plaintiffs have separated
    their complaint into seven versions, each of which contains a similar set of general allegations and
    the specific allegations as to a single group of MDL Defendants. Because certain claims, such as
    civil conspiracy, are pled across multiple groups of MDL Defendants, Plaintiffs hereby incorporate
    by reference the other versions of the complaint.



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                                            INTRODUCTION

           1.      The FTX disaster is the largest financial fraud in US history. Defendant Sam

    Bankman-Fried (“SBF” or “Bankman-Fried”), FTX Group’s founder and former CEO, is on house

    arrest awaiting his criminal trial scheduled for October of this year. FTX Group’s new CEO—who

    helped wind down Enron—concluded the fraud here was worse than Enron. Billions of dollars

    have been stolen from investors across the globe.

           2.      SBF and his FTX Group caused billions of dollars in losses to Plaintiffs, through at

    least two separate schemes, both of which contributed to the downfall of the FTX Group.

           3.      On one hand, SBF and the FTX Group stole customer deposits and used billions of

    dollars in customer funds to support the operations and investments of FTX and Alameda, to fund

    speculative venture investments, to make charitable and political contributions, and to personally

    enrich SBF himself, all while publicly touting the safety of the investment and the segregation of

    customer funds. The FTX Platform 2 maintained by the FTX Group was truly a house of cards, a

    Ponzi scheme where the FTX Group shuffled customer funds between their opaque affiliated

    entities, using new investor funds obtained through investments in the FTX Platform, the YBAs,

    FTT, and/or loans to pay interest and investment withdrawals to the old ones and to attempt to

    maintain the appearance of liquidity.

           4.      On the other hand, the FTX Group offered and sold securities without proper

    registration, thereby depriving Plaintiffs of financial and risk-related disclosures that would have



    2
      “Deceptive FTX Platform” refers to the various platforms FTX created for investors to access
    crypto and related markets. It provided an easy way for investors to access an otherwise tech-
    heavy dominant world of cryptocurrencies, as The New York Times described it: “FTX serves as a
    portal to the crypto world. With the click of a button, a curious investor can turn dollars into
    Bitcoin, Dogecoin or Ether. It’s as simple as buying paper towels from Target.” In addition to
    YBAs and FTT, the Deceptive FTX Platform offered a range of trading products to cryptocurrency
    investors, including derivatives, options, volatility products, coins, tokens and leveraged tokens.

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    impacted their calculus as to whether to invest in the FTX Group. Rather than heed the myriad

    warnings from the SEC dating as far back as 2017, the FTX Group chose instead to skirt US

    regulation through deception.

             5.     This conduct violates numerous laws, including laws related to the sale of

    unregistered securities, consumer protection, professional malpractice, the California Unfair

    Competition Law, the California False Advertising Law, the California Corporations Code, the

    Florida Deceptive and Unfair Trade Practices Act, the Florida Securities and Investor Protection

    Act, and various common law causes of action as detailed herein.

             6.     As outlined herein, MDL Defendants directly perpetrated, conspired to perpetrate,

    and/or aided and abetted the FTX Group’s multi-billion-dollar frauds for their own financial and

    professional gain.

             7.     Because of these schemes, the FTX Group imploded, and over $30 billion in value

    evaporated almost overnight when the FTX Group filed its emergency Chapter 11 bankruptcy

    petition in Delaware.

             8.     The first filed action transferred into this MDL was filed in Florida against the

    Brand Ambassador Defendants and resulted from the FTX Group’s multi-billion-dollar frauds. 3 It

    was revealed how these famous celebrities and influencers were paid hundreds of millions of

    dollars through bribes to promote FTX under the now admittedly false narrative that investors and

    consumers could “trust” FTX because the Brand Ambassador Defendants “knew FTX” and “were

    all in” and therefore investors should invest their money too. These defendants never denied these

    allegations outright in the multiple motions to dismiss that they filed; instead, their primary defense

    was that they were not subject to personal jurisdiction in Florida.



    3
        Garrison v. Bankman-Fried, S.D. Fla. Case No. 1:22-cv-23753-KMM.

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           9.     The Garrison plaintiffs sought to create this MDL, arguing that Defendants’

    jurisdictional arguments would fall by the wayside when all the actions were consolidated.

    Subsequently, the Garrison plaintiffs amended their complaint to add the Declaration of Dan

    Friedberg, making it clear that Miami was the epicenter of the FTX fraud.            With those

    developments, Defendants must now face the merits.

           10.    Since the initial complaints in this MDL were filed, it has become even more clear

    that Florida law applies to all Class Members on the securities-related claims. Judge Rakoff’s

    recent Terraform opinion, discussed further below, demonstrates that the FTX Platform, YBAs,

    and FTT are all securities. This leaves the MDL Defendants with no defense regarding whether

    the violations occurred; they can only argue that they, personally, did not aid and abet any

    violations.

           11.    The MDL Defendants will surely point to one another in an attempt to minimize

    their involvement and absolve their liability in this lawsuit. But to be sure, every single MDL

    Defendant is responsible for the damages that Class Members have sustained. As further detailed

    herein, every MDL Defendant was a necessary player in pushing the FTX fraud to the

    unprecedented extent it reached, and all made exorbitant amounts of money in the process of doing

    so. For instance, the Law Firm Defendants suggested and implemented the plans. Just the same,

    the Bank Defendants helped move the money, the advertising agencies help create the false

    narratives, the Brand Ambassador Defendants gave them instant credibility and the Domestic and

    Multinational VC Defendants, unfortunately, stamped it with their approval.

           12.    FTX will be involved in federal bankruptcy proceedings for many years and there

    is no guarantee that any of the victims will be able to see any recovery from those proceedings.




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    This class action, pending in the Southern District of Florida as a Multi-District Litigation, may be

    the only avenue for any of the victims to recover any of their damages.

                                                PARTIES

           13.     Plaintiff Brandon Orr is a citizen and resident of the State of Arizona. He is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Orr purchased or held legal

    title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

    FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Orr has sustained damages for which the MDL Defendants are liable.

           14.     Plaintiff Leandro Cabo is a citizen and resident of the State of California. He is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Cabo purchased or held legal

    title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

    FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Cabo has sustained damages for which the MDL Defendants are liable.

           15.     Plaintiff Ryan Henderson is a citizen and resident of the State of California. He

    is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Henderson purchased or

    held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Henderson has sustained damages for which the MDL

    Defendants are liable.

           16.     Plaintiff Michael Livieratos is a citizen and resident of the State of Connecticut.

    He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Livieratos purchased

    or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific




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    allegations set forth herein, Plaintiff Livieratos has sustained damages for which the MDL

    Defendants are liable.

           17.     Plaintiff Alexander Chernyavsky is a citizen and resident of the State of Florida.

    He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Chernyavsky purchased

    or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Chernyavsky has sustained damages for which the MDL

    Defendants are liable.

           18.     Plaintiff Gregg Podalsky is a citizen and resident of the State of Florida. He is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Podalsky purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Podalsky has sustained damages for which the MDL Defendants are liable.

           19.     Plaintiff Vijeth Shetty is a citizen and resident of the State of Florida. He is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Shetty purchased or held legal

    title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

    FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Shetty has sustained damages for which the MDL Defendants are liable.

           20.     Plaintiff Chukwudozie Ezeokoli is a citizen and resident of the State of Illinois.

    He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Ezeokoli purchased

    or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific




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    allegations set forth herein, Plaintiff Ezeokoli has sustained damages for which the MDL

    Defendants are liable.

           21.     Plaintiff Michael Norris is a citizen and resident of the State of New Jersey. He is

    a natural person over the age of 21 and is otherwise sui juris. Plaintiff Norris purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Norris has sustained damages for which the MDL Defendants are liable.

           22.     Plaintiff Edwin Garrison is a citizen and resident of the State of Oklahoma. He is

    a natural person over the age of 21 and is otherwise sui juris. Plaintiff Garrison purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Garrison has sustained damages for which the MDL Defendants are liable.

           23.     Plaintiff Shengyun Huang is a citizen and resident of the State of Virginia. He is

    a natural person over the age of 21 and is otherwise sui juris. Plaintiff Huang purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Huang has sustained damages for which the MDL Defendants are liable.

           24.     Plaintiff Julie Papadakis is a citizen and resident of the State of Virginia. She is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Papadakis purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Papadakis has sustained damages for which the MDL Defendants are liable.




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            25.    Plaintiff Vitor Vozza is a citizen and resident of the Federal Republic of Brazil.

    He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Vozza purchased or

    held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Vozza has sustained damages for which the MDL Defendants

    are liable.

            26.    Plaintiff Kyle Rupprecht is a citizen and resident of the Dominion of Canada. He

    is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Rupprecht purchased or

    held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Rupprecht has sustained damages for which the MDL

    Defendants are liable.

            27.    Plaintiff Warren Winter is a citizen and resident of the Federal Republic of

    Germany. He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Winter

    purchased or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or

    invested through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the

    specific allegations set forth herein, Plaintiff Winter has sustained damages for which the MDL

    Defendants are liable.

            28.    Plaintiff Sunil Kavuri is a citizen and resident of the United Kingdom of Great

    Britain and Northern Ireland. He is a natural person over the age of 21 and is otherwise sui juris.

    Plaintiff Kavuri purchased or held legal title to any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific




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    allegations set forth herein, Plaintiff Kavuri has sustained damages for which MDL Defendants

    are liable.

            29.    Defendant Temasek Holdings (Private) Limited (“Temasek Holdings”) is a

    global commercial investment company owned by the Government of Singapore, with a portfolio

    valued at more than $280 billion. Temasek Holdings has only one employee, its CEO, and

    otherwise relies entirely upon its subsidiaries to carry out business. Temasek Holdings operates

    through subsidiaries, including Defendant Temasek International Private Limited (“Temasek

    International”), which shares the same CEO as Temasek Holdings, and Defendant Temasek

    International (USA) LLC (“Temasek USA”), a Delaware corporation with a registered

    California corporate branch in San Francisco, California., and Defendants Artz Fund

    Investments Private Limited (“Artz”) and Blakiston Investments Pte. Ltd. (“Blakiston”), 4

    investment vehicles through which Temasek invested in FTX, and otherwise aided, abetted,

    assisted, and facilitated the misconduct alleged herein, including FTX’s illegal sale of fraudulent

    unregistered securities. Temasek’s other U.S. investments include PayPal, SoFi, and Airbnb.

            30.    Temasek Holdings has no employees except the Temasek CEO, such that all acts

    of Temasek Holdings are necessarily done by agents who work for other Temasek entities. Upon

    information and belief, Temasek Holdings ultimately funds the acquisition price of investments

    such as FTX, which it owns though investment arms such as Artz. Temasek Holdings sets

    investment “objectives and strategies” of the investments made through and/or managed by

    Temasek, the proceeds of which, upon information and belief, are rolled into Temasek Holdings’

    financial results and are for the benefit of the citizens of Singapore.




    4
     Collectively, Temasek Holdings, Temasek International, Temasek USA, Artz, and Blakiston
    are referred to as “Temasek” herein.

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           31.     Temasek’s leadership holds itself out as “OneTemasek.” 5 Jane Atherton, Temasek

    USA’s corporate representative, attests that she is the Managing Director of Temasek USA, 6 but

    the Temasek website states only that she has been with “Temasek” since 2017 and currently serves

    as “Joint Head, North America.” 7 Similarly, although Temasek maintains that Pradyumna Agrawal

    is strictly an employee of Temasek International, 8 Temasek holds him (and Ms. Atherton) out as

    “Senior Management,” a group apparently charged with “set[ting] the tone and culture of the team”

    and “leading the delivery of Temasek’s vision and mission.” 9 These facts indicate that Temasek

    USA, Temasek International, and Artz Fund were maintained and operated as Temasek Holdings’

    agent, created for the express purpose of facilitating access to the U.S. market. 10 The entities have

    interlocking directorates and leadership, and employees of one entity frequently serve as

    authorized representatives of other entities in order to carry out common goals or objectives of

    Temasek as set by Temasek Holdings.

           32.     Upon information and belief, Temasek employs nearly 200 people in the United

    States and has offices in New York, New York, San Francisco, California, and Washington, D.C.,




    5
       Id. (“Operating as OneTemasek, our management team implements the strategy and policy
    directions set by the Temasek Board to fulfill our three roles as investor, institution, and steward.”).
    E.g., Temasek International’s Chairman concurrently serves as Executive Director of Temasek
    Holdings, to “oversee[] the development of Temasek” and “work closely with [Temasek
    International’s CEO] on commercial strategies and portfolio matters.” See supra note 42
    “Leadership Succession at Temasek International.”
    6
      See R. Doc. 300-3, ¶ 1.
    7
       “Our Leadership,” https://www.temasek.com.sg/en/about-us/our-leadership#content-temasek-
    corporate-en-about-us-our-leadership-jcr:content-par-tabbed_content_copy-
    tabbed_content_item0-tabpar-gridtabs_1827184518_-item (last accessed Nov. 3, 2023).
    8
      See R. Doc. 300-2, ¶ 8.
    9
      “Our Leadership,” https://www.temasek.com.sg/en/about-us/our-leadership#senior-management
    (last accessed Nov. 3, 2023).
    10
       See Bowoto v. Chevron Texaco Corp., 312 F. Supp. 2d 1229, 1244 (N.D. Cal. 2004) (recognizing
    that “overlap between officers and directors, coupled with other factors tending to show agency,
    is probative of whether an agency finding is warranted”).

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    which it opened in 2014, 2017, and 2018, respectively. Employees of Temasek International

    frequent Temasek USA’s offices when needed for business meetings, etc. For example, Temasek

    International employees Pradyumna Agrawal and Antony Lewis held a meeting with SBF and Mr.

    Ramnik Arora at Temasek USA’s New York, New York office regarding the FTX investments at

    issue in this case.

              33.      Temasek International and Temasek USA constitute Temasek Holdings’s

    investment arm. More specifically, Temasek International and Temasek USA are separate service

    entities, which source, monitor, and manage Temasek’s various investments. Each of Temasek

    International and Temasek USA provides research-based investment consulting to Temasek Pte.

    Ltd., which passes along those recommendations to Temasek Holdings. Temasek International and

    Temasek USA make these investment recommendations based on Temasek’s “objectives and

    strategies.” Neither Temasek International nor Temasek USA provides any service—investment

    or otherwise—to any non-Temasek entities. Instead, Temasek International and Temasek USA

    service only those entities that fall under, and roll up to, Temasek Holdings.

              34.      Temasek Holdings and Temasek International maintain interlocking directorates

    and loci of control. Indeed, “[Temasek International] houses all our management and staff, except

    the Temasek CEO who continues to be employed under Temasek Holdings (TH).” 11

              35.      The agency relationships among the Temasek Defendants is reflected in signed

    agreements with FTX or Alameda, Temasek itself agreed to the application of agency principles

    as to all of its subsidiaries, including the named Temasek Defendants.

              36.




    11
         Id. at 112.

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          37.




          38.




    12
      See, e.g., “Temasek Review 2023,” https://www.temasekreview.com.sg/downloads/Temasek-
    Review-2023-full-version.pdf (last accessed Nov. 3, 2023).

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           39.     Notably, Temasek has even held itself out in public documents as one unit with

    respect to its investment in FTX. In early 2022, Mr. Agrawal posted on Twitter regarding

    “Temasek”’s—not Artz Funds’ or Temasek International’s—partnership with and investment in

    FTX. 13 Moreover, although Belinda Wun testified on behalf of Temasek Holdings that “Temasek

    Holdings did not invest in FTX,” Temasek Holdings represents otherwise in its “Temasek Review

    2023” when it states, “we are disappointed with the outcome of our [FTX] investment, and the

    negative impact on our reputation.” 14 On its website, Temasek states, “We invested” $210 million

    in FTX International, and US$65 million in FTX US. 15

           40.     In February 2017, Temasek officially opened its San Francisco office and, notably,

    Temasek’s American work population is its third largest nationality group. Temasek’s then Joint

    Head of North America, John Vaske, stated in a press release, which remains on Temasek’s

    website 16 that: “We recognize that opportunities arising from the East Coast and the West Coast

    are diverse and unique, and have always intended to have an office in San Francisco alongside our

    New York office. We have been stepping up our US investments, and our exposure to North

    America has grown to 10% of our portfolio as of March 31, 2016. The opening of our San

    Francisco office comes at a time where we see increasing opportunities in areas such as technology,

    healthcare, life sciences and agriculture, as well as early-stage investments.”

           41.     The Temasek press release describes and promotes Temasek’s deep ties with tech

    investing in California: “Over the years, we have been constantly engaging our friends in the US,



    13
       R. Doc. 300-2, ¶¶ 313, 346.
    14
       See supra note 43 “Temasek Review 2023,” at p. 11.
    15
        “FTX Statement and FAQs,” https://www.temasek.com.sg/en/news-and-resources/news-
    room/statements/2022/statement-FTX#how-did-Temasek-engage-FTX-management            (last
    accessed Nov. 3, 2023).
    16
       https://www.temasek.com.sg/en/news-and-resources/news-room/news/2017/temasek-expands-
    footprint-in-north-america-with-san-francisco-office

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    and have gained valuable experiences and insights. Having our feet on the ground now allows us

    to broaden and strengthen these valued relationships, especially those in the Valley. It enables us

    to deepen our engagement, not just with the vibrant ecosystem of startups, technology companies

    and the business community, but also the wider community, here in the US.” Temasek reported

    that its “expanded presence in North America reflects the growing investment opportunities in the

    region” and that the San Francisco office, in particular “serve[s] as a gateway to investment

    opportunities and facilitate[s] the deepening of relationships within the Bay area and beyond.”

           42.     The same press release notes that “[t]he opening of Temasek’s San Francisco office

    was also marked by the second meeting of its Temasek Americas Advisory Panel, which was

    launched in June 2016” and “[t]he Panel comprises pre-eminent business leaders with deep

    experience, insights and perspectives on significant industry, economic, social and political trends,

    with a focus on the Americas.”

           43.     The Temasek press release also included a statement from Lee Theng Kiat, then-

    CEO of Defendant Temasek International Pte. Ltd. that: “[t]he opening of our San Francisco office

    underscores the importance of North America as an investment destination for us. It will work

    closely with our offices in New York, Mexico City and São Paulo in Brazil to cover both North

    and Latin America. As a global investor, we will look to these offices, including our London office

    for Europe and Africa, to provide a lift for our portfolio beyond Asia.”

           44.     Temasek’s many investment vehicles include Defendant Artz Fund Investments

    Pte. Ltd., through which it invested in FTX and otherwise aided, abetted, assisted, and facilitated

    the misconduct alleged herein, including FTX’s illegal sale of fraudulent unregistered securities.

    Temasek’s other U.S. investments include PayPal, SoFi, and Airbnb.




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           45.     Defendant SoftBank Group Corp. (“SoftBank Group”) is a Japanese

    multinational investment corporation located at 1-7-1, Kaigan, Minato-Ku, Tokyo, 105-7537,

    Japan. SoftBank Group Corp. is the corporate parent of, and operates Defendant SB Group US,

    Inc. (“SoftBank US”), its subsidiary entity through which it runs its U.S. operations. SoftBank

    US is a Delaware Corporation with a registered California branch office in Silicon Valley, located

    at 1 Circle Star Way, 4th Floor, San Carlos CA, 94070.

           46.     SoftBank Group invested in FTX through its SoftBank Vision Fund. SoftBank

    Vision Fund is the largest global technology investing platform with over $150 billion in assets

    across over 500 portfolio companies Softbank Vision Fund includes Defendant SoftBank II

    Tempest (DE) LLC, the Delaware corporation that served as the investment vehicle to fund and

    otherwise aid, abet, assist and facilitate the misconduct alleged herein, including FTX’s illegal sale

    of fraudulent unregistered securities (together “SoftBank Vision Fund”). Through the SoftBank

    Vision Fund, SoftBank Group seeks to invest in “market-leading, tech enabled growth companies,

    particularly in private companies valued at over $1 billion at the time of investment, colloquially

    known as ‘unicorns.’” Upon information and belief, SoftBank employes more than 300 people in

    the United States and maintains offices in Menlo Park, California, Miami, Florida, New York,

    New York, and Washington, D.C. SoftBank has invested billions in dozens of U.S. companies,

    many based in Silicon Valley, including WeWork, Uber, DoorDash, Nvidia, Fanatics, and Slack.

           47.     The SoftBank Vision Fund is managed by Defendant SoftBank Investment

    Advisers (UK) Limited (“SoftBank Investment Advisers”) and Defendant SoftBank Global

    Advisers Limited (“SoftBank Global Advisers” and, together with Softbank Investment Advisers,




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    “Softbank Advisers”), direct subsidiaries of SoftBank Group. 17 The SoftBank Advisers both list

    their main office as 69 Grosvenor Street, Mayfair, London, W1K 3JP, England, United Kingdom.

    The SoftBank Advisers also have offices and conduct business in California at 1 Circle Star Way,

    4th Floor, San Carlos, CA 94070. SoftBank’s decision to materially assist and facilitate FTX’s

    fraud was made in part in its California offices.

           48.     Defendant Sino Global Capital Limited (“Sino Global”) is a venture capital firm

    founded and run by Mathhew Graham. Its headquarters are located at 12/F, Tsim Sha Tsui Centre,

    Salisbury Rd, Tsim Sha Tsui, Hong Kong and it also maintains employees and offices in

    California, Kentucky and the Bahamas, at a minimum. Sino Global has hundreds of millions of

    dollars of assets under management including a large equity presence in several California

    technology companies. Sino Global invested in the FTX Group and otherwise aided, abetted,

    assisted and facilitated the FTX Group’s fraud and other misconduct. Sino Global has hundreds of

    millions of dollars of assets under management and, in addition to its stake in FTX US, maintains

    a large equity presence in a number of U.S.-based technology companies. Sino Global invests in

    California tech startups and has numerous investments in California, including: Evertas (a

    cryptocurrency insurance company); Impossible Finance; MetaPlex; and Portals. Sino Global’s

    Founder and chief executive, Matthew Graham, extensively touted his relationship with and trust

    in FTX, including on podcast hosted by Apple in Cupertino, CA. Sino Global has co-invested with

    Alameda Research in at least 14 separate early-stage investments. Sino Global operates in the

    United States through, among other related entities referenced herein, a wholly owned Delaware

    subsidiary, Defendant Sino Global Capital Holdings, LLC, which Matthew Graham also admits




    17
      Collectively, Softbank Group, SoftBank US, SoftBank Vision Fund, SoftBank Investment
    Advisers, and SoftBank Global Advisers are referred to as “SoftBank” herein.

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    “has utilized a co-working space” in Florida as its “mailing address.” Matthew Graham enjoys

    ultimate control over the Sino Global Capital-related entities named herein. Upon information and

    belief, the entities are small, and their members, officers, executives, directors, and/or employees

    work in various capacities across multiple such entities.

           49.     Sino Global started a $200 million crypto investment fund, Defendant Liquid

    Value Offshore Feeder Fund I LLP, in October 2021 with the “substantial” financial backing of

    the FTX Group after investing in FTX. called the “Liquid Value Fund I” that engaged in crypto

    trading and investment, including in the unregistered FTX securities alleged herein. The mutual

    aid and assistance provided between Sino Global and FTX could not be clearer when SBF touted,

    “We are excited to support the launch of Sino Global Capital's institutional fund," and stated that

    "from the very beginning, Matthew [Graham, Sino Global’s founder and CEO] and the Sino Global

    Capital team supported the FTX vision and then worked with us to help make it a reality. The Fund

    will now provide more opportunities to projects that are pushing crypto and blockchain

    technologies to the next level.” Sino Global traded in and helped churn and prop up FTX’s

    unregistered, unqualified securities with money FTX provided it. FTX's illiquid securities can be

    found on the balance sheet of Sino Global. Sino Global Capital’s promotional slide deck for the

    joint fund with FTX reveals that Sino Global Capital maintained a team member in Miami, as well

    as one in Utah and another in “USA.” The full deck is attached hereto as Exhibit E.

           50.     Defendant Sino Global Capital Management LLC is a United States-based

    registered Investment Adviser that raised money for Defendant Liquid Value Offshore Feeder

    Fund I LP, which was the fund created by Matthew Graham and Sam Bankman-Fried. The seed

    money Matthew Graham raised for this fund was primarily from Sam Bankman-Fried and




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    Alameda, and was raised through an entity named “Maclaurin Investments Ltd.,” an

    entity formerly known as “Alameda Ventures Ltd.”

           51.     Defendant Sino Global Capital Management LLC lists its principal office and

    place of business at a Florida address, at 1111 Brickell Avenue, 10 Floor, Miami, FL 33131 with

    a telephone number with a (206) area code, on an investment adviser application (available at

    https://reports.adviserinfo.sec.gov/reports/ADV/326303/PDF/326303.pdf). FTX maintained an

    office in the same building, which online touts online its environment or design which are intended

    to facilitate “meaningful connections” among tenants. On the form ADV, Defendant Sino Global

    Capital Management LLC stated it was organized as a limited partnership (LP) and not an LLC

    (contrary to its corporate name). Defendant Liquid Value GP Limited is listed as a related

    person. The form also identifies Defendant Liquid Value Offshore Feeder Fund I LP as a

    private fund (with reported assets of $111,351,942) with the general partner of that fund as

    Defendant Liquid Value GP Limited. Matthew Graham is listed as the managing member. The

    Investment Adviser Application is signed by Patrick Loney, as General Counsel, with an email

    address that includes a sinoglobalcapital email prefix (@sinoglobalcapital.com).

           52.     Defendant Liquid Value Fund GP Ltd. lists the Sino Global Capital Ltd. website

    as its website (https://www.sinoglobalcapital.com/) in its filings (i.e. a form ADV at

    https://reports.adviserinfo.sec.gov/reports/ADV/317744/PDF/317744.pdf),         supporting     the

    conclusion that Defendant Liquid Value Fund GP Ltd. and the other named Sino Global entities

    are all agents and alter egos of Defendant Sino Global Capital Ltd.




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              53.   Defendant Liquid Value GP Ltd. lists its address as a Hong Kong address on a

    Form ADV filed with the SEC. 18 It is now not currently registered and not filing reports with the

    SEC. 19

              54.   The Sino Global Defendants therefore relied upon FTX funds to fund their own

    venture capital funds, and therefore the Sino Defendants relied upon investment funds traceable

    directly to FTX customer accounts, through Alameda. These funds were directly derived from

    activity in California and Florida, including: (1) the settlement of Alameda’s trades by Alameda

    employees in California; (2) the improperly obtained regulatory approval of the Florida-based

    LedgerX platform to serve as FTX’s derivative trading platform by Florida FTX employees, (3)

    multiple other FTX US employees based in California and Florida, involved with future plans for

    FTX such as a plan to construct “cold wallets” for FTX customers; (4) travel by FTX executives

    between Florida and the United States; and (5) promotional activities in Miami including seats in

    FTX arena for the Miami Heat.

              55.   The Multinational VC Defendants were more than passive investors with respect to

    FTX. In addition to supplying FTX with hundreds of millions of dollars in critical capital infusions,

    they lent their reputation and expertise to aid and assist SBF’s scheme. After conducting

    supposedly significant due diligence on the FTX Group and gaining awareness of the misconduct,

    omissions related parties and fraud highlighted herein, the Multinational VC Defendants injected

    hundreds of millions of dollars into the FTX Platform, all the while touting the safety and

    legitimacy of the exchange to the public. Even more, the Multinational VC Defendants advised

    and monitored FTX’s growth, including, in the case of Temasek and Softbank, by serving on




    18
         https://reports.adviserinfo.sec.gov/reports/ADV/317744/PDF/317744.pdf
    19
         https://adviserinfo.sec.gov/firm/ summary/317744.

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    FTX’s Advisory Board. The FTX Group returned the favor by investing money in return with

    some of the Multinational VC Defendants.

           56.     In addition, FTX executives provided auditors and investors with information

    which clearly indicated the scale of the improper transfer of customer funds to Alameda – in

    particular, FTX insisted on an interest payment from the line of credit to Alameda, and disclosed

    that interest to auditors and investors.

           57.     Caroline Ellison, Nishad Singh and Gary Wang were able to tally up exactly how

    much Alameda had borrowed under its line of credit with FTX from information from FTX

    databases and the Alameda databases. The line of credit didn’t start out as $65 billion but instead

    started as just a few million dollars. Managers discovered multiple times that they had run over

    the line of credit, beginning in 2019.

           58.     Other customers on the FTX exchange also had lines of credit. In particular, market

    makers such as Jump Trading had lines of credit memorialized with written agreements. These

    lines of credit were typically in the single to double-digit millions of dollar range and, upon

    information and belief, known to FTX’s equity investors.

           59.     With respect to the lines of credit, FTX imposed no direct restrictions, but typically

    Alameda and other borrowers could not use the lines of credit to directly withdraw assets from the

    platform - only to put positions on the platform (i.e. buy assets).

           60.     The approximate value of the Alameda line of credit was about one or two billion

    dollars and FTX was charging a one or two percent interest rate. The value of the interest was in

    the tens of millions of dollars. These amounts were about an order of magnitude higher than the

    interest for any other market maker and, upon information and belief, known to FTX’s equity

    investors.




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              61.   The lines of credit were not disclosed to people outside FTX, but the interest paid

    on the lines of credit showed up in FTX’s revenue and were disclosed to investors. Alameda was

    also charged interest for a portion of their line of credit and this was reflected in the revenue

    breakdown.

              62.   FTX’s internal systems had a page which could generate the breakdowns of the

    revenue and which could be printed out and posted on Slack. Sam Bankman-Fried gave this

    information to the auditors and he gave the financials to the investors. The auditors had access to

    this breakdown of fees by category. Along with Sam Bankman-Fried, Ramnik Arora was involved

    with the audits.

              63.   Each of the Multinational VC Defendants is liable for making deceptive and/or

    misleading statements, willfully participating in acts that damaged Class Members in violation of

    the law, and/or aiding, abetting or otherwise materially assisting violations of law as described

    herein. In committing the wrongful acts alleged herein, each of the Multinational VC Defendants

    willfully participated in acts and transactions and/or aided and abetted such unlawful acts and

    transactions, which promoted the purported trustworthiness, favorable risk profile, and financial

    stability of the FTX Platform and of the FTX Group, thereby deceiving and injuring the investing

    public.

                                     JURISDICTION AND VENUE

              64.   This Court has subject matter jurisdiction over this action for the reasons set forth

    in the underlying complaints in actions transferred to this MDL Transferee Court, including

    pursuant to 28 U.S.C. § 1332(d)(2)(A) because this is a class action for a sum exceeding

    $1,000,000,000.00 (one billion dollars), exclusive of interest and costs, and in which at least one

    class member is a citizen of a state different than the MDL Defendants, and also, where applicable,




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    pursuant to 28 U.S.C. § 1331 as the claims against the MDL Defendants include federal questions

    arising under the laws of the United States.

            65.     This Court has jurisdiction over every MDL Defendant in this multi-district

    litigation because every MDL Defendant was transferred to this forum from a transferor court

    which had personal jurisdiction over that MDL Defendant.

            66.     Under 28 U.S.C. § 1407, venue is proper pursuant to the valid transfer and Fed. R.

    Civ. P. 42 pre-trial consolidation of these cases in this District by the Judicial Panel on Multidistrict

    Litigation.

            67.     All conditions precedent to the institution and maintenance of this action have been

    performed, excused, waived, or have otherwise occurred.

                                       FACTUAL ALLEGATIONS

    A. The Rise of FTX

            68.     In May 2019, SBF and his co-founders, Gary Wang and Nishad Singh, launched

    FTX, which, along with various subsidiaries, affiliates and related entities, operated the FTX

    Platform, which FTX purported to be a centralized digital asset exchange aimed at “the mass

    market and first-time users” of cryptocurrencies.

            69.     FTX portrayed itself as a trustworthy and law-abiding member of the

    cryptocurrency industry, focused not only on profits, but also on investor and client protection. In

    public statements, including in testimony before the United States Senate, SBF stated that FTX

    had adopted “principles for ensuring investor protections on digital asset-platforms” including

    “avoiding or managing conflicts of interest,” and that “[a]s a general principle[,] FTX segregate[s]

    customer assets from its own assets across our platforms.” SBF spent millions on advertisements




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    to portray FTX as the “safest and easiest way to buy and sell crypto” and “the most trusted way to

    buy and sell” digital assets. 20

            70.     All the while, however, FTX was doing none of these things. Instead of managing

    conflicts, the FTX Group actively embraced them, using FTX Trading, FTX.US, and Alameda

    funds interchangeably to prop up the enterprise. Contrary to SBF’s statements, FTX had no focus

    on investor protection and did not segregate customer funds. Rather, FTX used customer assets as

    an interest-free source of capital for Alameda’s and SBF’s private ventures.

            71.     FTX was conceived in Northern California before transitioning its headquarters to

    Chicago, Illinois, and ultimately landing its domestic operations in Miami, Florida, where FTX

    US was headquartered and where, in early 2021, FTX purchased the naming rights to the Miami

    Heat’s waterfront arena for more than $135 million, one of many sports venues on which FTX

    paid to have its name emblazoned and one of many extravagant purchases made with Class

    Members’ funds. Theselection of Miami occurred for many reasons, including a desire to

    consolidate operations in the United States, FTX US employees’ preference for Miami for such

    consolidation, Miami’s close proximity to the Bahamas and ease of travel between the two locales,

    Mr. Dexter’s stature within FTX US, SBF’s relationship with Miami mayor Francis Suarez,

    Miami’s status as an informal “crypto hub,” and the rebranding of the Miami Heat arena as FTX

    Arena. In the following days, at least twenty-one employees not already located in Miami indicated

    they would move to Miami soon. Others indicated they would spend the majority of their time in

    Miami. FTX US selected a new, bigger office space in Miami to expand into as part of the

    relocation of its official headquarters.




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      See United States of America v. Samuel Bankman-Fried a/k/a “SBF”, S5 Cr. 673 (LAK), Dkt.
    115, Superseding Indictment at ¶ 2 (March 28, 2023).

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           72.     Beginning no later than early 2019, for FTX Trading, and no later than May 22,

    2020, for FTX US, Class Members could open “yield-bearing accounts” (“YBAs”) and/or other

    accounts, and deposit a wide assortment of cryptocurrencies, as well fiat currency, including U.S.

    dollars, into the accounts (“Class Member funds”) through the FTX website or through FTX’s

    mobile app.

           73.     FTX lured Class Members to make such deposits with promises of guaranteed 8%

    annual percent yield on assets equivalent up to $10,000 USD and guaranteed 5% annual percent

    yield on amounts between $10,000 USD and $100,000 USD, each of which compounded hourly

    upon a Class Member’s deposit of funds. At no time did FTX register the YBAs pursuant to any

    federal or state securities law, as discussed more fully below.

           74.     By structuring the rates of returns in this way, FTX targeted nascent investors—

    i.e., those under the age of 30 and/or new to trading, both inexperienced and unsophisticated—by

    tying higher rates of return to lower deposit amounts with “no fees and no minimum balances.”

           75.     Unlike a traditional brokerage, FTX took custody of Class Members’ assets, which

    FTX promised to safeguard. In its terms of service, FTX represented to Class Members that “[a]ll

    cryptocurrency or dollars (or other supported currencies) that are held in your account are held by

    FTX.US for your benefit;” that “[t]itle to cryptocurrency represented in your FTX.US Account

    shall at all times remain with you and shall not transfer to FTX.US.;” and that “FTX.US does not

    represent or treat assets in your FTX.US Account as belonging to FTX.US.” FTX Trading’s terms

    of service similarly represented that no customer funds were “the property of, or shall be loaned

    to, FTX Trading,” and that FTX Trading “does not represent or treat Digital Assets in User’s

    Accounts as belonging to FTX Trading.”




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            76.     FTX assured Class Members that their assets were safe and could be withdrawn at

    any time, claiming on its website that “FTX does back the principal generating the yield with its

    own funds and equity.” In addition, FTX posted a document on its website entitled “FTX’s Key

    Principles for Ensuring Investor Protections on Digital-Asset Platforms,” which stated that FTX

    “segregates customer assets from its own assets across our platforms.” The document also

    represented that FTX maintained “liquid assets for customer withdrawals . . . [to] ensure a customer

    without losses can redeem its assets from the platform on demand.” SBF further promised, on

    Twitter in August 2021, “[FTX] will always allow withdrawals (except in cases of suspected

    money laundering/theft/etc.).”

            77.     FTX also promised to protect against the risk that any customer would engage in

    self-dealing on the exchange or otherwise try to manipulate the market. For example, FTX claimed

    to offer “wash trading protection,” representing that it implemented “exchange controls that

    actively prevent a party trading with themselves.” Additionally, FTX represented, in its terms of

    service, that “FTX.US does not permit self-trades in order to manipulate markets, reported

    statistics, or cause liquidations.”

            78.     FTX also purported to protect against the risk that any customer would become

    overleveraged or undercollateralized on the platform. For this, FTX touted its “risk-engine,” an

    automated monitoring system that required FTX customers to pledge additional collateral to their

    accounts as trades went bad and, if the customer failed to do so, liquidated that customer’s assets.

    FTX detailed its auto-liquidating “risk engine” and other purported risk management procedures

    in a public proposal to the U.S. Commodity Futures Trading Commission (“CFTC”), in which

    FTX sought permission to trade non-intermediated margin products (i.e., without any intermediary

    to hold customer funds):




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           A participant’s margin level is recalculated every 30 seconds as positions are
           marked to market, and if the collateral on deposit falls below maintenance margin
           level, FTX’s automated system will begin to liquidate the portfolio. The automated
           system will liquidate 10 percent of a portfolio at a time by placing offsetting orders
           on the central limit order book. Once the liquidation process results in collateral on
           deposit that exceeds the margin requirement, the liquidation will stop. Because the
           liquidation is done automatically and positions are marked to market every 30
           seconds, these liquidations can occur at any time, on a “24-7” basis.

           79.     FTX claimed that this and other risk management procedures distinguished it from

    other cryptocurrency exchanges and ensured that Class Member funds were protected from losses

    by other users. For example, on May 11, 2022, SBF tweeted that “the margin mode is safe and

    conservative: real time risk engines mean you neither have to preemptively liquidate days early,

    nor risk positions going underwater for days.” The next day, SBF testified before the U.S. House

    of Representatives Committee on Agriculture that:

           In our risk model the collateral is held directly at the clearinghouses, the collateral
           for all the positions. There is CFTC oversight of that collateral, and it is guaranteed
           to be there to not be used for anything else, to be segregated, and that is a difference
           with traditional models. It provides an extra guarantee of the assets backing these
           positions. (emphasis added).

    At that hearing, in response to Chairwoman Jahana Hayes’ concern that FTX’s risk monitoring

    system “could create an opening for fraud and abuse, particularly towards new customers that are

    entering the digital asset market for the first time,” SBF assured that in FTX’s model, “there is a

    lot of capital which is held directly with CFTC oversight [and] segregated accounts for margin

    for the customers’ positions, which also provides a capital backstop . . . .” (emphasis added).

           80.     More generally, in television commercials, in print advertising, through interviews

    and spokespeople, on Twitter, TikTok, Instagram, and Facebook, and in other publications, FTX

    repeatedly peddled itself as “the safest and easiest way to buy and sell crypto,” and SBF repeatedly

    promised that “our users’ funds and safety come first.” In highlighting FTX’s purported safety,




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    SBF and other FTX executives falsely represented that FTX was insured by the Federal Deposit

    Insurance Corporation (“FDIC”)—including in a tweet by FTX US President Brett Harrison that

    “direct deposits from employers to FTX US are stored in individually FDIC-insured bank accounts

    in the users’ names,” and “stocks are held in FDIC-insured . . . accounts”—until the FDIC ordered

    that FTX cease and desist in a letter dated August 18, 2022.

           81.     SBF’s carefully curated public persona complemented FTX’s veneer of safety and

    was critical to FTX’s meteoric rise. SBF came to be “the best-known proponent of the ‘effective

    altruism’ social movement which believes in prioritizing donations to projects that will have the

    largest impact on the most people.” In touting his commitment to the movement, SBF explained

    on YouTube and to journalists that “I wanted to get rich, not because I like money but because I

    wanted to give that money to charity,” and that “I pretty quickly run out of really effective ways

    to make yourself happier by spending money . . . . I don’t want a yacht.”

           82.     But in truth, SBF did want a yacht, and he wanted Formula One teams, BMWs,

    beachfront condos, and cocaine-fueled parties. And he got those things—with Class Member

    funds. SBF’s association with altruism and charity, and his public denouncements of greed and

    excess, generated a false trustworthiness among the public and provided necessary goodwill for

    FTX, each critical to hide his lavish spending of Class Member funds.

           83.     On the basis of these reassurances, along with other representations described

    herein, FTX grew to become one of the largest cryptocurrency exchanges in the world—at its peak,

    the exchange’s trading volumes reached approximately $21 billion per day and its valuation topped

    $32 billion within three years of its founding.




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    B. FTX’s Key Players

              I.    Defendant Sam Bankman-Fried

           84.     FTX was founded in 2019 and began as an exchange or marketplace for the trading

    of crypto assets. FTX was established by SBF, Gary (Zixiao) Wang and Nishad Singh, with

    operations commencing in May 2019. FTX was purportedly established to build a digital asset

    trading platform and exchange for the purpose of a better user experience, customer protection,

    and innovative products. FTX built the FTX.com exchange to develop a platform robust enough

    for professional trading firms and intuitive enough for first-time users.

           85.     Prior to that, the Silicon Valley-born, MIT-educated SBF launched his quantitative

    crypto trading firm, Alameda, in November 2017, 21 after stints in the charity world and at trading

    firm Jane Street. 22 Quantitative trading consists of trading strategies based on quantitative analysis,

    which rely on mathematical computations and number crunching to identify trading opportunities.

           86.     On January 3, 2023, Bankman-Fried pled not guilty to eight criminal charges during

    a hearing before the U.S. District Court for the Southern District of California in USA v. SBF,

    1:22-cr-00673-LAK-1. On February 23, 2023, a superseding indictment was unsealed. It added

    four more charges, including charges for conspiracy to commit bank fraud and unlicensed money

    transmitting business, and money laundering. Id., Doc. 80. With his trial scheduled for October

    2023, Bankman-Fried faces over 100 years in prison for crimes predicated on his lying to investors

    and stealing billions of dollars of his customers’ money.




    21
      https://www.businessinsider.com/ftx-crypto-king-sam-bankman-fried-rise-and-fall-2022-11
    (accessed May 11, 2023).
    22
           https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
    means-2022-11?inline-endstory-related-recommendations= (accessed May 11, 2023).


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             II.   Defendant Caroline Ellison and the Alameda Settlements Team

           87.     By 2018, Defendant Bankman-Fried had persuaded Defendant Ellison to join him

    at Alameda. Defendant Ellison described the recruitment as follows: “This was very much like,

    ‘oh, yeah, we don’t really know what we’re doing,’” Ellison told Forbes magazine in an interview

    regarding her initial impressions of Alameda.

           88.     In late 2018, the headquarters of Alameda was relocated to Hong Kong. The team

    at Alameda included Defendant Bankman-Fried’s close friends (and later co-founders for FTX)

    Nishad Singh and Gary Wang. Defendant Caroline Ellison was also part of the group and, upon

    moving to Hong Kong, the group lived like college students and fiercely traded crypto.

           89.     Before 2019, Alameda was headquartered in Berkeley, California. In 2019,

    Alameda moved its headquarters to Hong Kong but maintained an office in California through the

    collapse of FTX in November 2022.

           90.     Members of Alameda’s settlement team worked in Alameda’s Berkeley office.

           91.     In the summer of 2022 FTX US opened an office in San Franciso, California, and

    the employees working in Alameda’s Berkeley office moved to the FTX US office in San

    Francisco.

           92.     The settlements team performed important functions for Alameda, including

    communicating with Alameda’s banks and exchanges, sending wire transfers and cryptocurrency

    transfers, communicating with trading counterparties and settling trades.

           93.     In the United States, Alameda held bank accounts at Prime Trust, Signature Bank,

    and Silvergate Bank. Alameda opened these accounts in its own name and in the name of entities

    under Alameda’s control, including North Dimension Inc. (“North Dimension”). The North

    Dimension account was one of the primary accounts into which FTX customer funds were directly




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    deposited by wire transfer from the customers’ own banks. FTX customer funds may have been

    the only source of funds for the North Dimension accounts. The North Dimension entity has a

    Berkeley, California address.

           94.      FTX executive Nishad Singh visited California, including a trip to FTX US’s San

    Francisco office, where he spent time working with other FTX software engineers.

           95.      After Defendant Bankman-Fried established FTX in 2019, Defendant Ellison began

    taking more responsibility at Alameda.

           96.      In October 2021, Ellison was appointed as co-CEO of Alameda with Sam Trabucco

    after Bankman-Fried resigned from the firm in an effort to give the appearance of putting distance

    between the exchange and trading shop he founded. As co-CEO, Ellison helped oversee Alameda’s

    expansion beyond its initial market-neutral, but relatively low-profit business as a market maker

    for low-volume cryptocurrencies into riskier trading strategies, according to a Twitter thread

    detailing that shift. For instance, Alameda traders began exploring yield farming in decentralized

    finance (DeFi). Ellison became sole CEO in August 2022, following Trabucco’s sudden and

    unexpected departure from the firm, when he shifted his role from Co-CEO to adviser of the

    company. 23

           97.      Leading up to the collapse of FTX, Ellison lived with nine other FTX or Alameda

    colleagues in Bankman-Fried’s $30 million penthouse in the Bahamas. She reportedly paid SBF

    rent and was occasionally in a romantic relationship with him. In 2021, Ellison tweeted about

    recreational stimulant use. Upon information and belief, Ellison left the Bahamas and moved back

    to Hong Kong.



    23
      https://www.coindesk.com/business/2022/08/24/co-ceo-of-crypto-trading-firm-alameda-
    research-sam-trabucco-steps-down/ (accessed May 11, 2023).


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              98.    “Young people tend to be to risk averse,” Ellison said in a more recent Alameda

    podcast episode. 24

              99.    In December 2022, Ellison pled guilty to criminal charges stemming from FTX’s

    collapse, including conspiracy to commit wire fraud, conspiracy to commit commodities fraud,

    conspiracy to commit securities fraud, and conspiracy to commit money laundering.

                III. Defendant Gary Wang

              100.   Wang is not like his co-founder Sam Bankman-Fried, who loves fame and putting

    himself at the center of public attention. In fact, there’s little public information about Wang, who

    has been described as a shady but critical player in the rise and fall of FTX.

              101.   Wang met Bankman-Fried at a math camp in high school. Later, they became

    college roommates at the Massachusetts Institute of Technology, where Wang got degrees in

    mathematics and computer science and Bankman-Fried received a bachelor’s in physics. 25

              102.   Before co-founding Alameda (and later FTX), Wang worked at Google. He claims

    to have built a system to aggregate prices across public flight data, according to an introduction on

    the Future Fund’s website. 26 When Bankman-Fried left the Jane Street Hedge Fund to start

    Alameda in 2017, Wang left the tech giant.

              103.   The startup has its beginnings in a three-bedroom Berkeley apartment – the

    downstairs served as its office. The firm shifted to Hong Kong, in part to take advantage of

    arbitrage opportunities in Asian bitcoin markets – including the price discrepancy between BTC

    in Japan and BTC everywhere else.



    24
         https://www.youtube.com/watch?v=zfcb9JAgWBs (accessed May 11, 2023).
    25
         https://blog.ftx.com/blog/raising-the-bar/ (accessed May 11, 2023)
    26
         https://ftxfuturefund.org/about/ (accessed May 11, 2023).


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           104.    It’s there that Wang and Bankman-Fried funneled funds from Alameda to build its

    bespoke derivatives exchange. Bankman-Fried told Insider that he is not a good coder: “I don’t

    code. I’m trash. I have not written any of FTX’s code base. That’s all a lot of other really

    impressive people at FTX. That’s not me at all.” 27

           105.    At the age of 28, Wang topped Forbes’ 2022 list of the world’s billionaires under

    30 with a net worth of $5.9 billion in April. SBF sent his congratulations to Wang in public,

    tweeting that “I couldn’t be prouder” when the list came out. 28

           106.    In December 2022, Wang pled guilty to criminal charges stemming from FTX’s

    collapse, including conspiracy to commit wire fraud, conspiracy to commit commodities fraud,

    and conspiracy to commit securities fraud.

             IV. Defendant Nishad Singh

           107.    Nishad Singh joined Alameda in the early days, when the five-person trading firm

    was based in a Berkeley, California, apartment. He went from finding and exploiting arbitrage

    opportunities in crypto markets to being appointed director of engineering at FTX.

           108.    Singh is and was a close confidant of Bankman-Fried, having shared multiple

    apartments with the FTX founder over the years, including most recently a ten-person luxury

    penthouse in Nassau, the Bahamas.




    27
        https://www.businessinsider.com/crypto-trading-billionaire-sam-bankman-fried-ftx-alameda-
    surprising-facts-2021-12#5-people-often-think-hes-a-programmer-but-hes-not-5 (accessed May
    11, 2023).
    28
      https://twitter.com/SBF_FTX/status/1511324242612297738?ref_src=twsrc%5Etfw%7Ctwcam
    p%5Etweetembed%7Ctwterm%5E1511324242612297738%7Ctwgr%5E8e0ce65ea02f827b72be
    96dde8f9484a3ba3e41c%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.usatoday.com%2
    Fstory%2Fmoney%2F2022%2F04%2F05%2Fcryptocurrency-ceo-donate-
    charity%2F7272175001%2F (accessed May 11, 2023).


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             109.   He is rumored to be just one of three people who controlled the keys to the

    exchange’s matching engine, and admittedly was informed of a plan to backstop losses at Alameda

    with FTX customer funds. 29

             110.   Although Singh’s LinkedIn profile is down and his Twitter account is locked, the

    University of California, at Berkeley graduate talked about why he left his dream job at Facebook

    to join Alameda in a FTX podcast. 30

             111.   “I spent maybe about a month doing weekends and nights at Alameda,” he said,

    discussing a period of time when his “day job” was as a software engineer working on applied

    machine learning at Facebook. “At some point, it became obvious that was kind of stupid … so I

    took some time off and really gave my 100% working at Alameda,” Singh said.

             112.   Singh visited Alameda in the first month of its existence, where he witnessed

    Bankman-Fried execute a sequence of trades that he described as “super profitable, easy to

    understand and there were lots available.” Feeling inspired, he took a job.

             113.   After spending one and a half years as a core Alameda engineer, Singh took a role

    as the head of engineering at the then-newly launched FTX derivative exchange in 2019, where he

    was allowed to code with “minimal supervision.” He has provided code to a number of Bankman-

    Fried-related projects, including the decentralized exchange Serum on Solana.

             114.   “Nishad was one of my brother’s best friends in high school. He’s shown the fastest

    and most sustained professional growth I’ve ever witnessed,” Bankman-Fried wrote in a company




    29
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238?mod=latest_headlines (accessed May 11, 2023).
    30
         https://www.youtube.com/watch?v=rl0Rq2cUSIQ (accessed May 11, 2023).


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    blog. 31 Singh also assisted Wang in building most of FTX’s “technological infrastructure” and

    managed the development team.

              115.   Although pitched as a community-run and- organized exchange, people familiar

    with the matter told CoinDesk the true power over Serum rested with FTX Group, which then held

    the program’s access keys. 32 A similar relationship may be in place at FTX’s core properties. 33

              116.   In furtherance of the fraud, Nishad Singh allowed FTX Group to use his bank

    account to make political donations to candidates and organizations in the United States, including

    in Florida and California. Upon information and belief, these political donations, which flowed

    into Florida and California, were made with FTX customer funds.

              117.   On February 28, 2023, Nishad Singh, who was one of SBF’s best friends, a core

    Alameda engineer, and head of FTX’s engineering, also pled guilty to criminal counts for

    conspiracy to commit fraud and conspiracy to commit money laundering. He agreed to cooperate

    with prosecutors’ investigation into Bankman-Fried and apologized for his role in FTX’s scheme.

              V.     Blockfolio and Avi Dabir

              118.   FTX maintained an office in Miami, Florida, since early 2021, long before FTX

    eventually announced the move of its Domestic headquarters to Brickell in late 2022. 34 Since early

    2021, FTX’s Miami office was run by Mr. Avinash Dabir, FTX’s Vice President of Business

    Development. 35 FTX Group General Counsel Dan Friedberg met with Mr. Dabir often and is very



    31
         https://blog.ftx.com/blog/raising-the-bar/ (accessed May 11, 2023).
    32
            https://www.coindesk.com/business/2022/11/12/ftx-hack-spooks-solana-defi-community-
    igniting-revolution-at-alameda-controlled-serum-dex/ (accessed May 11, 2023).
    33
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238?mod=latest_headlines (accessed May 11, 2023).
    34
         See Ex. A, Declaration of Dan Friedberg, ¶ 20.
    35
         See Ex. A, Declaration of Dan Friedberg, ¶ 20.

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    familiar with Mr. Dabir and his activities. 36

              119.   Mr. Dabir previously worked at Blockfolio LLC (“Blockfolio”), which FTX Group

    acquired in or around August 2020, reportedly for $150 million. Around the time of the Blockfolio

    acquisition, FTX Group began storing its cold wallets in servers located in Florida.

              120.   Mr. Dabir joined FTX Group upon the acquisition, which was key to FTX’s growth,

    as Blockfolio, which managed a cryptocurrency application for smartphones, had broader reach to

    retail customers and would open the door for a more mainstream, mobile user base for FTX.

              121.   FTX thereafter rebranded Blockfolio and its smartphone application as FTX, which

    users could download from Apple’s App Store or Google’s Google Play Store. Although FTX

    rebranded Blockfolio, the application listing in Apple’s App Store still shows the application

    developed by Blockfolio, and many of FTX Group’s marketing campaigns directly promoted

    Blockfolio, including, for example a partnership with William Trevor Lawrence, quarterback for

    the Jacksonville Jaguars, in April 2021:




    36
         See Ex. A, Declaration of Dan Friedberg, ¶ 20.

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              122.   Upon joining FTX Group, Mr. Dabir, from the Miami office, focused on

    formulating and executing FTX Group’s important celebrity partnerships. 37 Mr. Dabir was the

    senior FTX executive responsible for creating, consummating, and implementing deals between

    FTX Group and other partners, such as Major League Baseball, the MLB Umpire’s Association,

    TSM, the Mercedes Formula 1 team, Tom Brady, Stephen Curry, the Golden State Warriors,

    Naomi Osaka, Larry David, and Shohei Ohtani. 38

              123.   FTX Group’s focus on celebrity endorsements and marketing efforts—each, critical

    to expanding the reach of the FTX fraud—began with a partnership with the Miami Heat and the

    naming rights to the Miami Arena. Id. FTX Group announced the partnership in March 2021 and

    purchased the naming rights of the Miami Heat stadium for 19 years in a deal worth approximately


    37
         See Ex. A, Declaration of Dan Friedberg, ¶ 21.
    38
         See Ex. A, Declaration of Dan Friedberg, ¶ 23.

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    $135 million. Id.

              124.   Thereafter, FTX Group’s many advertisements and marketing campaigns were

    developed in Miami, under Mr. Dabir’s watch. 39 Mr. Dabir detailed FTX Group’s Miami roots on

    the popular cryptocurrency podcast The Joe Pomp Show, released on March 31, 2022. A transcript

    of the podcast is attached as Exhibit C.

              125.   Mr. Dabir begins by introducing himself as “Vice President of Business

    Development at FTX, so I handle a lot of our sports partnerships as well as doing some of the

    interesting things in real estate as well.” Ex. C at 2. He then explains that “the end goal” is really

    how does FTX “acquire more users.” Id., at 9. After first acknowledging and agreeing with Mr.

    Pompliano that FTX was at that point the “leaders” in the sports partnership category and that “it

    started with Miami Heat Arena,” Mr. Dabir explained that he led the effort to obtain the FTX

    Arena deal because he “had previously worked at the NBA” and that he identified Miami because

    it had “a great market,” a “multicultural, great team,” and the “Crypto Buzz was like growing here

    in Miami.” Id., at 2–3.

              126.   Mr. Dabir also explained that it was crucial “to get approval from a local

    government, plus the Heat and the NBA who had their own diligence teams looking into” the FTX

    Arena deal because it “really sort of validated not only just FTX but the cryptocurrency industry

    in general.” Id., at 4.

              127.   While the promotional campaigns came from the brain trust of FTX in Miami,

    many of the promotions also took place in Florida as a cryptocurrency hub.

                 x   FTX served as a title sponsor for the David Ortiz Golf Classic in Florida on or about

                     November 2021 and pledged to make contributions to Ortiz’s charity, David Ortiz’s



    39
         See Ex. A, Declaration of Dan Friedberg, ¶ 24.

                                                      39
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                 Childrens Fund. Ortiz promoted the sponsorship and golf tournament on Twitter

                 and other online pages, including on his personal website.

             x   In March of 2022, Defendants O’Leary, Haslem, and Ortiz served as judges for the

                 FTX Charity Hackathon at the crypto summit hosted by FTX in Miami.




             x   On March 11, 2022, Mr. O’Leary appeared on NBC 6 South Florida to explain his

                 involvement with FTX and his role in judging the competition. During that

                 appearance, Mr. O’Leary praised the company saying “I love the company. I like

                 its mission. I like what they’re doing in terms of innovating and financial services

                 around crypto.” Id.

             x   In March of 2022, Ms. Osaka began her FTX promotion campaign at the 2022

                 Miami Open tennis tournament. Osaka wore gear with the FTX logo throughout

                 the tournament, including during the presentation and acceptance of her runner-up

                 throw following her loss in the finals.

             x   On April 18, 2022, Mr. Haslem, a star for and captain of the Miami Heat, shared a

                 video on Twitter advertising a promotional effort with FTX that promised a

                 giveaway to Miami area small businesses.


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           128.   FTX’s marketing efforts, which emanated from Miami, were underwritten by FTX

    customer funds and critical to perpetuation of the FTX fraud. “We’re the newcomers to the scene,”

    said then-FTX.US President Brett Harrison, referring to the crypto services landscape in the U.S.

    “The company needs to familiarize consumers with its technology, customer service and offerings,

    while competing with incumbents like Coinbase Global Inc. or Kraken,” Mr. Harrison said. “We

    know that we had to embark on some kind of mass branding, advertising, sponsorship type work

    in order to be able to do that,” he said. Without its mass marketing campaign, which emanated

    from Miami and was funded by Class Member deposits, FTX Group would not have reached its

    massive scale, and Class Members not lost their hard-earned deposits.

           VI.    Zach Dexter and LedgerX

           129.   In October 2021, FTX acquired LedgerX LLC, rebranded as FTX US Derivatives

    (“LedgerX”). LedgerX was a digital currency futures and options exchange based in Miami and

    regulated by the CFTC, which had granted licenses to LedgerX to operate as a Designated Contract

    Market (“DCM”), a Swap Execution Facility (“SEF”), and a Derivatives Clearing Organization



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    (“DCO”). These licenses provided access to the U.S. commodities derivatives markets as a

    regulated exchange, and, with its acquisition of LedgerX, FTX acquired that access in one fell

    swoop. Upon information and belief, FTX Group paid for the LedgerX acquisition with FTX

    customer funds.

           130.    Zach Dexter, whom FTX installed as CEO of LedgerX (d/b/a “FTX US

    Derivatives”) directed the efforts to start up the platform’s futures trading. He worked frequently

    with SBF on his political efforts with elected officials and/or regulators, and he often traveled to

    Washington, D.C. as a result. It was apparent to me that one of the most promising or valuable

    pieces of FTX US was LedgerX (d/b/a “FTX US Derivatives”) and, more specifically, its ability

    to engage in futures trading. Mr. Singh believes the advantages that such licenses and technology

    lent to LedgerX (d/b/a “FTX US Derivatives”) (and, by extension, FTX US) were notable, and

    they would have added value to any investment in FTX US. LedgerX and the advantages it could

    provide were frequent topics of discussion for the FTX Advisory Board, as evidenced by the

    minutes of the March 2022 meeting attached hereto as Exhibit F which Plaintiffs obtained via

    SBF’s criminal trial.

           131.    Mr. Dexter, a Miami resident, touted the acquisition as one that would enhance both

    FTX’s regulatory compliance and the safety of the FTX exchange. Mr. Dexter asserted that these

    were top priorities for the company in announcing the acquisition:

                    132. As the regulatory environment in the crypto ecosystem continues to
            evolve, we look forward to acting as a resource and an example of how the
            protections afforded by proper regulatory oversight and licensing can boost
            consumer confidence and facilitate safe and reliable exchange platforms. The
            most important facet of this acquisition of LedgerX is that it allows us to do that.
            FTX US Derivatives will continue to strive to be a part of the regulation
            conversation and ensure that the operational standards required by the CFTC are
            maintained.

    At other times, Bankman-Fried explained that FTX pursued acquisitions like LedgerX, which were



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    purportedly driven by regulatory and compliance considerations, because what matters most “is

    transparency and protection against fraud.”

           133.   Following the LedgerX acquisition, FTX Group promptly applied to the CFTC for

    amendment of LedgerX’s Derivatives Clearing Organization (DCO) license to allow LedgerX to

    clear margined future contracts. In support of this application, FTX Group created a $250 million

    fund that SBF referred to as an “Over-Capitalized and Conservative Guaranty Fund” (the “FTX

    Guaranty Fund”), the purpose of which was to protect depositors by absorbing losses sustained by

    other users on the FTX Platform. With the FTX Guaranty Fund and other purported risk

    mechanisms in place, FTX represented to the CFTC that “FTX has gone above and beyond the

    regulatory requirements and well above what is necessary or required based on our experience

    over the past years of operation internationally.” That was not true, as S&C knew from its work

    advising on FTX’s application and supporting testimony to the CFTC.

           134.   While SBF and FTX touted the $250 million FTX Guaranty Fund to regulators as

    a fund comprised of $250 million worth of FTX assets, on information and belief these funds were

    actually comprised, in whole or in part, of FTX customer funds, diverted by SBF and/or FTX

    Insiders Nishad Singh or Gary Wang, as follows: Alameda diverted the funds from the FTX

    Platform through the “back door,” and transferred the funds to SBF, Mr. Singh, and/or Mr. Wang

    as unsecured “loans” from Alameda. Indeed, an internal ledger produced in connection with the

    criminal trial of SBF shows that, in the weeks leading up to FTX’s CFTC application, more than

    $300 million flowed to SBF, Nishad Singh and Gary Wang for “LedgerX” and $250 million

    flowed to SBF for “insurance fund” in this way. Upon information and belief, SBF, Mr. Singh,

    and/or Mr. Wang, in turn used those diverted funds to purchase shares of FTX US. FTX US then

    placed those funds into a LedgerX account to underwrite the FTX Guaranty Fund.




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    C. The Basics of a Cryptocurrency Exchange

           135.    Cryptocurrency exchanges accept deposits of cryptocurrency, and often fiat

    currency on behalf of their customers. Once that cryptocurrency is received by the exchange then

    it has dominion and control over those assets.

           136.    The exchange then credits the applicable customer account with the appropriate

    amount of cryptocurrency or fiat assets the exchange received. This credit can be regarded as a

    liability of the exchange to its customer.

           137.    If, for example, cryptocurrency was deposited to the customer’s exchange account,

    the customer could then take that credit received from the exchange, and:

                a) Trade it for another cryptocurrency

                b) Trade it for fiat currency

                c) Leave it as a balance on the exchange account (leaving an open liability of the
                   exchange to the customer)

                d) Withdraw it (withdrawal could be done prior to or after a trade or conversion)

    These things could be done in whole or in part. Ledger entries would (and should) be made

    internally by the exchange to account for changes in positions and applicable balances.

           138.    The exchange accounts should very much be regarded as being custodial in nature;

    FTX certainly professed to do so. This means that the customer does not control access to the

    assets “in” their account. The customer needs to make a request to the exchange to be able to access

    and send those balances. The exchange then debits the user account and sends the assets. Whether

    or not such requests are processed are dependent on the willingness, ability, and approval of the

    exchange.

           139.    One major factor the affects the exchange’s ability to process such requests is

    whether or not they have the assets and/or capital necessary to do so.



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           140.    For any non-yield-bearing account, this shouldn’t be a problem, since exchanges

    should have enough assets in custody for the benefit of their customers to cover their liabilities to

    their customers, and on a 1:1 basis. FTX’s terms of service purport to guarantee this, although FTX

    clearly violated their own terms of service:

                   FTX Trading

                   Title to your Digital Assets shall at all times remain with you and shall not
                   transfer to FTX Trading. As the owner of Digital Assets in your Account,
                   you shall bear all risk of loss of such Digital Assets. FTX Trading shall have
                   no liability for fluctuations in the fiat currency value of Digital Assets held
                   in your Account.

                   None of the Digital Assets in your Account are the property of, or shall or
                   may be loaned to FTX Trading; FTX Trading does not represent or treat
                   Digital Assets in User’s Accounts as belonging to FTX Trading.

                   You control the Digital Assets held in your Account. At any time, subject
                   to outages, downtime, and other applicable policies (including the Terms),
                   you may withdraw your Digital Assets by sending them to a different
                   blockchain address controlled by you or a third party. 40

                   FTX US

                   All cryptocurrencies or dollars (or other supported currencies) that are held
                   in your account are held by FTX.US for your benefit.

                   Title to cryptocurrency represented in your FTX.US Account shall at all
                   times remain with you and shall not transfer to FTX.US.

                   FTX.US does not represent or treat assets in your FTX.US Account as
                   belonging to FTX.US.

           141.    Consistent with these terms, which FTX violated, FTX exchange accounts (or any

    exchange account with any centralized custodial exchange, including Coinbase for example) are



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            https://help.ftx.com/hc/article_attachments/9719619779348/FTX_Terms_of_Service.pdf
    (accessed May 11, 2023).


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    custodial in nature. Id. This means that the customer does not control access to the assets ‘in’ their

    account. The customer needs to make a request to the exchange to be able to access and send those

    balances. It is very much the exchange that controls the assets, not their customer.

           142.     With any yield-bearing account, it could generally be expected for an exchange to

    take those customers and leverage, loan or invest them in some way, and hopefully receive enough

    assets back to be able to pay out their customers back their principal, in addition to yield or interest

    earned, when applicable customers attempt to redeem or withdraw those funds.

           143.     While the existence of such loans associated with assets deposited to yield-bearing

    accounts was known, the substantial risks associated with such loans, and by extension the yield-

    bearing accounts in general, was not adequately represented.

           144.     The main functional differences between banks and cryptocurrency exchanges are

    such that exchanges are largely unregulated, and that exchanges (and by extension exchange

    accounts and the users who use them) are subject to a lot of additional risks compared to that of a

    bank account.

           145.     Banks are, of course, subject to a variety of capital control requirements to ensure

    protection of consumer assets. Banks are regulated with regard to the type of assets in which they

    can invest customer assets in. Banks are subject to regular financial audits. Banks have regulatory

    oversight to ensure the protection of consumer assets. And of course, bank accounts have FDIC

    insurance so that bank account holders have coverage in case a bank, despite such measures,

    becomes insolvent. Id.

           146.     Exchanges, on the other hand, are not subject to capital control requirements. While

    almost all exchanges will indicate that they ‘securely’ store all customer assets 1:1 in ‘cold

    storage,’ there is no regulatory requirement in most jurisdictions (including the US) for exchanges




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    to do so, nor is there any requirement for exchanges to offer any transparency regarding their

    solvency or use of customer assets to regulators or to the general public.

    D. The Mechanics of the Fraudulent Scheme

           147.    The FTX fraud was straightforward, albeit thoroughly concealed from unsuspecting

    Class Members.

           148.    With the promise of higher-than-average returns and leading-edge safeguards, and

    by way of FTX’s material omissions further detailed herein, FTX lured Class Members to deposit

    U.S. dollars and crypto-based assets into accounts, including YBAs, on the FTX exchange.

           149.    Contrary to FTX’s representations to its customers that “FTX.US does not represent

    or treat assets in your FTX.US Account as belonging to FTX.US,” and unlike many of its

    competitors, including Coinbase Global, the largest U.S.-based exchange, FTX did not segregate

    customer funds or designate them for the customer’s benefit, instead commingling those funds in

    several “omnibus” accounts held by FTX.

           150.    Under the cloak of this wide-ranging con game, FTX insiders including SBF

    facilitated the routing of billions of dollars in purported profits of FTX, which were in reality Class

    Member funds, to the insiders, and their families, friends, and other acquaintances through

    purported personal “loans,” bonuses, “investments,” and all other means of transfer, including real

    estate purchases and hundreds of millions of dollars in charitable and political contributions. Class

    Member funds were also used to fuel uncapped spending on illicit drugs, naming rights to sports

    arenas, concert sponsorships, luxury cars, and private jets.

           151.    Frequently, SBF routed his fraudulent scheme through Alameda, the

    cryptocurrency hedge that he and Mr. Wang formed two years before launching FTX and owned

    90% and 10%, respectively. SBF led Alameda as CEO until October 2021, from which time he




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    continued to control the company and maintained ultimate authority over its trading,

    borrowing/lending, and investment activity.

           152.    Until his scheme collapsed, SBF, along with a number of his lieutenants, publicly

    maintained that Alameda and FTX were “wholly separate entitit[ies] . . . at arm’s length,” and,

    despite their overlapping ownership by SBF, the companies were kept “separate in terms of day-

    to-day operations” by way of “a Chinese wall . . . to ensure that [Alameda wouldn’t get] any sort

    of special treatment from FTX.”

           153.    Contrary to these representations, SBF operated FTX and Alameda as a common

    enterprise. The two companies shared offices for some time, as well as key personnel and other

    resources critical to the companies’ operations.

           154.    SBF routinely funneled Class Member funds through Alameda and/or other entities

    that SBF separately owned, sometimes as bogus “related party transactions.” For example,

    financial statements for FTX Trading, now available to the public for the first time, disclose “a

    related party receivable” valued at $1.2 billion (equivalent to 44% of the company’s assets); a $362

    million “related party payable”; $250 million in payments (equivalent to 25% of the company’s

    revenues) to a related party for “software royalties;” and a series of related party transactions

    described only as “currency management” activities. The same financial statements identify that

    these transactions were for the benefit of SBF, noting that the “primary shareholder [i.e., SBF] is

    also the primary shareholder of several related entities which do business with the company.”

           155.    Other times, SBF misappropriated Class Member funds as “loans, including for

    example, a $1 billion ‘loan’ to himself; a $543 million ‘loan’ to Mr. Singh; and a $55 million ‘loan’

    to Ryan Salame, another FTX executive.” SBF and other insiders received billions in dollars in

    purported “loans” from Alameda. None of these “loans” have ever been repaid, nor was there any




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    reason to believe at the time the “loans” were made that they would or could be repaid. The FTX

    insiders effectively looted the company. Even during the crypto boom, the FTX insiders could not

    reasonably have repaid these loans, and no reasonable lender would have loaned such large

    amounts. In fact, none of these loans were ever repaid, nor upon information and belief was any

    interest ever paid on the loans.

           156.    More often, SBF looted Class Member funds directly, without the cover of sham

    related party transactions or insider loans. For many years, SBF directed that FTX customer funds

    be wired to bank accounts held by North Dimension, a wholly owned subsidiary of Alameda.

    North Dimension was a fake electronics retailer created by SBF to disguise its ties to FTX. North

    Dimension shared an address with FTX US in Berkeley, California, and published a website

    through which customers often “had trouble actually purchasing products” and was “rife with

    misspellings and bizarre product prices,” including “sale prices that were hundreds of dollars

    above a regular price.” For example, North Dimension advertised a $410.00 “Ipad 11 ‘ich Cell

    Phone” for the sale price of $899.00:




    Once wired to North Dimension’s accounts, Class Member funds were commingled with

    Alameda’s and misappropriated by SBF. SBF has admitted to looting Class Member funds in

    this way, explaining to reporters after the fraud was revealed that “people wired $8b to Alameda

    and . . . it was never delivered to FTX.”



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           157.    SBF found diverse ends for which to misappropriate Class Members funds,

    including to pay for Alameda’s leveraged trades and investments, which had grown riskier over

    time. Initially, Alameda primarily traded in high-risk arbitrage, purchasing cryptocurrencies on

    one exchange and quickly selling them on other exchanges for higher prices. Later, Alameda

    pivoted to “yield farming,” investing in cryptocurrencies that paid interest-like returns. Alameda’s

    entrée into yield farming was not without internal controversy—in early 2021, Caroline Ellison,

    Alameda’s CEO, expressed concerns about the riskiness of Alameda’s yield farming investment

    strategy to no avail. Ms. Ellison was correct to observe that Alameda’s bets had grown dodgier.

    At the time, Sam Trabucco, another Alameda executive, tweeted that Alameda’s investing

    strategies increasingly relied on “intuition” and other unconventional measures, including “Elon

    Musk’s social media posts.” As noted above, Ms. Ellison has since pleaded guilty to

    misappropriating FTX customer assets to fund Alameda’s risky bets and to cover Alameda’s

    colossal losses.

           158.    SBF used Class Member funds to underwrite Alameda’s risky operations in other

    ways. Though SBF publicly claimed that Alameda was a “regular user” of FTX, contrary to that

    representation, FTX exempted Alameda from the automated “risk engine” described above,

    allowing Alameda to avoid liquidation under the monitoring system. Compounding FTX’s—and,

    though they did not know it, Class Members’—exposure to Alameda, SBF allowed Alameda to

    maintain a negative balance in its FTX accounts and steadily increased Alameda’s negative

    balance cap over time. Through these cheats, Alameda was not only able to evade collateralizing

    its position on the exchange; Alameda also was able to maintain a negative balance on the

    exchange and utilize the exchange to trade and withdraw assets without limit, giving it an estimated

    “line of credit” of $65 billion, collateralized by the customer deposits on the exchange. Alameda




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    lacked any ability to repay this line of credit, having spent the money on insider transfers and

    purported “loans,” gifts, and questionable investments.

           159.    With these exemptions—exemptions offered to no other customers on the

    exchange—FTX extended Alameda a de facto limitless line of credit.

           160.    Upon information and belief, SBF also employed Alameda to funnel Class Member

    funds from FTX US to his other companies. Just days before FTX filed for bankruptcy protection,

    Alameda withdrew over $200 million from FTX US; Alameda then transferred $142.4 million of

    those funds to FTX Trading’s international accounts, exhibiting, according to industry experts,

    that Alameda had been serving as a “bridge between FTX US and FTX [Trading]” for some time.

           161.    The improper relationship between Alameda and FTX was well known to the

    companies’ insiders, and completely concealed from Class Members. As Ellison, former co-CEO

    of Alameda, told a federal judge in Manhattan when entering her guilty plea:

           From approximately March 2018 through November 2022, I worked at Alameda
           Research, a cryptocurrency trading firm principally owned by Sam Bankman-Fried.

           From 2019 through 2022, I was aware that Alameda was provided access to a
           borrowing facility on FTX.com, the cryptocurrency exchange run by Mr.
           Bankman-Fried. I understood that FTX executives had implemented special
           settings on Alameda’s FTX.com account that permitted Alameda to maintain
           negative balances in various fiat currencies and crypto currencies. In practical
           terms, this arrangement permitted Alameda access to an unlimited line of credit
           without being required to post collateral, without having to pay interest on negative
           balances and without being subject to margin calls or FTX.com’s liquidation
           protocols. I understood that if Alameda’s FTX accounts had significant negative
           balances in any particular currency, it meant that Alameda was borrowing funds
           that FTX’s customers had deposited onto the exchange.

           While I was co-CEO and then CEO, I understood that Alameda had made numerous
           large illiquid venture investments and had lent money to Mr. Bankman-Fried and
           other FTX executives. I also understood that Alameda had financed these
           investments with short-term and open-term loans worth several billion dollars from
           external lenders in the cryptocurrency industry. When many of those loans were
           recalled by Alameda’s lenders in and around June 2022, I agreed with others to
           borrow several billion dollars from FTX to repay those loans. I understood that
           FTX would need to use customer funds to finance its loans to Alameda. I also


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           understood that many FTX customers invested in crypto derivatives and that most
           FTX customers did not expect that FTX would lend out their digital asset holdings
           and fiat currency deposits to Alameda in this fashion. From in and around July 2022
           through at least October 2022, I agreed with Mr. Bankman-Fried and others to
           provide materially misleading financial statements to Alameda’s lenders. In
           furtherance of this agreement, for example, we prepared certain quarterly balance
           sheets that concealed the extent of Alameda's borrowing and the billions of dollars
           in loans that Alameda had made to FTX executives and to related parties…I agreed
           with Mr. Bankman-Fried and others not to publicly disclose the true nature of the
           relationship between Alameda and FTX, including Alameda’s credit arrangement.

           I also understood that Mr. Bankman-Fried and others funded certain investments in
           amounts more than $10,000 with customer funds that FTX had lent to Alameda.
           The investments were done in the name of Alameda instead of FTX in order to
           conceal the source and nature of those funds. I am truly sorry for what I did. I knew
           that it was wrong.… Since FTX and Alameda collapsed in November 2022, I have
           worked hard to assist with the recovery of assets for the benefit of customers and
           to cooperate with the government’s investigation. I am here today to accept
           responsibility for my actions by pleading guilty. 41

           162.    The Wall Street Journal recently reported that Ellison told Alameda staffers in a

    video call that she, along with Sam Bankman-Fried, Gary Wang, and Nishad Singh, was aware of

    the decision to send FTX customer funds to Alameda, to help the fund meet its liabilities. 42

           163.    Similarly, Nishad Singh, head of FTX’s engineering and one of SBF’s best friends,

    has admitted that he knew by mid-2022 that Alameda was borrowing FTX customer funds and

    that customers were not aware. 43

           164.    FTX co-founder Gary Wang likewise explained his knowledge of the companies’

    interconnectedness in his guilty plea:

           Between 2019 and 2022, as part of my employment at FTX, I was directed to and
           agreed to make certain changes to the platform’s code. I executed those changes,

    41
             https://www.johnreedstark.com/wp-content/uploads/sites/180/2022/12/Ellison-Hearing-
    Transcript.pdf (accessed May 11, 2023)
    42
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238 (accessed May 11, 2023).
    43
           https://www.reuters.com/legal/ftxs-singh-agrees-plead-guilty-us-criminal-charges-lawyer-
    says-2023-02-28/ (accessed May 11, 2023).


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           which I knew would Alameda Research special privileges on the FTX platform. I
           did so knowing that others were representing to investors and customers that
           Alameda had no such special privileges and people were likely investing in and
           using FTX based in part on those misrepresentations. I knew what I was doing was
           wrong. I also knew that the misrepresentations were being made by telephone and
           internet, among other means, and that assets traded on FTX included some assets
           that the U.S. regulators regard as securities and commodities.

           165.    FTX had a handful of insiders and employees with virtually limitless power to

    direct transfers of fiat currency and crypto assets and to hire and fire employees, with no effective

    oversight, internal controls, or checks on the exercise of these powers. FTX failed to establish or

    maintain any semblance of fundamental financial and accounting controls. This is particularly

    shocking given that at its peak, FTX operated in hundreds of jurisdictions, controlled billions of

    dollars of assets, engaged in as many as 26 million transactions per day, and had millions of users.

    Board oversight was effectively non-existent. With few exceptions, FTX lacked independent or

    experienced finance, accounting, human resources, information security, and cybersecurity

    personnel or leadership. Nor was there any effective internal audit function. Some FTX entities

    did not produce any financial statements. Some were deemed impossible to audit.

           166.    FTX insiders paid out millions of dollars in hush money to keep whistleblowers

    from exposing the fraud, money laundering, and price manipulation. FTX even hired the attorneys

    of these whistleblowers to help keep these complaints from the public.

           167.    At no time did FTX disclose the foregoing to Class Members, including that:

               x SBF was siphoning Class Member funds to his friends and family members or for
               his own personal use.

               x FTX was not segregating Class Member funds, instead commingling those funds
               in FTX’s omnibus accounts and treating those funds as FTX’s own.

               x FTX directed that Class Member funds be wired directly into accounts held by
               North Dimension, a subsidiary of Alameda.




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               x FTX and Alameda were not, in fact, “wholly separate entities at arm’s length,” and
               were instead operated as a common enterprise.

               x SBF was looting Class Member funds under the guise of non-arm’s length “related
               party transactions” and “loans” often by way of Alameda.

               x SBF routinely transferred Class Member funds out of accounts held by FTX to
               those held by Alameda.

               x SBF was using Class Member funds to underwrite his speculative personal
               investments at Alameda, and his charitable and political contributions.

               x Alameda was exempt from the “risk engine” and other FTX protocols in place to
               prevent a user from becoming undercollateralized or overleveraged on the exchange.

               x With the foregoing exemption, Alameda engaged in margin trading on the FTX
               platform, exposing Class Members to the risk of Alameda’s loss.

               x FTX used Class Member funds to manipulate the price of FTT, which was not
               “widely distributed,” but instead concentrated in the hands of FTX and Alameda; and

               x FTX did not have in place fundamental internal controls, including an independent
               board of directors or a CFO.

           168.    Had Class Members known of these material omissions, they would not have

    deposited funds into accounts on the FTX exchange and SBF’s fraud would not have succeeded.

    In late 2022, the fraud finally collapsed, and the misconduct was revealed.

    E. The Fraud’s Collapse

           169.    The FTX exchange was extremely successful since its launch in May 2019. In 2022,

    around $15 billion of assets were traded daily on the platform, which represented approximately

    10% of global volume for crypto trading. The FTX Group’s team grew to over 300 employees

    globally. Although the FTX Group’s primary international headquarters is in the Bahamas, its

    domestic US base of operations is located in Miami, Florida. 44




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              https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
    headquarters-from-chicago-to-miami/ (accessed May 11, 2023).


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            170.    FTX quickly became one of the most utilized avenues for nascent investors to

    purchase cryptocurrency. By the time FTX filed for bankruptcy protection, customers had

    entrusted billions of dollars to it, with estimates ranging from $10-to-$50 billion dollars.

            171.    Bankman-Fried got rich off FTX and Alameda, with the two companies netting

    $350 million and $1 billion in profit, respectively, in 2020 alone, according to Bloomberg.

            172.    At his peak, Bankman-Fried was worth $26 billion. At 30, he had become a major

    political donor, gotten celebrities and industry power players like the Co-Defendants in this action

    to vociferously promote FTX, and secured the naming rights to the arena where the NBA’s Miami

    Heat play. 45

            173.    Beginning in mid-2022, the value of cryptocurrencies rapidly declined, and SBF

    began to bail out troubled crypto firms that, if they were to fail, would bring down FTX with them

    and reveal SBF’s fraud. For example, in the summer of 2022, FTX extended a $400 million

    revolving credit facility to BlockFi, a crypto lender. At the time, BlockFi held as collateral for

    loans hundreds of millions of dollars in FTT, the cryptocurrency that FTX had engineered to prop

    up Alameda. If BlockFi failed, the liquidation of those tokens would crash FTT, and in turn,

    Alameda, whose assets were primarily backed by the token. FTX’s $400 million loan kept BlockFi

    temporarily afloat, and FTX engaged in a number of similar transactions, propping up failing

    crypto companies in order to keep the fraud alive, as 2022 progressed.

            174.    Despite SBF’s attempts to keep troubled crypto firms afloat, the value of digital

    currencies continued to decline throughout 2022, and FTX’s liquidity crunch tightened. By the end

    of summer 2022, SBF needed another $1 billion to keep his fraudulent scheme running. He looked



    45
           https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
    means-2022-11?inline-endstory-related-recommendations= (accessed May 11, 2023).


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    to Silicon Valley and to sovereign wealth funds in the Middle East, but he was unable to

    successfully close any further investments in FTX, despite many solicitations. Without this influx

    of capital, FTX’s exposure to margin calls heightened and, in November 2022, SBF’s house of

    cards finally collapsed.

           175.    In early November 2022, crypto publication CoinDesk released a bombshell report

    that called into question just how stable Bankman-Fried’s empire really was. 46 On November 2,

    2022, news broke that Alameda’s balance sheet was propped up by the FTX-manipulated FTT,

    revealing the close ties between FTX and Alameda to the public for the first time. FTX had lent

    billions, including most of its cryptocurrency reserves, to Alameda, first as capital for trading, and

    eventually to cover Alameda’s massive losses.

           176.    Prior to the collapse of the FTX Group, Bankman-Fried’s cryptocurrency empire

    was publicly ostensibly broken into two main parts: FTX (his exchange) and Alameda (his trading

    firm), both giants in their respective industries. But even though they are two separate businesses,

    the division breaks down in a key place: on Alameda’s balance sheet, which was full of FTX –

    specifically, the FTT token issued by the exchange that grants holders a discount on trading fees

    on its marketplace. It shows Bankman-Fried’s trading giant Alameda rests on a foundation largely

    made up of a coin that a sister company invented, not an independent asset like a fiat currency or

    another crypto. The situation adds to evidence that the ties between FTX and Alameda are

    unusually close. 47




    46
           https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
    means-2022-11?inline-endstory-related-recommendations= (accessed May 11, 2023).
    47
           https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
    empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed May 11, 2023).


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             177.   Days later, on November 6, 2022, Changpeng Zhao, CEO of Binance, the world’s

    largest cryptocurrency exchange and FTX’s most powerful competitor, tweeted that he intended

    to sell Binance’s $580 million holding of FTT, which threatened to crash the price of FTX’s token

    and, in turn, Alameda’s balance sheet. Mr. Zhao’s announcement triggered demand for $5 billion

    in customer withdrawals, which FTX promptly halted due to a lack of funds. The value of FTT

    plunged 32% but rallied once again with Bankman-Fried’s surprise announcement on Tuesday,

    November 8, that Binance would buy FTX, effectively bailing it out. 48

             178.   But, after a 24-hour diligence period, Binance backed out of the deal, denying a

    critical capital injection to SBF. Mr. Zhao explained his reasons for the about-face: “Sam, I’m

    sorry. We won’t be able to continue this deal. Way too many issues. CZ.” Binance cited findings

    during due diligence, as well as reports of mishandled customer funds and the possibility of a

    federal investigation. 49 In truth, there were always too many issues—issues with the

    interconnectedness between Alameda and FTX, issues with FTX’s total lack of internal controls,

    issues with SBF’s looting of Class Member funds, the news of which sent FTT plunging even

    further — Bankman-Fried saw 94% of his net worth wiped out in a single day. 50 This triggered

    panic selling of FTT and a run on FTX, thereby ensuring the firm’s swift demise.

             179.   Bankman-Fried issued a 22-tweet-long explanation of where he believed he and the

    FTX Group went wrong: 51



    48
       https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
    bankman-fried-binance-2022-11 (accessed May 11, 2023).
    49
        https://markets.businessinsider.com/news/currencies/ftx-crash-sec-cftc-probes-asset-liability-
    shortfall-6-billion-2022-11 (accessed May 11, 2023).
    50
         https://www.businessinsider.com/ftx-ceo-crypto-binance-sam-bankman-fried-wealth-wiped-
    out-2022-11 (accessed May 11, 2023).
    51
         https://twitter.com/SBF_FTX/status/1590709189370081280 (accessed May 11, 2023).


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    F. FTX Files for Bankruptcy

              180.   On November 11th, unable to obtain a bailout, and facing an insurmountable

    liquidity crisis, the FTX Group filed for Chapter 11 bankruptcy and Bankman-Fried resigned as

    CEO. 52

              181.   At or around the same time as Bankman-Fried’s mea culpa tweets and discussions

    with reporters, an FTX balance sheet was leaked which shows that FTX held approximately $900

    million in liquid assets against $8.9 billion of liabilities, with a negative $8 billion entry described

    as a “hidden, poorly internally labeled fiat@ account.” 53

              182.   Later, The Wall Street Journal reported that in a video meeting with Alameda

    employees on November 9, 2022 (the day prior to Bankman-Fried’s November 10, 2022, litany of

    tweets), Alameda CEO Caroline Ellison said that she, Bankman-Fried, and two other FTX

    executives, Singh and Wang, were aware of the decision to send customer funds directly to

    Alameda. Ellison even admitted that “FTX used customer money to help Alameda meet its

    liabilities.” 54 Ellison elaborated on these statements on the record when pleading guilty to eight


    52
        https://markets.businessinsider.com/news/currencies/ftx-bankruptcy-sam-bankman-fried-ceo-
    crypto-binance-alameda-markets-2022-11 (accessed May 11, 2023).
    53
      https://www.bloomberg.com/opinion/articles/2022-11-14/ftx-s-balance-sheet-was-
    bad#xj4y7vzkg (last accessed February 22, 2023)
    54
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238 (last accessed February 22, 2023)


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    counts of conspiracy to commit wire fraud, securities fraud, and money laundering, among other

    conspiracies. 55

            183.       The same source explained that FTX’s biggest customer was Alameda, which,

    instead of holding money, was borrowing billions from FTX users using FTX’s in-house

    cryptocurrency, FTT token, as collateral, then trading it. When the price of the FTT nosedived

    75% in a day, making the collateral insufficient to cover the trade, both FTX and Alameda suffered

    massive liquidity crises. Id.

            184.       The bankruptcy court appointed John J. Ray III, a 40-year industry veteran who

    oversaw the liquidation of Enron, to replace SBF as FTX’s CEO. Mr. Ray quickly uncovered

    fundamental deficiencies in basic accounting, corporate governance, and other controls by FTX.

    These deficiencies were so startling that Mr. Ray remarked he had never “seen such a complete

    failure of corporate controls and such a complete absence of trustworthy financial information as

    occurred here.” Moreover, Mr. Ray uncovered that:

            185.       First, customer assets from FTX.com were commingled with assets from the

    Alameda trading platform.

            186.       Second, Alameda used client funds to engage in margin trading which exposed

    customer funds to massive losses.

            187.       Third, the FTX Group went on a spending binge in late 2021 through 2022, during

    which approximately $5 billion was spent buying a myriad of businesses and investments, many

    of which may be worth only a fraction of what was paid for them.

            188.       Fourth, loans and other payments were made to insiders in excess of $1 billion.



    55
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238 (last accessed December 16, 2022).


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           189.    Fifth, Alameda’s business model as a market maker required deploying funds to

    various third-party exchanges which were inherently unsafe, and further exacerbated by the limited

    protection offered in certain foreign jurisdictions.

           190.    On April 9, 2023, Ray III filed in the FTX Bankruptcy his First Interim Report to

    the Independent Directors on Control Failures at the FTX Exchanges. See In re: FTX Trading Ltd.,

    No. 1:22-bk-11068-JTD, ECF No. 1242-1 (Bankr. Dist. Del. Apr. 9, 2023), attached as Exhibit D

    (the “First Interim Rpt.”).

           191.    Defining the “FTX Group” as a de facto singular entity comprised of FTX Trading,

    FTX.US, and Alameda, collectively, Mr. Ray begins by explaining that:

           192.    the Debtors have had to overcome unusual obstacles due to the FTX Group’s lack

    of appropriate record keeping and controls in critical areas, including, among others, management

    and governance, finance and accounting, as well as digital asset management, information security

    and cybersecurity. Normally, in a bankruptcy involving a business of the size and complexity of

    the FTX Group, particularly a business that handles customer and investor funds, there are readily

    identifiable records, data sources, and processes that can be used to identify and safeguard assets

    of the estate. Not so with the FTX Group.

           193.    Upon assuming control, the Debtors found a pervasive lack of records and other

    evidence at the FTX Group of where or how fiat currency and digital assets could be found or

    accessed, and extensive commingling of assets. This required the Debtors to start from scratch, in

    many cases, simply to identify the assets and liabilities of the estate, much less to protect and

    recover the assets to maximize the estate’s value. This challenge was magnified by the fact that

    the Debtors took over amidst a massive cyberattack, itself a product of the FTX Group’s lack of

    controls, that drained approximately $432 million worth of assets on [November 11, 2022,] the




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    date of the bankruptcy petition (the “November 2022 Breach”) and threatened far larger losses

    absent measures the Debtors immediately implemented to secure the computing environment.

           194.    Despite the public image it sought to create of a responsible business, the FTX

    Group was tightly controlled by a small group of individuals who showed little interest in

    instituting an appropriate oversight or control framework. These individuals stifled dissent,

    commingled and misused corporate and customer funds, lied to third parties about their business,

    joked internally about their tendency to lose track of millions of dollars in assets, and thereby

    caused the FTX Group to collapse as swiftly as it had grown. In this regard, while the FTX Group’s

    failure is novel in the unprecedented scale of harm it caused in a nascent industry, many of its root

    causes are familiar: hubris, incompetence, and greed.

    First Interim Rpt., 2-3.

           195.    After summarizing the history of the three main FTX Group entities, the current

    efforts to retain advisors to assist in investigating the FTX Group’s available financial records and

    interview witnesses, Mr. Ray provides a comprehensive review of the FTX Group’s control

    failures that led to its eventual collapse, including (1) lack of management and governance

    controls; (2) lack of financial and accounting controls; and (3) lack of digital asset management,

    information security and cybersecurity controls. Id., 11–37.

           196.    According to Mr. Ray, “[t]he FTX Group lacked appropriate management,

    governance, and organizational structure," and the “management and governance of the FTX

    Group was largely limited to Bankman-Fried, Singh, and Wang. Among them, Bankman-Fried

    was viewed as having the final voice in all significant decisions.” Id., 11. The trio “controlled

    nearly every significant aspect of the FTX Group,” despite being “not long out of college and with




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    no experience in risk management or running a business,” and “[b]oard oversight, moreover, was

    effectively non-existent.” Id.

           197.     The FTX Group also “lacked an appropriate organizational structure. Rather than

    having an ultimate parent company able to serve as a central point for decision-making that could

    also direct and control its subsidiaries, the FTX Group was organized as a web of parallel corporate

    chains with various owners and interest, all under the ultimate control of Bankman-Fried.” Id., 8.

    The FTX Group dd not even have a comprehensive organizational chart until the end of 2021,

    lacked any tracking of intercompany relationships and ownership of particular entities, and “did

    not even have current and complete lists of who its employees were.” Id., 8–9.

           198.     The FTX Group also suffered from a near complete failure to observe corporate

    formalities, especially when it came to managing the finances of the FTX Group, for instance:

               a.   Failure to maintain “personnel who were experienced and knowledgeable enough

                    to account accurately for assets and liabilities, understand and hedge against risk,

                    or compile and validate financial reports,” Id., 11;

               b. Failure to maintain adequate “policies and procedures relating to accounting,

                    financial reporting, treasury management, and risk management,” Id.

               c. Failure to maintain an accurate and appropriate accounting system, in that 56 FTX

                    Group entities did not produce financial statements of any kind, 35 used

                    QuickBooks in conjunction with Google documents, Slack communications, shared

                    drives, and Excel spreadsheets, Id., 12–13.

               d. Recordkeeping was so poor that Bankman-Fried described Alameda as “hilariously

                    beyond any threshold of any auditor being able to even get partially through an

                    audit,” adding:




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                           Alameda is unauditable. I don’t mean this in the sense of “a major
                           accounting firm will have reservations about auditing it”; I mean this
                           in the sense of “we are only able to ballpark what its balances are,
                           let alone something like a comprehensive transaction history.” We
                           sometimes find $50m of assets lying around that we lost track of;
                           such is life.

                Id., 14.

             e. “Key accounting reports necessary to understand the FTX Group’s assets and

                liabilities, such as statements of cash flows, statements of equity, intercompany and

                related party transaction matrices, and schedules of customer entitlements, did not

                exist or were not prepared regularly,” Id., 14–15.

             f. “Copies of key documentation – including executed loan agreements, intercompany

                agreements, acquisition and investment documents, bank and brokerage account

                statements, and contract and account information of all types – were incomplete,

                inaccurate, contradictory, or missing entirely.” Id., 15.

             g. the FTX Group "did not maintain reliable lists of bank or trading accounts,

                cryptocurrency wallets, or authorized signatories,” and let “[t]housands of deposit

                checks . . . collect[] like junk mail,” Id., 15.

             h. “Although the FTX Group consisted of many, separate entities, transfers of funds

                among those entities were not properly documented, rendering tracing of funds

                extremely challenging,” including using Slack, Signal, and Telegram with

                “disappearing messages” enabled, and often approving expenses and invoices on

                Slack by “emoji,” Id.

             i. “The FTX Group did not observe any discernable corporate formalities when it

                came to intercompany transactions. Assets and liabilities were routinely shuffled

                among the FTX Group entities and insiders without proper process or


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                documentation. Alameda routinely provided funding for corporate expenditures

                (e.g., paying salaries and other business expenses) whether for Alameda, for various

                other Debtors, or for FTX DM, and for venture investments or acquisitions whether

                for Alameda or for various other Debtors. Alameda also transferred funds to

                insiders to fund personal investments, political contributions, and other

                expenditures—some of which were nominally ‘papered’ as personal loans with

                below-market interest rates and a balloon payment due years in the future.” Id., 17.

             j. Often times, intercompany and insider transfers were recorded in a manner “that

                was inconsistent with the apparent purpose of the transfers,” for instance, tens of

                millions of dollars being transferred from Alameda to Bankman-Fried, personally,

                but recorded in the general ledger as “Investment in Subsidiaries: Investments-

                Cryptocurrency,” often times recorded in a way that intercompany transactions did

                not balance across relevant entities, nor were they recorded with specificity

                regarding which digital assets were involved in the transfer and their value when

                transferred, Id.;

             k. On both FTX International and US exchanges, Alameda was a customer that traded

                “for its own account as well as engaging in market-making activities, and, in that

                capacity, it was granted extraordinary privileges by the FTX Group,” such as

                granting Alameda “an effectively limitless ability to trade and withdraw assets from

                the exchange regardless of the size of Alameda’s account balance, and to exempt

                Alameda from the auto-liquidation process that applied to other customers,”

                effectively allowing it to borrow and/or withdraw up to $65 billion from the FTX

                Platform, Id., 18–22; and finally




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               l. There were “extensive deficiencies in the FTX Group’s controls with respect to

                   digital asset management, information security, and cybersecurity,” which was

                   “particularly surprising given that the FTX Group’s business and reputation

                   depended on safeguarding crypto assets,” and “[a]s a result of these control

                   failures,” which included (i) maintaining the majority of customer assets in “hot”

                   wallets that are easily hacked, (ii) failing to safeguard private keys but storing them

                   in an Amazon Web Services account, (iii) failing to employ multi-signature

                   capabilities or Multi-Party Computation, (iv) failing to restrict FTX Group

                   employee user access to sensitive infrastructure, such as omnibus wallets holding

                   billions of dollars in assets, and (v) failing to enforce multi-factor authentication

                   for employees and other commonsense safeguards to protect customer assets and

                   sensitive data—all of which leads to the irrefutable conclusion that “the FTX Group

                   exposed crypto assets under its control to a grave risk of loss, misuse, and

                   compromise, and lacked a reasonable ability to prevent, detect, respond to, or

                   recover from a significant cybersecurity incident, including the November 2022

                   Breach.” Id., 22–37.

           199.    Mr. Ray concludes that “[t]he FTX Group’s profound control failures placed its

    crypto assets and funds at risk from the outset.” Id., 39.

    G. The Crypto Sector is a Hotbed for Illicit Activity and Fraudulent Conduct

           200.    From its inception, cryptocurrency has been fueled by illicit activity and the crypto

    sector continues to be rife with frauds and scams. For a detailed breakdown on the illicit use of

    cryptocurrency, see the U.S. Department of Justice’s report from September 2022 titled: “The Role

    of Law Enforcement In Detecting, Investigation, And Prosecuting Criminal Activity Related to




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    Digital Assets.” The report was issued pursuant to the March 9, 2022, Executive Order on Ensuring

    Responsible Development of Digital Assets and is the latest report on cryptocurrency released by
     56
          dating back to 2018, all of which detail the dire harms caused by cryptocurrency. DoJ notes that

    “[t]he rise of the Bitcoin network paralleled the development of Silk Road, AlphaBay, and other

    illegal online marketplaces…” and the department classified digital asset crime into three

    categories: “(1) cryptocurrency as a means of payment for, or manner of facilitating, criminal

    activity; (2) the use of digital assets as a means of concealing illicit financial activity; and (3)

    crimes involving or affecting the digital assets ecosystem.” The September report details several

    high-profile cases involving the illicit use of cryptocurrency. One case is the darknet marketplace

    Silk Road, which accepted payment only in Bitcoin, and was shut down by the FBI in 2013 after

    having facilitated sales revenue totaling over 9.5 million Bitcoin, equivalent to roughly $1.2 billion

    at the time.

               201.   Cryptocurrency is increasingly being used by organized crime syndicates and

    nation states for illicit purposes. In January 2022, the Government Accountability Office (GAO)

    issued a report finding that “[v]irtual currency is increasingly used illicitly to facilitate human and

    drug trafficking.” 57 Cryptocurrency is also being used by Iran, Russia, and North Korea to bypass

    U.S. economic and financial sanctions. 58 According to the United Nations, “money raised by North



    56
             https://www.justice.gov/opa/pr/justice-department-announces-report-digital-assets-and-
    launches-nationwide-network (accessed May 11, 2023).
    57
      Virtual Currencies: Additional Information Could Improve Federal Agency Efforts to Counter
    Human and Drug Trafficking [Reissued with Revisions Feb. 7, 2022] | U.S. GAO (accessed May
    11, 2023).
    58
       Russia Could Use Cryptocurrency to Mitigate U.S. Sanctions - The New York Times
    (nytimes.com) (accessed May 11, 2023), Iran Plans Uses Crypto for Imports to Get Around
    Sanctions (gizmodo.com) (accessed May 11, 2023), This is how North Korea uses cutting-edge
    crypto money laundering to steal millions | MIT Technology Review(accessed May 11, 2023).


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    Korea’s criminal cyber operations are helping to fund the country’s illicit ballistic missile and

    nuclear programs.” 59 North Korea’s brazenness was revealed to the public earlier this year when

    a well-known “Web 3” video game, Axie Infinity, was hacked and $620 million in the

    cryptocurrency ether was stolen. “Chainalysis estimates that North Korea stole approximately $1

    billion in the first nine months of 2022 from decentralized crypto exchanges alone,” one of the

    reasons why Anne Neuberger, US deputy national security adviser for cyber security, said in July

    2022 that North Korea “uses cyber to gain …. up to a third of their funds for their missile

    program.” 60

               202.   Cryptocurrency has also fueled a surge in ransomware that has victimized

    American businesses, health care systems, and state and local governments. In May of 2022, the

    majority staff on the Homeland Security & Governmental Affairs Committee released a startling

    report on ransomware. 61 The report notes that in 2021, “ransomware attacks impacted at least

    2,323 local governments, schools, and healthcare providers in the United States” and that the FBI

    “received 3,729 ransomware complaints with adjusted losses of more than $49.2 million.” The

    report acknowledges that these numbers underestimate the true scale of the problem because many

    ransomware victims do not report to authorities. As evidence, they cite data from blockchain

    analytics company Chainalysis that found “malign actors received at least $692 million in

    cryptocurrency extorted as part of ransomware attacks” in 2020. The report notes that

    “cryptocurrency, typically Bitcoin, has become a near universal form of ransom payment in



    59
      How North Korea became a mastermind of crypto cybercrime | Ars Technica (accessed May 11,
    2023).
    60
         Id.
    61
      HSGAC Majority Cryptocurrency Ransomware Report.pdf (senate.gov) (accessed May 11,
    2023).


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    ransomware attacks, in part, because cryptocurrency enables criminals to extort huge sums of

    money from victims across diverse sectors with incredible speed.” The link between

    cryptocurrency and ransomware became clear to the public in the wake of the Colonial Pipeline

    hack in May 2021, which disrupted gasoline supplies in the southeastern U.S. In the wake of that

    breach, several commentators argued for a ban, or heavy regulation, of cryptocurrency. 62

               203.   Everyday consumers have also fallen victim to various cryptocurrency-related

    scams. The Consumer Financial Protection Bureau (CFPB) published 2,404 cryptocurrency related

    consumer complaints in its Consumer Complaint Database during 2021, and more than 1,000

    cryptocurrency-related complaints during 2022 year-to-date. 63 According to the September DoJ

    report: “The CFPB has also received hundreds of servicemember complaints involving

    cryptocurrency assets or exchanges in the last 12 months, approximately one-third of which

    concerned frauds or scams.” 64 In June 2022, the Federal Trade Commission issued a report finding

    that “since the start of 2021 more than 46,000 people have reported losing over $1 billion in crypto

    to scams – that’s about one out of every four dollars reported lost, more than any other payment

    method.” 65 The median individual loss was a staggering $2,600.

               204.   Another September 2022 report from the Treasury Department, issued pursuant to

    the Executive Order, also called out the risks and harms to consumers from cryptocurrency:




    62
         Ban Cryptocurrency to Fight Ransomware - WSJ (accessed May 11, 2023).
    63
     Justice Department Announces Report on Digital Assets and Launches Nationwide Network |
    OPA | Department of Justice (accessed May 11, 2023).
    64
         Id.
    65
       Reports show scammers cashing in on crypto craze | Federal Trade Commission (ftc.gov)
    (accessed May 11, 2023).


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              205.   Consumers and investors are exposed to improper conduct in the crypto-asset

    ecosystem for a variety of reasons, including a lack of transparency as well as the fact that crypto-

    assets have relatively novel and rapidly developing applications. This leads to frequent instances

    of operational failures, market manipulation, frauds, thefts, and scams. While the data for

    populations vulnerable to disparate impacts remains limited, available evidence suggests that

    crypto-asset products may present heightened risks to these groups, and the potential financial

    inclusion benefits of crypto-assets largely have yet to materialize. 66

              206.   There is also a long history of consumer losses associated with centralized

    exchanges, FTX being the latest. One of the first cryptocurrency exchange failures was Japan-

    based Mt. Gox in 2014. Mt. Gox was handling over 70% of bitcoin transactions worldwide by the

    time it ceased operations after the exchange was hacked and the majority of cryptocurrency held

    by the exchange on behalf of customers was stolen. Creditors to Mt. Gox are still waiting for their

    funds, a sign that does not bode well for FTX creditors, to the extent they seek recovery directly

    from the FTX Group through the bankruptcy proceedings. 67

              207.   All of the above-mentioned problems with cryptocurrency are well known and one

    of the big reasons why consumers are often hesitant to purchase or use cryptocurrency. According

    to Pew Research, 16% of Americans have invested in cryptocurrency while another 71% are not

    invested although they have heard at least a little about cryptocurrency. 68 For those in the latter

    group, concerns around fraud and scams are likely playing a role in their resistance to crypto

    investing. FTX capitalized on these concerns, and on the checkered history of crypto, more


    66
     Crypto-Assets: Implications for Consumers, Investors, and Businesses (treasury.gov) (accessed
    May 11, 2023).
    67
         What to Watch in the FTX Bankruptcy as Details Remain Scarce - WSJ
    68
         46% of cryptocurrency investors in US say it did worse than expected | Pew Research Center


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    generally, in promoting the FTX Platform as one that customers could trust, unlike any other

    exchange in the industry.

           208.    For those who choose to invest in cryptocurrency, the damages can be

    overwhelming, as with the FTX fraud. The losses sustained by SBF’s victims are staggering. FTX

    stole more than $8 billion in Class Member funds, the bulk of which has now vanished. Many

    Class Members came of working age in the recession and, later, the COVID-19 pandemic, and as

    a result have spent their lives working long hours for low wages, often across multiple jobs or in

    the gig economy. Unlike MDL Defendants, these Class Members do not have money to burn. They

    are not “crypto-bros.” They are financially vulnerable, and SBF, with the help of his co-conspiring

    MDL Defendants, exploited their vulnerability for tremendous financial gain. Now, while SBF

    rests comfortably at his parents’ home in Palo Alto, flush with the resources to post $250 million

    bail, SBF’s victims are left with nothing.

    H. The SEC’s Approach to Cryptocurrency.

                   I.        Overview

           209.    Despite the crypto industry’s cries for “regulatory clarity,” the SEC’s stance on

    cryptocurrency has been clear and consistent from the beginning. Critics of the SEC’s stance

    toward cryptocurrency overlook an important aspect of U.S. securities law – securities regulation

    is not meant to be precise but is instead intentionally drafted to be broad and all-encompassing;

    clarity is not just uncommon; it is deliberately avoided. This is why the definitions of “security”

    in Section 2(a)(1) of the Securities Act of 1933 (Securities Act), 15 U.S.C. 77b(a)(1), and Section

    3(a)(10) of the Securities Exchange Act of 1934 (Exchange Act), 15 U.S.C. 78c(a)(10), include

    not only conventional securities, such as “stock[s]” and “bond[s],” but also the more general term

    “investment contract.”




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           210.    Along these lines, in Reves v. Ernst & Young, the Supreme Court stated that:

           The fundamental purpose undergirding the Securities Acts is ‘to eliminate serious
           abuses in a largely unregulated securities market.’ United Housing Foundation,
           Inc. v. Forman, 421 U.S. 837, 421 U.S. 849 (1975). In defining the scope of the
           market that it wished to regulate, Congress painted with a broad brush. It
           recognized the virtually limitless scope of human ingenuity, especially in the
           creation of ‘countless and variable schemes devised by those who seek the use
           of the money of others on the promise of profits, SEC v. W.J. Howey Co., 328
           U.S. 293, 328 U.S. 299 (1946), and determined that the best way to achieve its goal
           of protecting investors was ‘to define the term ”security” in sufficiently broad and
           general terms so as to include within that definition the many types of instruments
           that in our commercial world fall within the ordinary concept of a security.’ . . .
           Congress therefore did not attempt precisely to cabin the scope of the Securities
           Acts . . . Rather, it enacted a definition of ‘security’ sufficiently broad to encompass
           virtually any instrument that might be sold as an investment.” (emphasis added) 69

           211.    Crafted to contemplate not only known securities arrangements at the time, but also

    any prospective instruments created by those who seek the use of others’ money on the promise

    of profits, the definition of “security” is broad, sweeping, and designed to be flexible to capture

    new instruments that share the common characteristics of stocks and bonds. As Supreme Court

    Justice (and former SEC Commissioner (1935) and Chair (1936-37)) William O. Douglas opined

    in Superintendent of Insurance v. Bankers Life and Casualty Co.:

           We believe that section 10(b) and Rule 10b-5 prohibit all fraudulent schemes in
           connection with the purchase or sale of securities, whether the artifices employed
           involve a garden type variety fraud or present a unique form of deception. Novel or
           atypical methods should not provide immunity from the securities laws.

           212.    Federal courts have already confirmed the SEC’s jurisdiction in numerous crypto-

    related emergency asset freeze hearings where the issue is always considered and affirmed, same

    as it has been by hundreds of federal courts across the country since the Howey decision, which




    69
     https://scholar.google.com/scholar_case?case=18068523124125938239&q=Reves+v.+Ernst+
    %26+Young&hl=en&as_sdt=400006&as_vis=1 (accessed May 11, 2023).


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    the Supreme Court adopted over 75 years ago. 70 That decision resulted in the Howey Test, which

    is used to determine the presence of an investment contract. The Howey Test stipulates that an

    investment contract exists if there is an “investment of money in a common enterprise with a

    reasonable expectation of profits to be derived from the efforts of others.” 71 The Howey Test is the

    principal method used by the SEC to determine if a given cryptocurrency is a security.

               213.   The SEC has used multiple distribution channels to share its message and concerns

    regarding crypto, digital trading platforms, initial coin offerings, and other digital asset products

    and services over the past decade. The SEC first made investors aware of the dangers of investing

    in cryptocurrency in 2013 when the Office of Investor Education and Advocacy issued an Investor

    Alert on “Ponzi Schemes Using Virtual Currencies.” 72

               214.   A year later, the same office issued an Investor Alert on “Bitcoin and Other Virtual

    Currency-Related Investments.” 73 In 2017, the Commission took the rare step of releasing a

    Section 21(a) Report of Investigation that looked at the facts and circumstances of The DAO,

    which offered and sold approximately 1.15 billion DAO Tokens in exchange for a total of

    approximately 12 million Ether (“ETH”) over a one-month period in 2016. 74 The SEC applied the

    Howey Test to the DAO tokens and concluded they were securities under the Securities Act of

    1933 (“Securities Act”) and the Securities Exchange Act of 1934 (“Exchange Act”). While The

    DAO, and DAO tokens, were no longer operational at the time due to a high-profile hack that



    70
         https://supreme.justia.com/cases/federal/us/328/293/ (accessed May 11, 2023).
    71
         Id.
    72
         ia_virtualcurrencies.pdf (sec.gov) (accessed May 11, 2023).
    73
     Investor Alert: Bitcoin and Other Virtual Currency-Related Investments | Investor.gov (accessed
    May 11, 2023).
    74
         https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed May 11, 2023).


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    resulted in the theft of most DAO tokens, the Commission chose to release the report so as “to

    advise those who would use a Decentralized Autonomous Organization (“DAO Entity”), or other

    distributed ledger or blockchain-enabled means for capital raising, to take appropriate steps to

    ensure compliance with the U.S. federal securities laws.” 75

             215.   In 2019, the SEC released a “Framework for “Investment Contract” Analysis of

    Digital Assets” which provided additional details on when a digital asset has the characteristics of

    an investment contract and “whether offers and sales of a digital asset are securities transactions.”76

             216.   In addition, the SEC has publicized its position on cryptocurrency in

    countless enforcement      actions, 77   multiple speeches, 78 Congressional      testimony,79     and

    several official SEC statements 80 and proclamations. 81 Current SEC Chairman, Gary Gensler, has

    spoken frequently about the perils and illegality of crypto lending platforms and decentralized




    75
     Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act of 1934: The
    DAO (accessed May 11, 2023).
    76
      SEC.gov | Framework for “Investment Contract” Analysis of Digital Assets (accessed May 11,
    2023).
    77
         SEC.gov | Crypto Assets and Cyber Enforcement Actions (accessed May 11, 2023).
    78
      https://www.sec.gov/news/speech/gensler-aspen-security-forum-2021-08-03 (accessed May 11,
    2023).
    79
         https://www.sec.gov/news/testimony/gensler-2021-05-26 (accessed May 11, 2023).
    80
      https://www.sec.gov/news/public-statement/statement-clayton-2017-12-11 (accessed May 11,
    2023).
    81
         https://www.sec.gov/news/public-statement/enforcement-tm-statement-potentially-unlawful-
    online-platforms-trading (accessed May 11, 2023).


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    finance, 82 warning that their failure to register with the SEC may violate U.S. securities laws. 83 In

    one interview, Gensler said:

               “The law is clear; it’s not about waving a wand. Congress spoke about this in 1934 . . .
               When a [digital] platform has securities on it, it is an exchange, and it’s a question of
               whether they’re registered or they’re operating outside of the law, and I’ll leave it at
               that.” 84

               217.   On September 8, 2022, Chair Gensler gave a speech reflecting on the flexibility of

    the securities laws and the SEC’s consistency in applying these laws to cryptocurrency. 85 Gensler

    noted that of the 10,000 different cryptocurrencies in the market, “the vast majority are securities,”

    a position that was also held by his predecessor, Jay Clayton. 86 Gensler went on to note that the

    SEC has spoken with a “pretty clear voice” when it comes to cryptocurrency “through the DAO

    Report, the Munchee Order, and dozens of Enforcement actions, all voted on by the Commission”

    and that “[n]ot liking the message isn’t the same thing as not receiving it.” 87

               218.   The judicial record supports Chair Gensler’s assertions. The SEC has taken over

    100 crypto-related enforcement actions and has not lost a single case. 88

               219.   What follows are summaries of five cases that will help inform this litigation.




    82
       https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec (accessed May
    11, 2023).
    83
         https://ca.finance.yahoo.com/news/crypto-platforms-dont-register-with-sec-outside-the-law-
    gensler- 164215740.html (accessed May 11, 2023).
    84
       https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec (accessed May
    11, 2023).
    85
         SEC.gov | Kennedy and Crypto (accessed May 11, 2023).
    86
         Id.
    87
         Id.
    88
         SEC Cryptocurrency Enforcement: 2021 Update (cornerstone.com) (accessed May 11, 2023).


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                    II.     SEC v. KIK

             220.   In Kik 89, the SEC’s complaint 90, filed in the U.S. District Court for the Southern

    District of New York on June 4, 2019, alleged that Kik sold digital asset securities to U.S. investors

    without registering their offer and sale as required by the U.S. securities laws. Kik argued that the

    SEC’s lawsuit against it should be considered “void for vagueness.” 91

             221.   The court granted the SEC’s motion for summary judgment on September 30, 2020,

    finding that undisputed facts established that Kik’s sales of “Kin” tokens were sales of investment

    contracts (and therefore of securities) and that Kik violated the federal securities laws when it

    conducted an unregistered offering of securities that did not qualify for any exemption from

    registration requirements. The court further found that Kik’s private and public token sales were a

    single integrated offering.

                    III.    SEC v. Telegram

             222.   In Telegram, 92 the SEC filed a complaint 93 on October 11, 2019, alleging that the

    company had raised capital to finance its business by selling approximately 2.9 billion “Grams” to

    171 initial purchasers worldwide. The SEC sought to preliminarily enjoin Telegram from

    delivering the Grams it sold, which the SEC alleged were securities that had been offered and sold

    in violation of the registration requirements of the federal securities laws.




    89
         https://www.sec.gov/news/press-release/2020-262 (accessed May 11, 2023).
    90
         https://www.sec.gov/news/press-release/2019-87 (accessed May 11, 2023).
    91
          https://www.financemagnates.com/cryptocurrency/news/sec-seeks-to-block-kik-subpoenas-
    refutes-void-for-vagueness-claim/ (accessed May 11, 2023).
    92
         https://www.sec.gov/news/press-release/2020-146 (accessed May 11, 2023).
    93
         https://www.sec.gov/news/press-release/2019-212 (accessed May 11, 2023).


                                                     81
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            223.    Telegram argued 94 that the SEC has “engaged in improper ‘regulation by

    enforcement’ in this nascent area of the law, failed to provide clear guidance and fair notice of its

    views as to what conduct constitutes a violation of the federal securities laws, and has now adopted

    an ad hoc legal position that is contrary to judicial precedent and the publicly expressed views of

    its own high-ranking officials.”

            224.    On March 24, 2020, the U.S. District Court for the Southern District of New York

    issued a preliminary injunction 95 barring the delivery of Grams and finding that the SEC had

    shown a substantial likelihood of proving that Telegram’s sales were part of a larger scheme to

    distribute the Grams to the secondary public market unlawfully.

            225.    Without admitting or denying the allegations in the SEC’s complaint, the

    defendants consented to the entry of a final judgment enjoining them from violating the registration

    provisions of Sections 5(a) and 5(c) of the Securities Act of 1933. The judgment ordered the

    defendants to disgorge, on a joint and several basis, $1,224,000,000.00 in ill-gotten gains from the

    sale of Grams, with credit for the amounts Telegram pays back to initial purchasers of Grams. It

    also ordered Telegram Group Inc. to pay a civil penalty of $18,500,000. For the next three years,

    Telegram is further required to give notice to the SEC staff before participating in the issuance of

    any digital assets.




    94
         https://www.financemagnates.com/cryptocurrency/news/sec-vs-telegram-will-gram-tokens-
    ever-be-distributed/ (accessed May 11, 2023).
    95
      SEC v. Telegram: A Groundbreaking Decision in Cryptocurrency Enforcement? | Insights |
    Greenberg Traurig LLP (gtlaw.com) (accessed May 11, 2023).


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                     IV.    SEC v. BlockFi

              226.   In BlockFi Lending LLC, the first SEC case ever involving a crypto-lending

    program, on February 22, 2022, the SEC charged BlockFi 96with failing to register the offers and

    sales of its retail crypto-lending product and also charged BlockFi with violating the registration

    provisions of the Investment Company Act of 1940.

              227.   BlockFi argued for “increased regulatory clarity” but lost. 97

              228.   To settle the SEC’s charges, BlockFi agreed to pay a $50 million penalty, cease its

    unregistered offers and sales of the lending product, BlockFi Interest Accounts (BIAs), and bring

    its business within the provisions of the Investment Company Act within 60 days. BlockFi’s parent

    company also announced that it intends to register under the Securities Act of 1933 the offer and

    sale of a new lending product. In parallel actions, BlockFi agreed to pay an additional $50 million

    in fines to 32 states to settle similar charges.

                     V.     SEC Wells Notice to Coinbase

              229.   In 2021, Coinbase began marketing a cryptocurrency lending product called Lend.

    The Lend program purported to allow some Coinbase customers to ”earn interest on select assets

    on Coinbase, starting with 4% APY on USD Coin (USDC).” 98 According to Coinbase, its lawyers

    reached out to the SEC to discuss its Lend product, at which point SEC staff instead served

    Coinbase with a Wells Notice, informing Coinbase of their intention to seek approval from the

    SEC Commissioners to file a civil enforcement action against Coinbase for violating the federal

    securities laws.


    96
         https://lnkd.in/d-Xy45ec (accessed May 11, 2023).
    97
         https://blockfi.com/pioneering-regulatory-clarity (accessed May 11, 2023).
    98
      The SEC has told us it wants to sue us over Lend. We don’t know why. - Blog (coinbase.com)
    (accessed May 11, 2023).


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               230.   According to Coinbase, the SEC issued the Wells Notice because of Coinbase’s

    failure to file a registration statement with the SEC for the offering of its Lend product, which the

    SEC believed was a security. 99

               231.   The two cases that Coinbase claims the SEC cites as support for its Wells Notice

    are SEC v. Howey and Reves v. Ernst & Young. Reves addressed the question of whether a product

    is a “note” and hence a security (applying the so-called “Familial Resemblance Test”).

               232.   Under the Lend program, Coinbase customers were clearly investing “money” at

    Coinbase and placing their faith in Coinbase to generate a profit for them. Lend investors would

    have no say in how Coinbase runs the Lend program and Coinbase was not going to permit Lend

    investors to participate in Lend-related decisions. Given these facts, Lend was clearly an

    investment contract.

               233.   Under Reves, Lend may have also been a “note” and hence a security. Although the

    term “note” is included in the statutory definition of a security, case law has determined that not

    every “note” is a security. The definition specifically excludes notes with a term of less than nine

    months and courts have carved out a range of exemptions over the years for commercial paper

    type notes such as purchase money loans and privately negotiated bank loans. To reconcile these

    varying cases, the U.S. Supreme Court in Reves established the “family resemblance test,” to

    determine whether a note is a security.

               234.   Per the “family resemblance test,” a presumption that a note is a security can only

    be rebutted if the note bears a resemblance to one of the enumerated categories on a judicially

    developed list of exceptions, as follows: 1) a note delivered in consumer financing; 2) a note

    secured by a mortgage on a home; 3) a short-term note secured by a lien on a small business or


    99
         Id.


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    some of its assets; 4) a note evidencing a character loan to a bank customer; 5) a short-term note

    secured by an assignment of accounts receivable; and 6) a note which simply formalizes an open-

    account debt incurred in the ordinary course of business (such as a trade payable for office

    supplies); and vii) a note evidencing loans by commercial banks for current operations.

              235.   The “family resemblance” analysis requires:

          x   A consideration of the motivation of the seller and buyer (e.g., is the seller looking for

              investment and the buyer looking for profit?);

          x   The plan of distribution of the note (e.g., is the product being marketed as an

              investment?);

          x   The expectation of the creditor/investor (e.g., would the investing public reasonably

              expect the application of the securities laws to the product); and

          x   The presence of an alternative regulation (e.g., will the product be registered as a banking

              product and the offered registered as a bank?).

              236.   Applying the family resemblance test to Lend reveals the presence of a note. First,

    Coinbase likened the Lend program to that of a savings account, where the Lend customer is

    looking for a profitable investment and Coinbase is looking for investors. Second, Coinbase

    marketed the Lend program as an investment. Third, investors would expect that securities

    regulation applies. Fourth, Coinbase is not a bank, so their so-called savings account falls under

    no other regulatory jurisdiction and protection.

              237.   Given the clear facts of the case, Coinbase decided to cancel the Lend program. 100




    100
      https://www.theverge.com/2021/9/20/22684169/coinbase-crypto-lend-feature-discontinued-
    sec-lawsuit-threats (accessed June 27, 2023).

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                     VI.     SEC v. Binance

              238.   In Binance, the SEC filed a complaint 101 on June 5, 2023, in the United States

    District Court for the District of Columbia against several of the Binance entities including

    Binance.com, U.S.-based affiliates, and the founder Changpeng Zhao. The SEC alleges that

    Binance.com and the other defendants violated thirteen securities laws, including selling various

    unregistered securities and a staking-as-a-service program; operating an unregistered exchange,

    broker-dealer, and clearing agency across interstate lines; covertly controlling Binance.US to

    evade U.S. securities laws; secretly allowing U.S. high-value traders to remain on the international

    platform; and commingling billions of U.S. assets with Zhao-owned entities. The SEC seeks a

    preliminary injunction to, among other relief, freeze and repatriate defendants’ U.S. assets. The

    SEC also seeks to permanently enjoin defendants from directly or indirectly violating the

    Exchange and Securities Acts, disgorge illegal gains, and award civil damages.

                     VII.    SEC v. Coinbase

              239.   In Coinbase, the SEC filed a complaint 102 on June 6, 2023, in the United States

    District Court for the Southern District of New York against Coinbase and Coinbase Global. The

    SEC alleges that the Coinbase entities have violated multiple securities laws, including making

    billions of dollars from selling various unregistered securities and a staking-as-a-service program;

    and operating an unregistered exchange, broker-dealer, and clearing agency across interstate lines.

    The SEC seeks to permanently enjoin defendants from directly or indirectly violating the Exchange

    and Securities Acts, disgorge illegal gains, and award civil damages. “Coinbase was fully aware




    101
          https://www.sec.gov/files/litigation/complaints/2023/comp-pr2023-101.pdf.
    102
          https://www.sec.gov/litigation/complaints/2023/comp-pr2023-102.pdf.

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    of the applicability of the federal securities laws to its business activities, but deliberately refused

    to follow them,” stated Gurbir S. Grewal, Director of the SEC’s Division of Enforcement. 103

                     VIII. SEC v. Terraform Labs Pte. Ltd.

              240.   In one of the most recent developments in the crypto space, on July 31, 2023, Judge

    Jed Rakoff in the Southern District of New York entered an order denying a motion to dismiss

    claims that defendants, a crypto-assets company and its founder, were responsible for a

    multibillion-dollar fraud that involved the development, marketing, offer and sale of crypto-assets

    that the SEC alleged were unregistered securities. SEC v. Terraform Labs Pte. Ltd., et al., No 1:23-

    cv-01346-JSR, ECF No. 51 (S.D.N.Y. July 31, 2023). 104

              241.   This is a significant ruling for several reasons.

              242.   First, it supports the fact that YBAs and FTT are unregistered securities.

              243.   Second, Judge Rakoff explicitly rejects a key component of his colleague, Judge

    Analisa Torres’ reasoning in her order on cross-motions for summary judgment in SEC v. Ripple

    Labs, Inc., et al., No. 1:20-cv-10832, ECF No. 874 (S.D.N.Y. July 13, 2023), which drew a

    distinction between crypto-assets sold directly by the issuer and on the secondary market. 105

              244.   Third, Judge Jed Rakoff is a highly regarded jurist who is considered an expert in

    securities law and business law. In fact, Todd Baker, an attorney and Senior Fellow at the Richman

    Center for Business, Law & Public Policy at Columbia Business and Law Schools called Judge




    103
          https://www.sec.gov/news/press-release/2023-102.
    104

    https://storage.courtlistener.com/recap/gov.uscourts.nysd.594150/gov.uscourts.nysd.594150.51.0
    _1.pdf (accessed August 6, 2023).
    105
          https://assets.bwbx.io/documents/users/iqjWHBFdfxIU/rVqyLFyEZnz8/v0


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    Rakoff, in a Financial Times article, the “[T]he most respected securities authority in the federal

    judiciary.” 106

             245.     The relevant points of comparison in Judge Rakoff’s decision to the FTX MDL are

    his analysis around the Luna token and UST stablecoin, which bear similarities to the FTT token

    and YBAs, respectively.

             246.     With respect to the Luna token, Judge Rakoff found that a common enterprise and

    expectation of profit existed because Terraform labs used proceeds from LUNA coin sales to

    develop the Terraform blockchain and represented that that these improvements would increase

    the value of the Luna tokens. This is similar to the FTT token, which was an exchange token.

    Given FTT’s features, it was clearly designed to go up in value as the FTX platform grew and

    became more popular with crypto traders. In fact, in their complaint alleging, amongst other things,

    that FTT is an unregistered security, the SEC states:

             FTX used the pooled proceeds from FTT sales to fund the development, marketing,
             business operations, and growth of FTX, depending on the success of FTX and its
             management team in developing, operating, and marketing the trading platform. If
             demand for trading on the FTX platform increased, demand for the FTT token could
             increase, such that any price increase in FTT would benefit holders of FTT equally
             and in direct proportion to their FTT holdings. The large allocation of tokens to
             FTX incentivized the FTX management team to take steps to attract more users
             onto the trading platform and, therefore, increase demand for, and increase the
             trading price of, the FTT token. 107
             The SEC makes a similar allegation with respect to Luna in the Terraform Labs action and

    Judge Rakoff sides with the SEC. From his decision:

             The SEC’s theory for horizontal commonality as to these other coins, however,
             rests on a different but equally plausible theory. As to the LUNA tokens, for
             instance, the SEC has demonstrated horizontal commonality by alleging that the
             defendants’ used proceeds from LUNA coin sales to develop the Terraform
             blockchain and represented that these improvements would increase the value of

    106
          https://www.ft.com/content/5e5a3c4a-7508-4db8-ab23-1ff17c87c880
    107
          comp-pr2022-234.pdf (sec.gov)


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              the LUNA tokens themselves. See Amended Complaint ¶¶ 46-47, 49-51. In other
              words, by alleging that the defendants “pooled” the proceeds of LUNA purchases
              together and promised that further investment through these purchases would
              benefit all LUNA holders, the SEC has adequately pled that the defendants and the
              investors were joined in a common, profit-seeking enterprise. 108

              Also, of relevance to the FTX MDL is Judge Rakoff’s conclusion that the algorithmic

    stablecoin, UST, also met the Howey standard for investment contracts. Note that this is the first

    time the SEC has alleged that a stablecoin is an investment contract, and the SEC’s reasons for

    making this allegation also support the assertion that YBAs are securities.

              While UST, like most stablecoins, was supposed to be tied one-for-one to the US dollar,

    Terraform and Kwon marketed “UST coins as profitable investment opportunities—as opposed to

    just stable stores of value—in meetings with U.S. investors, investment conferences in major U.S.

    cities, and on social media platforms.” 109

              247.    Then, in 2021, Terraform launched the “Anchor Protocol” which was an

    “investment pool into which owners of UST coins could deposit their coins and earn a share of

    whatever profits the pool generated.”

              Judge Rakoff found that “the fact that most of the UST coins were deposited in the Anchor

    Protocol independently rendered these tokens investment contracts, indeed investments that were

    touted as being capable of being able to generate future profits of as much as 20%.” 110 Judge

    Rakoff goes on to say:

              In essence, the UST tokens were allegedly “pooled” together in the Anchor Protocol
              and, through the managerial efforts of the defendants, were expected to generate




    108
          https://assets.bwbx.io/documents/users/iqjWHBFdfxIU/rwwEEo0YbENc/v0 at 36
    109
          Id. at Page 4
    110
          Id. at Page 34


                                                     89
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              profits that would then be re-distributed to all those who deposited their coins into
              the Anchor Protocol—in other words, on a pro-rata basis.” 111

              This closely resembles the facts surrounding YBAs and Judge Rakoff’s finding that UST

    met the requirements for an investment contract supports the conclusion that YBAs are also

    unregistered securities.

              Judge Rakoff also explicitly rejects a key element of Judge Torres’ analysis in the Ripple

    decision, stating:

              It may also be mentioned that the Court declines to draw a distinction between these
              coins based on their manner of sale, such that coins sold directly to institutional
              investors are considered securities and those sold through secondary market
              transactions to retail investors are not. In doing so, the Court rejects the approach
              recently adopted by another judge of this District in a similar case, SEC v. Ripple
              Labs Inc., 2023 WL 4507900 (S.D.N.Y. July 13, 2023). 112

              Judge Rakoff goes on to explain that Howey and its progeny never made such a distinction,

    nor does it matter, for purposes of Howey analysis, whether a purchaser “bought the coins directly

    from the defendants or, instead, in a secondary resale transaction.” 113

              After noting that “in theory, the tokens, if taken by themselves, might not qualify as

    investment contracts,” Judge Rakoff evaluated—“as the Supreme Court did in Howey”—“whether

    the crypto-assets and the ‘full set of contracts, expectations, and understandings centered on the

    sales and distribution of [these tokens]’ amounted to an ‘investment contract’ under federal

    securities laws.” 114

              Judge Rakoff’s rejection of the Ripple decision’s secondary market distinction and fulsome

    Howey analysis support Plaintiffs’ assertion that FTT and YBAs are unregistered securities. FTT


    111
          Id. at Page 36
    112
          Id. at 40
    113
          Id. at 41
    114
          Id. at 32–33.


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    purchasers, on the FTX Platform or elsewhere, did not necessarily know who the seller was. But,

    as Judge Rakoff explains, knowledge of the seller’s identity is not necessary to prove that

    purchasers expected profits based on the efforts of FTX, who is the issuer of these assets, and not

    simply a platform where the assets traded.

    I. FTX’s offer and sale of YBAs, which are unregistered securities.

             248.    Beginning in 2019, the FTX Group began offering the YBAs to public investors

    through its Earn program. Plaintiffs and other similarly situated individuals invested in FTX’s

    YBAs.

             249.   The details of the Earn program are still listed on the FTX website, 115 and additional

    information on Earn is described in a declaration submitted in the Voyager Chapter 11 proceedings

    by Joseph Rotunda, Director of Enforcement of the Texas State Securities Board, on October 14,

    2022. 116

             250.   Under the section titled “How can I earn yield on my FTX deposits?” on the FTX

    website, the company describes the Earn program thusly:

             251.   “You can now earn yield on your crypto purchases and deposits, as well as your

    fiat balances, in your FTX app! By opting in and participating in staking your supported assets in

    your FTX account, you’ll be eligible to earn up to 8% APY on your assets.” 117

             252.   On the same webpage, the company also states:




    115
          FTX App Earn – FTX Exchange (accessed May 11, 2023).
    116
          1175310142280000000134.pdf (stretto.com) (accessed May 11, 2023).
    117
          FTX App Earn – FTX Exchange (accessed May 11, 2023).


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                253.   The first $10,000 USD value in your deposit wallets will earn 8% APY. Amounts

    held above $10,000 up to $100,000 USD in value (subject to market fluctuations) will

    earn 5% APY. 118

                254.   Nowhere on the website does FTX describe how this yield will be generated; other

    than that the yield will come from “staking your supported assets in your FTX account” although

    nowhere does the company describe what staking actually is.

                255.   Staking is a technical concept that applies to the blockchain consensus mechanism

    called Proof of Stake, which some cryptocurrencies utilize. 119 Staking serves a similar function to

    cryptocurrency mining, in that it is the process by which a network participant gets selected to add

    the latest batch of transactions to the blockchain and earn some crypto in exchange. While the

    exact mechanism will vary from project to project, in general, users will put their token on the line

    (i.e., “stake”) for a chance to add a new block onto the blockchain in exchange for a reward. Their

    staked tokens act as a guarantee of the legitimacy of any new transaction they add to the

    blockchain. The network chooses validators based on the size of their stake and the length of time

    they’ve held it. Thus, the most invested participants are rewarded. If transactions in a new block

    are discovered to be invalid, users can have a certain amount of their stake burned by the network,

    in what is known as a slashing event. 120

                256.   Some within the crypto community argue that staking is not a security because it is

    simply part of the code by which specific cryptocurrencies operate. In other words, some argue

    that staking programs are different from lending programs because user assets are not actually


    118
          Id.
    119
          For example, Ethereum, Tezos, Cosmos, Solana, and Cardano all use Proof of Stake.
    120
      The staking definition comes from the Coinbase website: What is staking? | Coinbase (accessed
    May 11, 2023).


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    being “lent” out to third parties. But in September 2022, SEC Chairman Gary Gensler told

    reporters that “cryptocurrencies and intermediaries that allow holders to ‘stake’ their coins might

    pass” the Howey Test. 121 According to Gensler, “From the coin’s perspective…that’s another

    indicia that under the Howey test, the investing public is anticipating profits based on the efforts

    of others.” The Wall Street Journal noted that if an intermediary such as a crypto exchange offers

    staking services to its customers, Mr. Gensler said, it “looks very similar—with some changes of

    labeling—to lending.” 122

                257.   Based upon information – included and not included – on the FTX website, it does

    not appear that the company is adhering to the technical, commonly understood, definition of

    staking. See Ex. A ¶¶ 36–42. The most telling indicator is that the company permits any

    cryptocurrency listed on their platform to be eligible for staking, even coins that do not use Proof

    of Stake. Id. ¶ 39. The FTX website specifically states that Bitcoin and Dogecoin can generate

    yield under the Earn program, even though these coins use the Proof of Work consensus

    mechanism (meaning you CANNOT technically stake Bitcoin or Dogecoin). Therefore, it is not

    at all clear where the promised yield is coming from.

                258.   Applying Howey to the FTX Earn program reveals that Earn is an investment

    contract. An investment contract is present because users are clearly entrusting their funds to FTX.

    Users have to “opt-in” so that FTX may take possession over user assets and deploy them in a

    manner that will generate yield. As noted above, it is not clear how that yield is generated, but it

    is clear that FTX is deploying customer assets in a discretionary manner. Therefore, the efforts of




    121
          Ether’s New ‘Staking’ Model Could Draw SEC Attention - WSJ (accessed May 11, 2023).
    122
          Id.


                                                      93
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    FTX are instrumental in generating the users’ yield and of course users have an expectation of

    profit because FTX is advertising yields of up to 8% APY:

                  From a securities perspective, the Howey Test defines an investment contract as:

                      a. An investment of money

                            i.   Cryptocurrency is a medium of exchange and way of transferring
                                 value in a measurable and quantifiable way. It is increasingly used
                                 as a means of payment, although it is more commonly used as a
                                 speculative investment at this point in time. Whether or not
                                 cryptocurrency can be defined as ‘money’ is in part a matter of
                                 semantics that can vary based on considers the fundamental features
                                 of money to be, and what criteria needs to be achieved in order for
                                 something to be considered money. Suffice to say, when examining
                                 aspects such as fungibility, durability, portability, divisibility,
                                 scarcity, transferability, acting as a medium of exchange, acting as
                                 a unit of account, and acting as a store of value, it could be argued
                                 that some cryptocurrencies fulfill many of these criterions as good
                                 as or even better than fiat currencies.

                      b. In a common enterprise

                            i.   FTX customer assets are almost always consolidated in wallets
                                 operated and controlled by FTX at least initially. These wallets are
                                 typically referred to as ‘hot wallets’ or ‘consolidation wallets.’ From
                                 these wallets, cryptocurrency can be move to other FTX-controlled
                                 wallets, or it can be used to pay back other customers performing
                                 withdrawals, but FTX can and did send (and loan) out such assets to
                                 other entities, including Alameda ‘Alameda.’ The blockchains data
                                 contains an immutable and verifiable record of data that shows that
                                 FTX customer deposits went into accounts operated by a common
                                 enterprise, namely, FTX.

                      c. With the expectation of profit

                            i.   FTX customers are promised yield when they participate in the Earn
                                 program. And at up to 8% yield, that is a considerable amount that
                                 would be considerably in excess to that of a savings account at a
                                 bank. But it was also far riskier than investing money in a savings
                                 account at a bank. FTX goes out of their way to advertise this yield,




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                                    and indicate that such earnings are to be calculated on the
                                    “investment portfolio” that is stored ‘in’ the FTX app. 123

                        d. To be derived from the efforts of others

                               i.   The FTX Yield-bearing account was portrayed as passive income
                                    stream. A customer needs to do nothing more than ensure they are
                                    subscribed to the yield program, and that they have deposited assets
                                    (of crypto or even fiat) in order to earn the 5% or 8% yield, which
                                    they clearly indicate is counted hourly. There is no further work or
                                    action needed on the part of the user.

                              ii.   The work that ‘others’ (namely FTX) would need to do would
                                    including, at a baseline, sending transactions. But it would also
                                    require FTX to make an effort by leveraging and investing the
                                    money elsewhere which could theoretically come about either via
                                    giving out loans, employing trading strategies, ‘staking,’ making
                                    other investments, or giving out loans to entities (such as Alameda)
                                    that would employ such strategies.

              259.   The FTX Earn program was most likely a note per Reves as well. First, FTX offered

    Earn to obtain crypto assets for the general use of its business, namely, to run its activities to pay

    interest to Earn investors, and users purchased YBAs and were automatically opted-in to Earn to

    receive interest on their crypto assets. Second, Earn was offered and sold to a broad segment of

    the general public. Third, FTX promoted Earn as an investment; on their website, FTX notes that

    Earn users will receive “yield earnings” on their “investment portfolio.” 124 Fourth, no alternative

    regulatory scheme or other risk reducing factors exist with respect to Earn. Note that the above

    analysis mirrors that provided by the SEC in their BlockFi order. 125




    123
       https://help.ftx.com/hc/en-us/articles/10573545824532-FTX-App-Earn (accessed May 11,
    2023).
    124
          FTX App Earn – FTX Exchange (accessed May 11, 2023).
    125
          https://www.sec.gov/news/press-release/2022-26 (accessed May 11, 2023).


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            260.    FTX maintains that it does not offer for sale any product that constitutes a

    “security” under federal or state law. Under federal securities laws as construed by the United

    States Supreme Court in its decision SEC v. W.J. Howey Co., 328 U.S. 293 (1946) and by the SEC,

    an investment contract is a form of security under United States securities laws when (1) the

    purchaser makes an investment of money or exchanges another item of value (2) in a common

    enterprise (3) with the reasonable expectation of profits to be derived from the efforts of others.

            261.    The YBAs were “securities” as defined by the United States securities laws and as

    interpreted by the Supreme Court, the federal courts, and the SEC. The FTX Group offered variable

    interest rewards on crypto assets held in the YBAs on the FTX Platform, which rates were

    determined by the FTX Group in their sole discretion. In order to generate revenue to fund the

    promised interest, the FTX Group pooled the YBA assets to engage in lending and staking

    activities from which they derived revenue to pay interest on the YBAs. These activities make the

    YBAs a “security” under state and federal law.

            262.    On October 14, 2022, Director of Enforcement of the Texas State Securities Board,

    Joseph Rotunda, filed a declaration in the Chapter 11 bankruptcy proceedings pending in

    connection with the collapse of the Voyager Digital cryptocurrency exchange, In re: Voyager

    Digital Holdings, Inc., et al., Case No. 22-10943 (MEW), ECF No. 536 (Bankr. S.D.N.Y. Oct. 14,

    2022), in which he explained how the YBAs are in fact “an offering of unregistered securities in

    the form of yield-bearing accounts to the residents of the United States.” Id., at 6. In his declaration,

    the pertinent portions of which are reproduced in full for ease of reference, Rotunda explains:

                    I am also familiar with FTX Trading LTD (“FTX Trading”) dba FTX as
            described herein. As more fully explained throughout this declaration, I am aware
            that FTX Trading, along with West Realm Shires Services Inc. dba FTX US (“FTX
            US”), may be offering unregistered securities in the form of yield-bearing accounts



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          to residents of the United States. These products appear similar to the yield-bearing
          depository accounts offered by Voyager Digital LTD et al., and the Enforcement
          Division is now investigating FTX Trading, FTX US, and their principals,
          including Sam Bankman-Fried.
                 I understand that FTX Trading is incorporated in Antigua and Barbuda and
          headquartered in the Bahamas. It was organized and founded in part by Mr.
          Bankman-Fried, and FTX Trading appears to be restricting operations in the United
          States. For example, domestic users accessing the webpage for FTX Trading at
          ftx.com are presented with a pop-up window that contains a disclaimer that reads
          in part as follows:
                        Did you mean to go to FTX US? FTX US is a US licensed
                 cryptocurrency exchange that welcomes American users.
                         You’re accessing FTX from the United States. You won’t be
                 able to use any of FTX.com’s services, though you’re welcome to
                 look around the site.
                 FTX US claims to be regulated as a Money Services Business with FinCEN
          (No. 31000195443783) and as a money transmitter, a seller of payment instruments
          and in other non-securities capacities in many different states. It is not, however,
          registered as a money transmitter or in any other capacity with the Texas
          Department of Banking and it is not registered as a securities dealer with the Texas
          State Securities Board.
                 FTX US owns 75 percent or more of the outstanding equity of FTX Capital
          Markets (CRD No. 158816) (“FTX Capital”), a firm registered as a broker-dealer
          with the United States Securities and Exchange Commission, the Financial Industry
          Regulatory Authority Inc., and 53 state and territorial securities regulators. FTX
          Capital’s registration as a dealer in Texas became effective on May 7, 2012, and
          the registration continues to remain in force and effect.
                 FTX US maintains a website at https://ftx.us that contains a webpage for
          smartphone applications for FTX (formerly Blockfolio) 126 (the “FTX Trading

   126
      FTX acquired Blockfolio LLC (“Blockfolio”) in or around August 2020. At the time,
   Blockfolio managed a cryptocurrency application. FTX thereafter rebranded Blockfolio and its
   smartphone application as FTX. Now, users can download the FTX Trading App from Apple’s



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          App”) and FTX US Pro. Users appear able to click a link in this webpage to
          download the FTX Trading App even when they reside in the United States.
                 On October 14, 2022, I downloaded and installed the FTX Trading App on
          my smartphone. I created an account with FTX Trading through the FTX Trading
          App and linked the FTX account to an existing personal bank account. During the
          process, I provided my full first and last name and entered my residential address
          in Austin, Texas. I also accessed hyperlinks in the FTX Trading App that redirected
          to the Privacy Policy and Terms of Service. Although I was from the United States
          and was using the application tied to FTX Trading, the Privacy Policy and Terms
          of Service were from FTX US - not FTX Trading.
                 I thereafter used the FTX Trading App to initiate the transfer of $50.00 from
          my bank account to the FTX account and then transferred .1 ETH from a 3.0 wallet
          to the FTX account. The transfer of funds from my bank account to the FTX account
          will take up to six days to complete but the transfer of ETH was processed within
          a few minutes.
                 The FTX Trading App showed that I was eligible to earn a yield on my
          deposits. It also explained the “Earn program is provided by FTX.US” – not FTX
          Trading. It also represented that “FTX Earn rewards are available for US users on
          a promotional basis.”
                 I recall the FTX Trading App’s default settings were automatically
          configured to enable the earning of yield. The application also contained a link for
          additional information about yield. I accessed the link and was redirected to a recent
          article published by “Blockfolio Rebecca” under help.blockfolio.com. The article
          began as follows:
                 You can now earn yield on your crypto purchases and deposits, as
                 well as your fiat balances, in your FTX Trading App! By opting in
                 and participating in staking your supported assets in your FTX
                 account, you’ll be eligible to earn up to 8% APY on your staked
                 assets. THIS APY IS ESTIMATED AND NOT GUARANTEED
                 AS DESCRIBED BELOW.


   App Store or Google’s Google Play Store. Although FTX rebranded Blockfolio, the application
   listing in Apple’s App Store still shows the application developed by Blockfolio.


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                The article also described the payment of yield. It contained a section titled
         How do you calculate APY? Does my balance compound daily? that read, in part,
         as follows:
                        FTX will deposit yield earnings from the staked coins,
                calculated hourly, on the investment portfolio that is stored in your
                FTX Trading App. Yield will be compounded on principle and yield
                you have already earned. Any cryptocurrency that you have
                deposited on FTX as well as any fiat balance you may have on your
                account, will earn yield immediately after you have opted into the
                program.

                       The first $10,000 USD value in your deposit wallets will
                earn 8% APY. Amounts held above $10,000 up to $10MM USD in
                value (subject to market fluctuations) will earn 5% APY. In this
                scenario, your yield earned on the coins will look something like the
                examples below the table.

                The article also contained a section titled Is this available in my country?
         This section explained that “FTX Trading App Earn is available to FTX Trading
         App customers that are in one of the FTX permitted jurisdictions.” It contained a
         hyperlink to an article titled Location Restrictions published by FTX Crypto
         Derivatives Exchange under help.ftx.com. This article described various
         restrictions on operations in certain countries and locations and read in part as
         follows:
                        FTX does not onboard or provide services to corporate
                accounts of entities located in, established in, or a resident of the
                United States of America, Cuba, Crimea and Sevastopol,
                Luhansk People’s Republic, Donetsk People’s Republic, Iran,
                Afghanistan, Syria, or North Korea. FTX also does not onboard
                corporate accounts located in or a resident of Antigua or Barbuda.
                FTX also does not onboard any users from Ontario, and FTX does
                not permit non-professional investors from Hong Kong purchasing
                certain products.

                        FTX does not onboard or provide services to personal
                accounts of current residents of the United States of America,
                Cuba, Crimea and Sevastopol, Luhansk People’s Republic,
                Donetsk People’s Republic, Iran, Afghanistan, Syria, North
                Korea, or Antigua and Barbuda. There may be partial restrictions
                in other jurisdictions, potentially including Hong Kong, Thailand,
                Malaysia, India and Canada. In addition, FTX does not onboard any
                users from Ontario, does not permit non-professional investors from


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                Hong Kong purchasing certain products, and does not offer
                derivatives products to users from Brazil.

                       FTX serves all Japanese residents via FTX Japan.
                (emphasis in original)
                Despite the fact I identified myself by name and address, the FTX Trading
         App now shows that I am earning yield on the ETH. The yield is valued at 8 percent
         APR.
                Based upon my earning of yield and an ongoing investigation by the
         Enforcement Division of the Texas State Securities Board, the yield program
         appears to be an investment contract, evidence of indebtedness and note, and as
         such appears to be regulated as a security in Texas as provided by Section 4001.068
         of the Texas Securities Act. At all times material to the opening of this FTX
         account, FTX Trading and FTX US have not been registered to offer or sell
         securities in Texas. FTX Trading and FTX US may therefore be violating Section
         4004.051 of the Texas Securities Act. Moreover, the yield program described
         herein has not been registered or permitted for sale in Texas as generally required
         by Section 4003.001 of the Securities Act, and as such FTX Trading and FTX US
         may be violation Section 4003.001 by offering unregistered or unpermitted
         securities for sale in Texas. Finally, FTX Trading and FTX US may not be fully
         disclosing all known material facts to clients prior to opening accounts and earning
         yield, thereby possibly engaging in fraud and/or making offers containing
         statements that are materially misleading or otherwise likely to deceive the public.
         Certain principals of FTX Trading and FTX US may also be violating these statutes
         and disclosure requirements. Further investigation is necessary to conclude whether
         FTX Trading, FTX US and others are violating the Securities Act through the acts
         and practices described in this declaration.
                The Enforcement Division of the Texas State Securities Board understands
         that FTX US placed the highest bid for assets of Voyager Digital LTD et al., a
         family of companies variously accused of misconduct in connection with the sale
         of securities similar to the yield program promoted by FTX Trading and FTX US.
         FTX US is managed by Sam Bankman-Fried (CEO and Founder), Gary Wang
         (CTO and Founder) and Nishad Singh (Head of Engineering). The same principals


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             hold the same positions at FTX Trading, and I was able to access the yield-earning
             product after following a link to the FTX Trading App from FTX US’s website.
             The FTX Trading App also indicated the Earn program is provided by FTX US. As
             such, FTX US should not be permitted to purchase the assets of the debtor unless
             or until the Securities Commissioner has an opportunity to determine whether FTX
             US is complying with the law and related and/or affiliated companies, including
             companies commonly controlled by the same management, are complying with the
             law.
                    I hereby authorize the Texas Attorney General’s Office and any of its
             representatives to use this declaration in this bankruptcy proceeding.
                    I declare under penalty of perjury that the foregoing is true and correct.
                    Executed on October 14, 2022, in Austin, Texas.
                                                                  /s Joseph Jason Rotunda
                                                                  By: Joseph Jason Rotunda
   J. FTX’s offer and sale of FTT Tokens, which are unregistered securities.

             263.   The FTT token that contributed to FTX’s demise is also an investment contract per

   the Howey Test. FTT is an exchange token created by FTX that entitles holders to benefits on the

   FTX exchange. According to crypto news site CoinDesk, “such benefits often include trading fee

   discounts, rebates and early access to token sales held on the platform.” 127 Exchange tokens can

   be very profitable for their issuers because the exchanges that issue them tend to keep a significant

   number of tokens for themselves, which they can pump in price through speeches, social media

   posts, and other announcements. Economically, exchange tokes are akin to equity, although the

   holders of exchange tokens have no legal rights or interests in the issuer. As the exchange issuer

   grows in size and prominence, and trading volume increases on the exchange, the value of the




   127
         https://www.coindesk.com/learn/what-is-an-exchange-token/ (accessed May 11, 2023).


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   exchange token will likely increase. Thus, the value of FTT increased as the FTX exchange became

   more well-known and utilized. 128

          264.    FTT passes the Howey Test because the token was controlled by FTX; the company

   could create or destroy FTT at will. And the value of FTT was based upon the success of FTX,

   therefore the “efforts” of others prong of the Howey Test is implicated. It is also clear that investors

   bought FTT because they thought it would go up in price; this is the same reason why most, if not

   all, investors buy any given cryptocurrency. In fact, Binance CEO Changpeng “CZ” Zhao agreed

   to accept FTT tokens as part of FTX’s buyout of Binance’s equity stake in FTX. 129

   K. Using the FTX Platform itself necessarily required transacting in unregistered securities.

          265.    Another avenue through which FTX users may have been exposed to a securities

   transaction was through the basic structure of the FTX Platform.

          266.    Despite cryptocurrency and blockchain’s foundational premise being the ability to

   transmit value peer-to-peer using a trustless and decentralized database that cannot be censured by

   any third party, cryptocurrency exchanges operate more like traditional banks.

          267.    When you buy Bitcoin through a centralized cryptocurrency exchange, there is no

   corresponding transaction to the Bitcoin blockchain. Rather, the exchange simply maintains its

   own database that indicates which cryptocurrencies it owes to its customers.

          268.    Cryptocurrency exchanges should then be in custody of enough cryptocurrency on

   the blockchain to cover what it owes customers. Custody can be done using hot or cold digital

   wallets (hot wallets are connected to the internet, cold wallets are not) with best practice being for



   128
     See FTT price history here: https://coinmarketcap.com/currencies/ftx-token/ (accessed May 11,
   2023).
   129
          https://www.investors.com/news/binance-to-buy-ftx-international-operations-as-liquidity-
   crunch-sparks-crypto-selloff/ (accessed May 11, 2023).


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   exchanges to hold the majority of cryptocurrency (crypto which they are holding on behalf of

   customers) in multiple cold wallets. Best practice would also dictate that exchanges hold customer

   assets in separate wallets from exchange assets, and that each customer’s assets would be held in

   a distinct wallet.

            269.   According to the first day declaration by John Ray, FTX kept its crypto in a

   common pool used to fund undisclosed and unreasonably risky investments:

            The FTX Group did not keep appropriate books and records, or security controls,
            with respect to its digital assets. Mr. Bankman-Fried and [Alameda co-founder
            Gary] Wang controlled access to digital assets of the main businesses in the FTX
            Group (with the exception of LedgerX, regulated by the CFTC, and certain other
            regulated and/or licensed subsidiaries). Unacceptable management practices
            included the use of an unsecured group email account as the root user to access
            confidential private keys and critically sensitive data for the FTX Group companies
            around the world, the absence of daily reconciliation of positions on the blockchain,
            the use of software to conceal the misuse of customer funds, the secret exemption
            of Alameda from certain aspects of FTX.com’s auto-liquidation protocol, and the
            absence of independent governance as between Alameda (owned 90% by Mr.
            Bankman-Fried and 10% by Mr. Wang) and the Dotcom Silo (in which third parties
            had invested).

            The Debtors have located and secured only a fraction of the digital assets of the
            FTX Group that they hope to recover in these Chapter 11 Cases. The Debtors have
            secured in new cold wallets approximately $740 million of cryptocurrency that the
            Debtors believe is attributable to either the WRS, Alameda and/or Dotcom Silos.
            The Debtors have not yet been able to determine how much of this cryptocurrency
            is allocable to each Silo, or even if such an allocation can be determined. These
            balances exclude cryptocurrency not currently under the Debtors’ control as a result
            of (a) at least $372 million of unauthorized transfers initiated on the Petition Date,
            during which time the Debtors immediately began moving cryptocurrency into cold
            storage to mitigate the risk to the remaining cryptocurrency that was accessible at
            the time, (b) the dilutive ‘minting’ of approximately $300 million in FTT tokens by
            an unauthorized source after the Petition Date and (c) the failure of the co-founders
            and potentially others to identify additional wallets believed to contain Debtor
            assets. 130



   130
         042020648197.pdf (pacer-documents.s3.amazonaws.com) (accessed May 11, 2023).


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               270.   In the declaration, Mr. Ray presents several rough balance sheets for the various

   FTX silos, while noting that he does not have confidence in them, and that “the information therein

   may not be correct as of the date stated.” 131 Most telling is a footnote that appears on the balance

   sheets for the exchange businesses: “Customer custodial fund assets are comprised of fiat customer

   deposit balances. Balances of customer crypto assets deposited are not presented.” 132 Ray notes

   that U.S. and overseas exchanges “may have significant liabilities” but that “such liabilities are

   not reflected in the financial statements prepared while these companies were under the control of

   Mr. Bankman-Fried.” 133

               271.   To further complicate matters, recent statements given by Sam Bankman-Fried to

   the Wall Street Journal (WSJ) suggest that about half of the balance owed by Alameda to FTX

   was from wire transfers that customers made to FTX via Alameda in the early days before FTX

   had a bank account. 134 This money was intended to fund customers’ accounts at FTX. Bankman-

   Fried claims some customers continued to use that route after FTX had a bank account and that

   over time, “FTX customers deposited more than $5 billion in those Alameda accounts.” 135 The

   WSJ acknowledged that these funds “could have been recorded in two places—both as FTX

   customer funds and as part of Alameda’s trading positions” and that “such double-counting would




   131
         Id.
   132
         Id.
   133
         Id.
   134
             https://www.wsj.com/articles/ftx-founder-sam-bankman-fried-says-he-cant-account-for-
   billions-sent-to-alameda-
   11670107659?st=g35ia0eu0bjwqzn&reflink=desktopwebshare_permalink (accessed May 11,
   2023).
   135
         FTX customers deposited more than $5 billion in those Alameda accounts.


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   have created a huge hole in FTX’s and Alameda’s balance sheets, with assets that weren’t really

   there.” 136

               272.   The relationship between FTX and Alameda was critical to the exchange’s eventual

   collapse. After suffering large losses in the wake of several high profile crypto-firm failures in the

   spring and summer of 2022 (Alameda most likely was exposed to crypto hedge fund Three Arrows

   Capital), FTX lent out some of its customer assets that it did control to Alameda. 137 Presumably,

   the exchange benefitted from the interest paid by Alameda for the loaned cryptoassets – although

   some have suggested that the loans were made for free. 138 Alameda could then use the customer

   assets as cheap collateral for margined trades with other parties (obtaining collateral from other

   sources would have been much more expensive). 139

               273.   It appears that Alameda did post collateral to secure the loans of customer

   cryptoassets that it received, but that collateral took the form of FTT tokens. FTT tokens were the

   so-called “native token” of the FTX exchange: FTX created FTT and issued it to both institutional

   and retail investors without registering with any regulator or undergoing any audit or other external

   due diligence. FTX could create unlimited amounts of FTT if it wished.

               274.   In short, there appear to have been two sets of leveraged transactions involved.

   First, Alameda borrowed assets from FTX’s customers, providing FTT tokens as collateral for




   136
         Id.
   137
      https://newsletter.mollywhite.net/p/the-ftx-collapse-the-latest-revelations (accessed May 11,
   2023).
   138
       https://www.cnbc.com/2022/11/13/sam-bankman-frieds-alameda-quietly-used-ftx-customer-
   funds-without-raising-alarm-bells-say-sources.html (accessed May 11, 2023).
   139
       For a more general discussion of the conflicts of interest inherent in these relationships, see
   https://www.coppolacomment.com/2022/11/the-ftx-alameda-nexus.html (accessed May 11,
   2023).


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   those loans. Second, Alameda engaged in margin trading, essentially borrowing money to execute

   risky trading strategies: these trades were secured by the assets Alameda had borrowed from FTX

   customers’ accounts. Leverage makes trades potentially more lucrative, but also makes them more

   vulnerable to adverse market movements. In an Alameda balance sheet linked to CoinDesk in early

   November, Alameda’s largest asset holdings were listed as being FTT tokens (it is possible that it

   received these in a kind of bailout from FTX). Other assets listed on that balance sheet included

   SOL tokens (issued by the Solana blockchain, in which Sam Bankman-Fried was an early investor)

   and SRM tokens (issued by the Serum exchange that Sam Bankman-Fried co-founded). 140

   Alameda had few assets that hadn’t been created out of thin air by FTX or FTX-related entities.

   L. The MDL Defendants’ Roles in the Fraud

          275.    Each group of MDL Defendants contributed both to the perpetration of the fraud,

   and to the sale of unregistered securities, in a vital way. The individual role of each MDL

   Defendant is outlined below, and more fully expounded upon within the individual version of the

   complaint in which they are named.

          276.    Samuel Bankman-Fried stole billions of dollars from FTX clients’ deposits and

   used them to cover costs at FTX’s sister company, a crypto hedge fund called alameda Research.

   He did so with the help of three key people, Caroline Ellison, Gary Wang, and Nishad Singh, who

   were part of Bankman-Fried’s inner circle. Many of them were friends going back years before

   the creation of FTX. Together, they were the brain trust of FTX and the architects of the FTX

   fraud, and are referred to herein as the “FTX Insider Defendants.”




   140
          https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
   empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed May 11, 2023).


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            277.   The public accounting firms of Prager Metis CPAs, LLC and Armanino LLP (the

   Auditor Defendants), were the auditors of FTX Trading and FTX US, respectively. In those roles,

   and in violation of the professional standards to which they were subject, Prager Metis and

   Armanino issued reports in which they opined, respectively, that the financial statements of FTX

   Trading and FTX US for the years ending 2020 and 2021 were presented in accordance with

   generally accepted accounting principles (or GAAP) and that they had performed audits of such

   financial statements in accordance with generally accepted auditing standards (or GAAS). Reports

   such as the type issued here by the Auditor Defendants are generally referred to as “clean” audit

   reports. Given the virtual absence of accounting and financial systems and controls, corporate

   governance structures, and other controls at FTX – things that were so glaring and obvious that

   Mr. Ray discovered them within just days of being appointed as FTX’s CEO in connection with

   the FTX bankruptcy – the Auditor Defendants never should have issued, and in fact were

   prohibited by the professional standards to which they were subject, their clean audit reports. Nor

   should they have allowed, as they did, FTX and SBF to tout that FTX had passed financial

   statement audits. Finally, in further violation of the professional rules and standards to which they

   were subject, the Auditor Defendants issued statements of support on the internet and social media

   of FTX and SBF. The Auditor Defendants played a significant role in the FTX fiasco in that their

   actions gave legitimacy and credibility to FTX and SBF, which FTX and SBF used to curry favor

   with customers and investors and give them the sense that FTX could be entrusted with their

   money.

            278.   FTX’s campaign to build public and investor trust relied on significant financial

   and public support from certain venture capital fund Defendants, who primarily interfaced with

   FTX Insiders Ryan Salame and Ramnik Arora. Sequoia Capital Operations, LLC (“Sequoia”),




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   Thoma Bravo, LP (“Thoma Bravo”), Paradigm Operations LP (“Paradigm”), SkyBridge Capital

   II, LLC (“SkyBridge”), Multicoin Capital Management LLC (“Multicoin Capital”), Tiger Global

   Management, LLC (“Tiger”), Ribbit Management Company, LLC (“Ribbit Capital”), Altimeter

   Capital Management, LP (“Altimeter”), and K5 Global Advisor, LLC (“K5 Global”) (collectively,

   the VC Defendants) poured over $800 million into FTX, both financing and directly participating

   in FTX’s public campaign to create an air of legitimacy for the FTX Platform. The VC Defendants

   made numerous deceptive and misleading statements of their own about FTX’s business, finances,

   operations, and prospects for the purpose of inducing customers to invest, trade, and/or deposit

   assets with FTX. They also vouched for the safety and stability of the FTX Platform, advertised

   FTX’s purported attempts to become properly regulated, and otherwise promoted the fabricated

   integrity of the FTX Group and SBF.

          279.    Defendants Temasek Holdings (Private) Limited (“Temasek Holdings”) is a global

   commercial investment company owned by the Government of Singapore, with a portfolio valued

   at nearly $300 billion. Temasek Holdings operates in the United States primarily through its wholly

   owned subsidiary, Temasek International (USA) LLC (“Temasek USA” and, together with

   Temasek Holdings, “Temasek”). After undertaking an extensive, 8-month-long due diligence

   process involving, e.g., FTX’s business model, applicable regulations, audited financials, and

   corporate governance, Temasek invested $275 million in FTX. Temasek “continued to monitor

   performance and engage management on business strategy, as well as legal, policy and regulatory

   matters” even post investment, advising FTX with regard to “upgrad[ing] regulatory and legal

   functions” and to “strengthen [its] leadership.” Temasek was in a particularly good position to

   offer such advice; upon information and belief, its executives, Pradyumna Agrawal and Antony

   Lewis, served on FTX’s advisory board, which held meetings at least through March 2022.




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   Reportedly, Temasek was one of the ”most demanding” investors for due diligence, despite being

   offered the best terms from FTX for its investment, which drew frustration from several members

   of the Temasek team. 141

              280.




              281.




              282.     Defendant Softbank Group Corp. (“Softbank Group”) is a Japanese multinational

   investment company venture capital fund. Softbank Group invested in FTX through its Softbank

   Vision Fund, which is managed by Defendants SoftBank Investment Advisers (UK) Limited

   (“Softbank Investment Advisers”) and Softbank Global Advisers Limited (“Softbank Global



   141
         See Ex. B, Declaration of Nishad Singh, ¶ 19.


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   Advisers”) and engaged in the misconduct referenced herein in order to increase the value of those

   investments. SoftBank Vision Fund is one of the largest technology funds in the world, totaling

   approximately $56 billion, with its U.S. base in Silicon Valley, California. Softbank Group has a

   worldwide reputation for being a “unicorn company . . . whisperer,” and startups such as FTX

   fortunate enough to count it among its investors gain “a major credibility building moment.”

   SoftBank Group employed its “dedicated review department” to conduct due diligence on FTX’s

   “business, technology, business model, market size, business plan, competitive environment,

   financial condition, legal compliance, etc.” prior to making its reported $100 million dollar

   investment. Upon information and belief, SoftBank Group continued to enjoy unique influence

   over and insight into FTX following its investment through its executives—CEO Rajeev Misra

   and Partner Tom Cheung—who served on FTX’s advisory board, which held meetings at least

   through March 2022. It sought to pave the way for FTX to expand into the derivatives

   clearinghouse arena by lobbying the CFTC to grant FTX the necessary licenses with claims that

   FTX’s proposal would reduce risks to the consumer.

          283.    Defendant Sino Global Capital Limited (“Sino Global”) is a venture capital firm

   based in Hong Kong with hundreds of millions in assets under management. Sino Global

   “supported the FTX vision” “[f]rom the very beginning” and “worked with [FTX] to make it a

   reality,” including by investing an undisclosed amount in the “mid-seven figures” in FTX. In

   conjunction with its investment, Sino Global—in the words of its managing partner Matthew

   Graham—did “a hell of a lot of due diligence” and eventually embarked on a “deep relationship”

   with FTX. Sino Global’s reputation, due diligence representations, ultimate investment, and

   ongoing relationship lent an air of legitimacy to FTX, as Mr. Graham recognized following one

   round of funding: “Today, SBF is no longer merely a titan of crypto. He’s now a titan of business




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   . . . .” As FTX’s value skyrocketed, Sino Global stood to make an enormous return on its

   investment, but it benefitted from its ties to FTX in more direct ways: Sino Global accepted a $60

   million investment from Alameda and yet another investment of an undisclosed amount from SBF,

   each of which, upon information and belief, having been comprised of Class Member funds. It

   further partnered with FTX and Alameda as co-general partners in the $200 million Liquid Value

   I fund, Sino Global’s first ever outside venture fund. Together, Temasek, Softbank, and Sino

   Global are referred to as the “Multinational VC Defendants.”

          284.    Defendant Fenwick was FTX’s principal outside law firm. Headquartered in

   Mountain View, California, Fenwick was ideally located in the heart of Silicon Valley, near to

   FTX’s California operations. Fenwick provided services to the FTX Group entities that went well

   beyond those a law firm should and usually does provide. When asked by FTX Group executives

   for counsel, Fenwick lawyers were eager to craft not only creative, but illegal strategies. Fenwick

   helped set up the shadowy entities through which Bankman-Fried and the FTX Insiders operated

   a fraud, structured acquisitions by the FTX US in ways to circumvent regulatory scrutiny, advised

   on FTX US’s regulatory dodge, more generally, and supplied personnel necessary to execute on

   the strategies that they proposed. In this manner, Fenwick conspired with and aided and abetted

   the fraud, conversion, negligence, and respective breaches of fiduciary duties of the FTX entities.

          285.    Defendants Deltec, Moonstone, and Jean Chalopin (together, the Bank Defendants)

   primarily assisted SBF in trafficking Class Member funds across the U.S. border. Defendant

   Deltec, at Mr. Chalopin’s direction, provided one-of-a-kind digital asset banking services to FTX

   and, upon information and belief, served as a primary vehicle through which SBF routed Class

   Member funds offshore, beyond the reach of U.S. regulators and law enforcement. Defendant

   Moonstone, also at the direction of Mr. Chalopin, provided complementary services, assisting SBF




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   in funneling more than $50 million in Class Member funds to entities he separately owned through

   accounts at the bank.

          286.    Promoters are Defendants who agreed to serve as brand ambassadors, advertised

   and promoted the sale of the FTX Platform, YBAs and/or FTT, and failed to disclose in any of

   their marketing campaigns or advertisements that they were paid millions of dollars by FTX. All

   in clear violation of SEC, FTC, and various federal and state regulations.

          287.    Digital Creators are YouTube and social media financial influencers who promoted

   FTX as financial advice and promoted the sale of the FTX Platform, YBAs and/or FTT, to their

   millions of followers. The Promoter and Digital Creator Defendants include the individuals and

   entities listed in the paragraphs below.

          288.    The individual role of each MDL Defendant is outlined below, and more fully

   expounded upon within the individual chapter of the complaint in which they are named.

          289.    Samuel Bankman-Fried stole billions of dollars from FTX clients’ deposits and

   used them to cover costs at FTX’s sister company, a crypto hedge fund called alameda Research.

   He did so with the help of three key people, Caroline Ellison, Gary Wang, and Nishad Singh, who

   were part of Bankman-Fried’s inner circle. Many of them were friends going back years before

   the creation of FTX. Together, they were the brain trust of FTX and the architects of the FTX fraud

   and are referred to herein as the “FTX Insider Defendants.”

          290.    The public accounting firms of Prager Metis CPAs, LLC and Armanino LLP (the

   Auditor Defendants), were the auditors of FTX Trading and FTX US, respectively. In those roles,

   and in violation of the professional standards to which they were subject, Prager Metis and

   Armanino issued reports in which they opined, respectively, that the financial statements of FTX

   Trading and FTX US for the years ending 2020 and 2021 were presented in accordance with




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   generally accepted accounting principles (or GAAP) and that they had performed audits of such

   financial statements in accordance with generally accepted auditing standards (or GAAS). Reports

   such as the type issued here by the Auditor Defendants are generally referred to as “clean” audit

   reports. Given the virtual absence of accounting and financial systems and controls, corporate

   governance structures, and other controls at FTX – things that were so glaring and obvious that

   Mr. Ray discovered them within just days of being appointed as FTX’s CEO in connection with

   the FTX bankruptcy – the Auditor Defendants never should have issued, and in fact were

   prohibited by the professional standards to which they were subject, their clean audit reports. Nor

   should they have allowed, as they did, FTX and SBF to tout that FTX had passed financial

   statement audits. Finally, in further violation of the professional rules and standards to which they

   were subject, the Auditor Defendants issued statements of support on the internet and social media

   of FTX and SBF. The Auditor Defendants played a significant role in the FTX fiasco in that their

   actions gave legitimacy and credibility to FTX and SBF, which FTX and SBF used to curry favor

   with customers and investors and give them the sense that FTX could be entrusted with their

   money.

            291.   FTX’s campaign to build public and investor trust relied on significant financial

   and public support from certain venture capital fund Defendants. Sequoia Capital Operations,

   LLC (“Sequoia”), Thoma Bravo, LP (“Thoma Bravo”), Paradigm Operations LP (“Paradigm”),

   SkyBridge Capital II, LLC (“SkyBridge”), Multicoin Capital Management LLC (“Multicoin

   Capital”), Tiger Global Management, LLC (“Tiger”), Ribbit Management Company, LLC

   (“Ribbit Capital”), Altimeter Capital Management, LP (“Altimeter”), and K5 Global Advisor, LLC

   (“K5 Global”) (collectively, the VC Defendants) poured over $800 million into FTX, both

   financing and directly participating in FTX’s public campaign to create an air of legitimacy for the




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   FTX Platform. The VC Defendants made numerous deceptive and misleading statements of their

   own about FTX’s business, finances, operations, and prospects for the purpose of inducing

   customers to invest, trade, and/or deposit assets with FTX. They also vouched for the safety and

   stability of the FTX Platform, advertised FTX’s purported attempts to become properly regulated,

   and otherwise promoted the fabricated integrity of the FTX Group and SBF.

          292.   Defendants Temasek Holdings (Private) Limited (“Temasek Holdings”) is a global

   commercial investment company owned by the Government of Singapore, with a portfolio valued

   at nearly $300 billion. Temasek Holdings operates in the United States primarily through

   subsidiaries, such as Defendant Temasek International Ltd. Ptd. And Temasek International (USA)

   LLC (“Temasek USA”) together with Temasek Holdings, “Temasek”). After undertaking an

   extensive, 8-month-long due diligence process involving, e.g., FTX’s business model, applicable

   regulations, audited financials, and corporate governance, Temasek invested $275 million in FTX.

   Temasek “continued to monitor performance and engage management on business strategy, as

   well as legal, policy and regulatory matters” even post investment, advising FTX with regard to

   “upgrad[ing] regulatory and legal functions” and to “strengthen [its] leadership.” Temasek was in

   a particularly good position to offer such advice; upon information and belief, its executives,

   Pradyumna Agrawal and Antony Lewis, served on FTX’s advisory board, which held meetings at

   least through March 2022.

          293.   Defendant SoftBank Group Corp. (“Softbank Group”) is a Japanese multinational

   investment firm that operates in the United States through its subsidiary Defendant SB Group US,

   Inc., (“Softbank US”) a Delaware corporation. Softbank Group invested in FTX through its

   Softbank Vision Fund, which is managed by Defendants SoftBank Investment Advisers (UK)

   Limited (“Softbank Investment Advisers”) and Softbank Global Advisers Limited (“Softbank




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   Global Advisers”) and engaged in the misconduct referenced herein in order to increase the value

   of those investments. SoftBank Vision Fund is one of the largest technology funds in the world,

   totaling approximately $56 billion, with its U.S. base in Silicon Valley, California. SoftBank

   Group has a worldwide reputation for being a “unicorn company . . . whisperer,” and startups such

   as FTX fortunate enough to count it among its investors gain “a major credibility building

   moment.” SoftBank Group employed its “dedicated review department” to conduct due diligence

   on FTX’s “business, technology, business model, market size, business plan, competitive

   environment, financial condition, legal compliance, etc.” prior to making its reported $100 million

   dollar investment. Upon information and belief, SoftBank Group continued to enjoy unique

   influence over and insight into FTX following its investment through its executives—CEO Rajeev

   Misra and Partner Tom Cheung—who served on FTX’s advisory board, which held meetings at

   least through March 2022. It sought to pave the way for FTX to expand into the derivatives

   clearinghouse arena by lobbying the CFTC to grant FTX the necessary licenses with claims that

   FTX’s proposal would reduce risks to the consumer.

          294.    Defendant Sino Global Capital Limited (“Sino Global”) is a venture capital firm

   based in Hong Kong, Kentucky and The Bahamas with hundreds of millions in assets under

   management. Sino Global “supported the FTX vision” “[f]rom the very beginning” and “worked

   with [FTX] to make it a reality,” including by investing an undisclosed amount in the “mid-seven

   figures” in FTX. In conjunction with its investment, Sino Global—in the words of its managing

   partner Matthew Graham—did “a hell of a lot of due diligence” and eventually embarked on a

   “deep relationship” with FTX. Sino Global’s reputation, due diligence representations, ultimate

   investment, and ongoing relationship lent an air of legitimacy to FTX, as Mr. Graham recognized

   following one round of funding: “Today, SBF is no longer merely a titan of crypto. He’s now a




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   titan of business . . . .” As FTX’s value skyrocketed, Sino Global stood to make an enormous return

   on its investment, but it benefitted from its ties to FTX in more direct ways: Sino Global accepted

   a $60 million investment from Alameda and yet another investment of an undisclosed amount

   from SBF, each of which, upon information and belief, having been comprised of Class Member

   funds. It further partnered with FTX and Alameda as co-general partners in the $200 million Liquid

   Value I fund, Sino Global’s first ever outside venture fund. Together, Temasek, Softbank, and

   Sino Global are referred to as the “Multinational VC Defendants.”

          295.    Defendant Fenwick was FTX’s principal outside law firm. Headquartered in

   Mountain View, California, Fenwick was ideally located in the heart of Silicon Valley, near to

   FTX’s California operations. Fenwick provided services to the FTX Group entities that went well

   beyond those a law firm should and usually does provide. When asked by FTX Group executives

   for counsel, Fenwick lawyers were eager to craft not only creative, but illegal strategies. Fenwick

   helped set up the shadowy entities through which Bankman-Fried and the FTX Insiders operated

   a fraud, structured acquisitions by the FTX US in ways to circumvent regulatory scrutiny, advised

   on FTX US’s regulatory dodge, more generally, and supplied personnel necessary to execute on

   the strategies that they proposed. In this manner, Fenwick conspired with and aided and abetted

   the fraud, conversion, negligence, and respective breaches of fiduciary duties of the FTX entities.

          296.    Defendants Deltec, Moonstone, and Jean Chalopin (together, the Bank Defendants)

   primarily assisted SBF in trafficking Class Member funds across the U.S. border. Defendant

   Deltec, at Mr. Chalopin’s direction, provided one-of-a-kind digital asset banking services to FTX

   and, upon information and belief, served as a primary vehicle through which SBF routed Class

   Member funds offshore, beyond the reach of U.S. regulators and law enforcement. Defendant

   Moonstone, also at the direction of Mr. Chalopin, provided complementary services, assisting SBF




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   in funneling more than $50 million in Class Member funds to entities he separately owned through

   accounts at the bank.

           297.    Promoters are Defendants who agreed to serve as brand ambassadors, advertised

   and promoted the sale of the FTX Platform, YBAs and/or FTT, and failed to disclose in any of

   their marketing campaigns or advertisements that they were paid millions of dollars by FTX. All

   in clear violation of SEC, FTC, and various federal and state regulations.

           298.    Digital Creators are YouTube and social media financial influencers who promoted

   FTX as financial advice and promoted the sale of the FTX Platform, YBAs and/or FTT, to their

   millions of followersThe Defendants’ Roles in the Fraud

           299.    Multinational VCs Defendants contributed both to the perpetration of the fraud, and

   to the sale of unregistered securities, in a vital way.

           300.    Multinational VC Defendants are some of the largest venture capitalists in the

   world and wield enormous influence in spurring the development of emerging industries, like

   crypto, and persuading others to invest in the portfolio companies that they advise and nurture.

   From these positions of power, Multinational VC Defendants provided critical funding for SBF’s

   fraudulent scheme, pumping billions into FTX’s coffers, without which SBF could not have

   launched the venture nor so extensively expanded its reach through aggressive promotional and

   marketing campaigns legitimizing its brand to the public, as FTX itself acknowledged in its “End

   of Year 2021” blog post:

               2021 was a transformative year for FTX. Going into it we were valued at $1bn
               with no VC investment, had yet to hit the million-user mark, and had never
               done any marketing or a single advertisement; all of which is somewhat
               understandable for a company that hadn’t even existed for 2 years.

               As we move into 2022, we’re valued at $25bn after raising the largest round in
               the history of crypto from some of the best firms in the world. In addition, we
               not only cruised past the 1mm user mark, but also 2mm, 3mm, 4mm, and 5mm
               users; have partnered with many of the biggest names in sports and launched an


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              ad campaign resulting in FTX being named one of the top 10 marketers of the
              year; became the first crypto-native firm to obtain licensing for crypto
              derivatives; and we had our second birthday!

              We are extremely thankful for the support we have received from the crypto
              community and our partners which has allowed us to grow to where we are
              today.

   A key component of these promotional efforts was the legitimacy lent by the Multinational VC

   Defendants as well-known and respected venture capital and private equity firms.               The

   Multinational VC Defendants not only invested in FTX knowing that these funds would be spent

   on FTX’s and SBF’s promotional activities described above, which were all false and misleading,

   the Multinational VC Defendants often directly touted the purported safety, trustworthiness, and

   favorable risk profile of the FTX Platforms.

          301.    The Multinational VC Defendants’ investments were not passive investments, and

   their assistance went much further than underwriting FTX’s launch, in part because FTX was

   soliciting more than just capital from them. As SBF explained at a crypto conference in 2021, FTX

   was looking for true “partners”:

              [Y]ou know we could buy tens of millions of Facebook ads – and I don’t know
              maybe we should at some point, we’ll hire a team to look into to whether that
              that is worth doing – but that’s not a thing which is going to really make it the
              same sort of impact on people, anyone can sort of you know potentially do that,
              and instead what we’ve really been looking for like who are partners that
              we’re really excited about and are really excited about us, and you know, who
              can help represent us and who we can really work with in a way to build
              something kind of stronger and more powerful than what we had.

          302.    FTX found those partners in the Multinational VC Defendants, who supplied FTX

   with hands-on support, partnership, guidance, infrastructure, networks, endorsements, promotion,

   publicity, cover and other assistance vital to the fraud. Each Multinational VC Defendant worked

   closely with FTX in providing these services and, in turn, driving up FTX’s valuation to the




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   Multinational VC Defendants’ direct benefit, all by way of FTX’s fraudulent scheme and

   expanding SBF’s reach to victims.

          a. The Multinational VC Defendants pumped billions of dollars into FTX, and FTX
          returned the favor

          303.     In mid-2021, FTX raised more than $1 billion across to rounds of fundraising from

   a handful of VC firms, including the Multinational VC Defendants, and Temasek’s, Softbank’s,

   and Sino Global’s names were advertised prominently in FTX’s press releases announcing the

   closings of each fundraiser. It was widely reported at this time that FTX was preparing itself to

   go public, and the endorsements of the Multinational VC Defendants added weight to this

   narrative.

          304.     On July 20, 2021, Defendants Temasek, SoftBank, and Sino Global, along with

   other venture capitalists, put up nearly $1 billion in Series B funding for FTX Trading. SBF

   underscored the tremendous value that the Multinational VC Defendants brought to FTX,

   remarking that through this round of fundraising, “we’ve formed a hugely valuable set of partners”

   in these Multinational VC Defendants. SBF explained after the Series B funding closed that “[t]he

   primary goal of the raise was to [find] strategic allies who can help FTX grow its brand.”

          305.     Shortly thereafter, on October 21, 2021, Defendant Temasek, along with other

   venture capitalists, put up $420.69 million in FTX Trading’s Series B-1 funding. In the press

   release announcing the fundraising, SBF repeated a common refrain, underscoring FTX’s safety:

                We are focused on establishing FTX as a trustworthy and innovative exchange
                by regularly engaging regulators around the world, and constantly seeking
                opportunities to enhance our offerings to digital asset investors. For this round,
                we capitalized on those strides and were able to partner with investors that
                prioritize positioning FTX as the world’s most transparent and compliant
                cryptocurrency exchange.

          306.     FTX reportedly referred to the Series B-1 fundraising as a “meme-round,”

   referencing the allusions to oral sex and marijuana embedded within the amount raised. This was


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   one of many juvenile references made by FTX regarding core components of its business model.

   For example, FTX advertised to investors that one of the products unique to the exchange was its

   “Shitcoin Index Futures,” a “funny named” futures product built on “shit” cryptocurrencies.

          307.    Though FTX Trading claimed that the Series B-1 funding would help it “make

   strategic investments designed to grow the business and expand [its] regulatory coverage,” in

   October 2021, during the height of its Series B-1 fundraising, FTX instead diverted $300 million—

   equivalent to nearly 75% of the Series B-1 funding—to SBF in exchange for shares he owned in

   the company. Pay days of this kind are unusual and indicative that something is amiss. As industry

   experts explain:

              Generally, venture investors frown on large sales of stock by founders before a
              company goes public, in part because they dislike the idea of a founder who
              puts little or no money into a business getting rich before investors can cash
              out. . . . It shows the company’s founder thinks there’s a better place to invest.
              . . . Anytime you see a founder selling shares in a secondary offering, you have
              to really ask them pretty tough questions.

   To be sure, not only was SBF’s cash out “large by startup-world standards,” it also directly

   contradicted FTX Trading’s purported use for the funds. Moreover, it was money that could

   have—and should have—been paid to satisfy the claims of SBF’s victims.

          308.    Unphased by SBF’s $300 million payday, the Multinational VC Defendants put up

   more money. On January 31, 2022, FTX Trading announced that it had raised $400 million in

   Series C Funding from investors, many of whom had participated in its Series B and B-1 rounds

   of fundraising, including Temasek and SoftBank, “demonstrating [their] belief in the Company’s

   vision and their continued support of FTX’s explosive growth.”

          309.    Just days earlier, on January 26, 2022, FTX US closed on its $400 million Series A

   fundraising, securing yet more money from certain Multinational VC Defendants, including

   Temasek and SoftBank. In publicizing the deal, Brett Harrison, President of FTX US, affirmed



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   FTX’s commitment to regulatory compliance, stating that “[w]e’re excited to continue working

   cooperatively with [lawmakers and regulators], and feel confident that FTX US will emerge as the

   leading US-regulated crypto spot and derivatives exchange.”

          310.   In announcing each round of funding, the Multinational VC Defendants publicly

   endorsed FTX and its founder. After fundraising closed, the Multinational VC Defendants

   continued to valorize SBF and promote FTX to the public, and they did so because the

   Multinational VC Defendants would directly benefit from the rise in popularity of FTX and the

   polishing of its brand. As another VC Defendant put it, crypto was once like the “wild west” and

   “over the years, decades and centuries, what has mattered the most is what is the value of the

   brand that people trust.” (emphasis added). Comparing banks with identical balance sheets,

   same assets, same liabilities, same net worth, more or less same profitability, this VC Defendant

   explained that “one bank could be worth three times more than the other, why? Because of the

   brand. They trust the brand more.” (emphasis added).

          311.   In total, the Multinational VC Defendants, along with other venture capitalists put

   up a combined $2 billion to expand FTX’s reach to SBF’s victims. SBF returned the favor in kind,

   investing in his VC-backers, as they had in him. Sino Global, for example, took in $60 million

   from Alameda and an amount still unknown from SBF, himself. Upon information and belief,

   some or all of these investments were paid for with, or collateralized by, Class Member funds.

          312.   In garnering investments into their own funds, the Multinational VC Defendants

   worked closely with SBF. For example, in 2021, Sino Global partnered with FTX as a co-general

   partner and “anchor” investor in building Sino Global’s $200 million Liquid Value I fund.




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   This was the first time that Sino Global had ever accepted outside capital for its funds, and the first

   time that FTX had “allocated capital to an outside VC manager.”

          313.    SBF lauded the partnership, telling the press at the time that “We [FTX] are excited

   to support the launch of Sino Global Capital’s institutional fund. From the very beginning, [CEO]

   Matthew [Graham] and the Sino Global Capital team supported the FTX vision and then worked

   with us to make it a reality.”

          314.    SEC filings reveal that Alameda, too, invested in the Liquid Value I fund. Indeed,

   Sino Global lists SBF and Alameda as general partners and co-owners of the Liquid Value I fund

   in filings with the SEC. Through that partnership, Sino Global’s managing partner Matthew

   Graham and SBF worked hand-in-hand to pitch the fund, and touted FTX—including its growing

   brand recognition through “high profile sponsorships of Miami Heat Areana and star athletes,

   including Tom Brady, Steph Curry and Lewis Hamilton, as well as funding from Defendant

   SoftBank and other VC firms—as “Key Advantages” to the fund.




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          b. The Multinational VC Defendant gained awareness of SBF’s fraud in the course of
          investing in, advising, and promoting FTX.

          315.    The Multinational VC Defendants had knowledge of FTX’s misconduct, because,

   in addition to their close ties to SBF and his affiliates, prior to investing, each Multinational VC

   Defendant undertook a diligence process to evaluate FTX’s offerings and understand its business

   model and operations. The Multinational VC Defendants were obligated to conduct this diligence,

   as fiduciaries to their investors. Diligence of this kind occurs in multiple stages, and industry

   standards require a review of the target’s financial statements and projections, identification of the

   target’s basic corporate governance structures, including formation documents and information

   concerning the target’s directors, officers and internal controls, an understanding of the target’s

   business model (as confirmed by the target’s financial statements), in addition to information

   concerning related party transactions, intercompany agreements, loans, debt instruments and other

   credit agreements. Venture capital firms also typically conduct an evaluation of the founders’ track

   records and relevant experience. Venture capital firms conduct diligence for a living, and the

   Multinational VC Defendants are the largest and foremost of those firms. Firms of such stature




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   undertake state-of-the-art diligence on the investments they make, and the Multinational VC

   Defendants conducted the same top-notch, rigorous diligence on FTX.

          316.    Temasek, for example, reports that it conducted eight months of diligence,

   including “significant regulatory and licensing due diligence on the business model of FTX,

   particularly on financial regulations, licensing, anti-money laundering (AML) / Know Your

   Customer (KYC) and sanctions across multiple jurisdictions[,] a review of [FTX’s] audited

   financial statements and a cybersecurity review.”

          317.    Moreover, Temasek further reports that “[t]hroughout the multiple rounds of due

   diligence,” Temasek specifically “enquired about the relationship, preferential treatment, and

   separation between Alameda and FTX,” and “gathered qualitative feedback on FTX and [its]

   management team based on interviews with people familiar with the company, including

   employees, industry participants, and other investors.” Temasek reports that these meetings

   included face-to-face contact with SBF, himself.

          318.    Temasek’s diligence was ongoing after fundraising closed, and “[p]ost investment,

   Temasek continued to engage management on business strategy and monitor performance.” More

   specifically, Temasek explained in a series of FAQs regarding FTX’s collapse posted to its

   website:

              As an active investor, we engage the companies in our portfolio and conduct
              regular internal reviews of our investments. For each investment, the relevant
              investment team monitors the performance of the company and engages its
              management team. We have a formal review each quarter to assess all
              investments individually, and therefore, the performance of our portfolio.

          319.    SoftBank conducted thorough due diligence, too. At the time it invested in FTX,

   SoftBank Group reported to its investors that it conducted the following diligence on its

   investments:




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               In the investment decision-making process, SoftBank seeks to appropriately
               estimate the investment target’s equity value and to assess risks related to the
               target’s businesses, finances, corporate governance, compliance, and internal
               controls, by conducting due diligence on the target’s business, technology,
               business model, market size, business plan, competitive environment, financial
               condition, legal compliance, etc. For this purpose, SoftBank ensures the
               involvement of, for example, outside financial, legal, and tax advisors, in
               addition to the relevant internal departments. In addition, an objective review
               of the adequacy of the due diligence findings is carried out by a dedicated
               review department.

   Upon information and belief, SoftBank Group subjected FTX to this same rigorous diligence

   process before investing hundreds of millions of dollars in FTX.

          320.    Moreover, SoftBank knew that FTX’s underlying business—at least it represented

   to the public—was fraught with risk and amenable to manipulation. For that reason, SoftBank

   would not, itself, invest in crypto currencies: “We have stayed away from coins,” Rajeev Misra

   told delegates at an October 2021 investment forum in India, “We can’t quantify it, we can’t put a

   mathematical model to it.” Presumably, with that understanding, SoftBank conducted heightened

   diligence on FTX, whose primary business was, at least purportedly, to operate as a cryptocurrency

   exchange.

          321.    Like the other VC Defendants, Multinational VC Defendants included, Sino Global

   also engages in “quality due diligence” before partnering with the companies in which it invests,

   including FTX. Managing partner Matthew Graham reports that Sino Global “do[es] a hell of a lot

   of due diligence. People know that if [Sino Global is] going to invest in them, I’m definitely going

   to be asking around about them. We’ll ask people they used to work with what it’s like being on

   the same team with them. . . . I’ve got to get to know you. It’s like we’re buying a vacation house

   together, we’re not just going for a quick dinner.” Upon information and belief, Sino Global was

   as rigorous in conducting diligence on FTX and indeed publicly reported that, when it comes to

   investments through its Liquid Value Fund I, including FTX, Sino Global would be “using our



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   same approach of betting on them and then working with the and supporting entrepreneurs that

   have similar values of high-trust and long-term approach to the ecosystem.”

          322.    Moreover, Sino Global would have undertaken some diligence of SBF, FTX, and

   Alameda, because of the FTX Group’s investments and participation in Sino Global’s Liquid

   Value Fund 1. As is standard in the industry, private funds employ “Know Your Customer/Client”

   (KYC) and anti-money laundering programs to detect fraud or other illicit activity among the

   fund’s investors. This includes basic diligence to identify the risks associated with any money

   flowing into the fund, related party transactions, executive overlap and relationships, as well as

   monitoring thereafter to identify suspicious activity among its investors.

          323.    To be sure, the slide deck that Sino Global prepared to pitch its Liquid Value Fund

   1—the fund for which FTX served as Sino Global’s co-general partner and anchor investor—

   highlight the knowledge that Sino Global acquired in the course of its relationship with SBF and

   his companies. For example, the slide deck demonstrates that Sino Global knew that SBF owned

   and controlled both FTX and Alameda:




   And the slide decks demonstrate that Sino Global knew what each of FTX Trading, FTX.US, and

   Alameda purported to do:


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   From employing in-depth diligence standards in the industry, the Multinational VC Defendants

   knew that SBF was misappropriating Class Member funds, contrary to FTX’s public

   representations and by way of the omissions set forth in this complaint. In particular, the

   Multinational VC Defendants could see that (1) FTX was closely interconnected with Alameda,

   though SBF separately owned each entity, and SBF engaged in self-dealing by way of FTX and

   Alameda; (2) FTX granted Alameda exemptions and other special treatment that allowed Alameda

   to engage in margin trading and other risky activity on the FTX platform, exposing Class Members

   to Alameda’s risk of loss; (3) FTX’s projections were unsubstantiated and its financial statements,

   nothing more than “homespun excel files;” and (4) FTX lacked critical internal controls, such as

   separate accounts for Class Member funds, an independent board of directors, or even a chief

   financial officer.

           324.    These issues were readily apparent to other investors solicited by FTX. For

   example, a November 15, 2022, article published by Insider, describes how Bankman-Fried

   pitched investing in FTX to CEO and founder of venture capital company Social Capital, Chamath

   Palihapitiya, during the same investment round in which many of the Multinational VC Defendants

   participated. But “[a]fter a Zoom meeting with Bankman-Fried, Palihapitiya said [Bankman-Fried]


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   didn’t ‘make much sense,’ so his team at Social Capital worked on a two-page deck of

   recommendations for next steps for FTX if the investment talks were to proceed.” Social Capital

   made three recommendations to FTX: (1) form a board; (2) create a dual-class stock; and

   (3) provide investors with “‘some reps and warranties around affiliated transactions and related

   party transactions’” and, in doing so, quickly identified many of the glaring deficiencies in

   governance and controls that Mr. Ray uncovered days after FTX’s bankruptcy. Palihapitiya

   explained that after making these recommendations “‘[t]he person that worked there called us back

   and literally, I’m not kidding you, said, ‘go fuck yourself.’” The Multinational VCs profess to have

   undertaken even more rigorous diligence of FTX and from that diligence would have seen the

   same issues that immediately gave Social Capital pause.

          325.    The questionable entanglement of FTX and Alameda was likewise readily apparent

   to those investors considering a stake in FTX. Investor presentations (now available to the public

   for the first time, but available to the Multinational VC Defendants years ago)highlighted financial

   statements in which “some of the same assets appeared simultaneously on the balance sheets of

   FTX and of [SBF’s] trading firm, Alameda Research[,] despite claims by FTX that Alameda

   operated independently.” Specifically, for example, “each time FTX was seeking to raise funding,

   [SBF] sent a spreadsheet to potential investors displaying items like revenue, profit and losses,

   daily users, and expenses for FTX,” and these spreadsheets showed overlap between FTX and

   Alameda. Other investor materials note that “FTX is a spinout of Alameda Research” and that one

   of the risk factors presented by FTX was its relationship with Alameda, and specifically that FTX

   and Alameda would engage in self-dealing by “[t]rading on their own exchange,” elaborating that:

              An exchange needs a market maker to get it off the ground and Alameda will
              be the initial market [maker] for FTX itself. The team intends to bring on more
              market makers over time, however this is a major risk. We have talked to other
              quantitative hedge funds who are hesitant to trade on FTX for this reason”



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          326.    The incestuous relationship between FTX and Alameda was certainly apparent to

   other investors conducting diligence on the companies. Alex Pack, a venture capitalist focused on

   cryptocurrency investments, reported after FTX’s collapse that in December 2018, he considered

   investing in Alameda and, after a month-long due diligence period (i.e., 1/8th of the diligence

   conducted by Temasek), discovered that “Alameda and FTX were tied at the hip,” and that SBF

   planned to use Mr. Pack’s investment in Alameda to fund the operations of FTX. For those reasons,

   Mr. Pack declined to invest in SBF’s enterprise. After conducting the rigorous diligence that the

   Multinational VC Defendants claim to have completed on FTX, the Multinational VC Defendants

   would have likewise identified the concerning overlap between FTX and Alameda, just as Mr.

   Pack so quickly discerned.

          327.    In addition to exposing the overlap between Alameda and FTX, the pitchbooks that

   FTX used to solicit funds from the Multinational VC Defendants reportedly featured projections

   that FTX could not substantiate with viable assumptions or calculations. For example, in financials

   that FTX provided to investors, FTX’s projected revenue figures for fiscal years 2021 and 2022

   did not reconcile with projected volumes or fees. More generally, these financials were not of the

   caliber expected of a $32 billion multinational corporation and instead, where “homespun Excel

   files,” which were “very unorganized,” at times “inaccurate” and “confusing.” In piecing FTX

   together after the fraud’s collapse, Mr. Ray quickly discovered that FTX used Quickbooks for its

   financials, which he found obviously incongruous: “[A] multi-billion-dollar company using

   Quickbooks. Nothing against Quickbooks, very nice tool, just not for a multi-billion-dollar

   company.”




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          328.    Even FTX’s audited financials, which Temasek claims to have reviewed and which

   would have been standard for Softbank and Sino Global to review, immediately highlight

   suspicious activity at FTX.

          329.    First, the audited financials for FTX Trading and FTX US were commissioned by

   two different audit firms: Defendant Prager Metis LLP signed the audit report for FTX Trading

   and Defendant Armanino LLP signed the audit report for FTX US. As Coindesk reported,

   “[A]nyone receiving these reports should have seen is that there were two different audit firms

   producing them.     Why hire two different firms rather than one to produce an opinion on

   consolidated results?” And then further both Prager Metis and Armanino had “a poor recent track

   record with the PCAOB.”

          330.    Moreover, neither the Armanino nor the Prager Metis audit reports for 2021

   provides an opinion on internal controls by FTX Trading or FTX US over accounting and financial

   reporting. According to Coindesk “the year-end 2021 financial statements should have screamed

   to any auditor or reader of the reports: There were no controls.”

          331.    Further, Coindesk reported “despite a combination of enormous siphoning off of

   firm assets by related parties and favorable tax planning, neither FTX Trading nor FTX US paid

   any federal income taxes, although they both appeared to be profitable.”

          332.    Lastly, CoinDesk reported, the audited financials contained a “number of complex,

   roundtrip and utterly confounding related-party transactions documented in just these two years.

   The related-party transactions at FTX Trading are so numerous that it is difficult to know where

   to begin to analyze them.” CoinDesk went on to list several key issues it notices, including

   numerous related-party transactions, the use of FTT on balance sheets, FTT being used as currency

   for acquisitions, and questionable loans to related parties.




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          333.    Additionally, basic due diligence, including a cursory review of FTX’s balance

   sheets, would have shown that those balance sheets were largely backed by FTT, a cryptocurrency

   that FTX contrived from thin air and issued to Alameda at no cost. FTX represented that, as “the

   backbone of the FTX ecosystem,” FTT was widely distributed, but contrary to that representation,

   most FTT tokens issued were held by FTX or Alameda. As of June 30, 2022, Alameda’s largest

   assets were tied to FTT, including “unlocked FTT” totaling $3.66 billion, and “FTT collateral”

   totaling $2.16 billion. Using customer funds and to the benefit of Alameda, SBF and his cohorts

   manipulated the value of FTT by implementing a “rolling program of buying back and burning

   [FTT] tokens,” a process which consumed a third of FTX’s revenue.

          334.    Finally, with even the most basic diligence the Multinational VC Defendants would

   have uncovered that FTX was commingling and misappropriating Class Member assets in

   violation of FTX’s fiduciary duty to its depositors, Class Members included. As sophisticated

   players in the crypto industry, the Multinational VC Defendants would have appreciated that FTX

   held customer deposits as a custodian in trust. To be sure, a quick review of FTX’s terms of service

   would have confirmed the custodial nature of FTX’s role. FTX US represented to customers in its

   terms of service that:

              a. “[a]ll cryptocurrency or dollars (or other supported currencies) that are held
              in your account are held by FTX.US for your benefit”.

              a. “[t]title to cryptocurrency represented in your FTX.US Account shall at all
                 times remain with you and shall not transfer to FTX.US”; and

              b. that “FTX.US does not represent or treat assets in your FTX.US Account
                 as belonging to FTX.US.”

          335.    Similarly, FTX Trading represented to its customers in its terms of service that:

              a. “[t]itle to your Digital Assets shall at all times remain with you and shall not
                  transfer to FTX Trading”.

              b. “[n]one of the Digital Assets in your Account are the property of, or shall or


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               may be loaned to, FTX Trading”; and

               c. “FTX Trading does not represent or treat Digital Assets in User’s Accounts
                   as belonging to FTX Trading.”

   Upon conducting the diligence outlined above, the Multinational VC Defendants could see that

   FTX was violating these terms of service in breach of FTX”s fiduciary obligation to hold those

   assets as a custodian in trust.

           336.    In short, the Multinational VC Defendants could see, years before Mr. Ray could

   see (and was able to uncover in a matter of days), that the information presented in FTX’s financial

   statements presented “substantial concerns;” that FTX lacked fundamental internal controls,

   including a chief financial officer or a board of independent directors; that FTX did not segregate

   Class Member funds from operations; that FTX was hemorrhaging money to Alameda and other

   of affiliates of SBF or entities under his control; and that control of FTX was concentrated in the

   hands of unsophisticated twenty-somethings who played League of Legends throughout meetings

   at which billions of dollars in venture capital were at stake. None of this material information was

   disclosed to Class Members, due primarily to the public image fostered by the Multinational VC

   Defendants, and SBF’s fraud relied on the Multinational VC Defendants assistance in keeping the

   fraud in motion, and these critical omissions concealed.

           337.    In fact, at least one VC investor (perhaps even one of the Multinational VC

   Defendants) did see, years before Mr. Ray could see, that any investment in FTX should be

   declined. In a story following FTX’s collapse, the Financial Times quoted one “top investor” of

   FTX, on the basis of anonymity, explaining that he advised his firm against the investment,

   following the firm’s diligence, but the firm invested anyway:

               We were seduced,” said a top investor that piled large sums into FTX.… The
               investor said he had some reservations during initial calls with Bankman-Fried,
               including the way the entrepreneur “comported himself” and a sense that he
               believed everyone else in the financial world “were idiots”. “I wouldn’t have


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              touched him,” he added, but it was not his ultimate decision [to go ahead and
              invest]. (emphasis added).

          338.    Regulatory action taken in the wake of FTX’s collapse further confirm that the most

   basic diligence—available to the Multinational VC Defendants, but not to Class Members—would

   have revealed the FTX fraud. On December 13, 2022, after FTX filed for bankruptcy, CFTC Chair

   Rostin Benham lambasted the fact that “FTX customer assets were routinely accepted and held by

   Alameda and commingled with Alameda’s funds,” after the CFTC filed its own complaint related

   to the collapse of FTX, stating in pertinent part as follows:

              FTX held itself out as ‘the safest and easiest way to buy and sell crypto’
              and represented that customers’ assets, including both fiat and digital
              assets including bitcoin and ether, were held in ‘custody’ by FTX and
              segregated from FTX’s own assets. To the contrary, FTX customer assets
              were routinely accepted and held by Alameda and commingled with
              Alameda’s funds. Alameda, Bankman-Fried, and others also appropriated
              customer funds for their own operations and activities, including luxury real
              estate purchases, political contributions, and high-risk, illiquid digital asset
              industry investments. The complaint further alleges that, at Bankman-Fried’s
              direction, FTX employees created features in the FTX code that favored
              Alameda and allowed it to execute transactions even when it did not have
              sufficient funds available, including an ‘allow negative flag’ and effectively
              limitless line of credit that allowed Alameda to withdraw billions of dollars in
              customer assets from FTX. These features were not disclosed to the public.
              (emphasis added).

          c.    The Multinational VC Defendants provided critical assistance in furtherance of
          the FTX fraud, despite knowing that SBF was misappropriating Class Member funds.

          339.    Still, the Multinational VC Defendants jumped at the opportunity to pour hundreds

   of millions each into FTX’s repositories, without which FTX could not have gotten off the ground,

   much less enjoyed such expansive reach. Reportedly, FTX raised:

      x   $275 million from Defendant Temasek;

      x   $100 million from Defendant SoftBank; and

      x   an amount in the “mid-seven figures” from Sino Global.




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          340.    This funding, along with funding from other venture capitalists, was critical to

   FTX’s growth. FTX needed money, and it needed money from the Multinational VC Defendants,

   specifically, for reasons laid bare by another venture capitalist in a glowing profile of SBF:

              FTX did need money, after all. And it needed that money from credible
              sources so it could continue to distinguish itself from the bottom-feeders
              who came to crypto to fleece the suckers.

   Without the credibility and influence attached to the enormous sums of money that the

   Multinational VC Defendants put into FTX, SBF could never have crafted the veneer of

   legitimacy, trustworthiness, and safety critical to FTX’s meteoric growth.

          341.    To that end, each Multinational VC Defendant widely, vociferously, and

   repeatedly, promoted the legitimacy of FTX and endorsed SBF’s integrity and character. Sino

   Global, for example, heaped on the praise for FTX and its founder. Upon closing FTX Trading’s

   Series B funding, Sino Global managing partner Matthew Graham tweeted:




          342.    Temasek, too, publicly promoted its investments and partnership with FTX and

   LedgerX (d/b/a FTX US Derivatives), which was always based in Miami:




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             343.   Endorsements from the Multinational VC Defendants carry monumental weight, as

   the Multinational VC Defendants were considered “powerful and well-known” by members of the

   public.




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          344.    Temasek, for example, is Singapore’s state-owned investment company with a net

   portfolio of $287 billion and is one of the most reputable investment funds in the world. In a

   podcast hosted by McKinsey & Company, the high-powered consulting group described Temasek

   as   “one of the world’s leading investment firms dedicated to bringing sustainability and

   accessibility of new technologies to the entire world.” At the time of its investments in FTX, the

   Financial Times described Temasek as one of FTX’s “blue chip investors” who “prioritise[s]

   positioning FTX as the world’s most transparent and compliant cryptocurrency exchange” and

   whose investment “shows the increasing appetite from traditional investors to back crypto

   companies despite intensifying regulatory scrutiny into the sector.” FTX posted a link to the story




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   on its website, channeling potential customers to read the story reporting Temasek’s investment in

   FTX:




          345.    On information and belief, Temasek and its executives would frequently meet with

   SBF and other high-level personnel to discuss Temasek’s investment in FTX and their partnership.

   Indeed, Temasek admitted in statements after FTX’s collapse that Temasek had numerous

   “interactions” with SBF and others in the FTX ecosphere.

          346.    SoftBank, for its part, is “well-known for being in the spotlight,” and investments

   by the SoftBank Vision Fund make headlines. As one veteran of the tech start-up industry

   observed:

               SoftBank is a little bit like working with the Kardashians. They’re famous for
               being famous….They’re in the news all the time, even for minor stuff. An
               investment goes up, they’re in the news. An investment goes down, they’re in



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              the news. They get a disproportionate share of attention, which I think they
              love, to be frank. (emphasis added).

   Funding from SoftBank—a so-called “unicorn company [i.e., start-ups valued at $1 billion or

   more] whisperer”--provides more than notoriety. “SoftBank's backing can elevate the media

   profiles of startups and help pave the way for expansion abroad, particularly in Asia where

   SoftBank has its roots.” As the CEO of one of SoftBank’s portfolio companies recognized, “It’s

   one thing to be a unicorn, it’s another thing to be backed by a firm with the global footprint and

   wherewithal of SoftBank…. On a global basis, it’s a major credibility building moment for a

   company [starting up].”

          347.    Sino Global, too, recognizes the influence that its reputation carries, and the impact

   endorsements by Sino Global can have on any potential investment; in fact, Sino Global touts that

   influence in pitching fund investors:




   Sino Global is right that its reputation was important to legitimizing FTX not only to customers,

   but to other investors, whose investments FTX would need to continue its fraudulent scheme.

   Anthony Scaramucci, the founder and managing partner of Defendant Skybridge, claims that, at

   the time Skybridge invested in FTX (which investment occurred after the investments by


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   Multinational VC Defendants), it relied on the endorsements by other VC firms, such as the

   Multinational VC Defendants, in deciding to invest in FTX:

              I guess I was naïve to it because of what we saw. We saw a very pristine data
              room. We saw audited financials. We saw, and again I won’t mention the
              names, but there were 25 other luminary venture capital investors, hedge
              fund billionaires, all of which were investors in Sam’s company –
              remember he was giving me the money.

          348.   In this way, the Multinational VC Defendants’ commendations and endorsements

   were critical to the perpetuation of SBF’s fraud. In summarizing FTX’s success to The New York

   Times, FTX’s president, Brett Harrison, explained:

              We’re the newcomers to the [cryptocurrency] scene…The company needs to
              familiarize consumers with its technology, customer service and offerings,
              while competing with incumbents like Coinbase Global Inc. or Kraken….We
              know that we had to embark on some kind of mass branding, advertising,
              sponsorship type work in order to be able to do that.

          349.   Multinational VC Defendants readily stepped in, lending their credibility to launder

   FTX’s reputation. FTX flouted its “End of Year 2021” blog post, FTX flouted its fundraising from

   “notable investors” and “illustrious partners” “like Temasek [and] Softbank,” and in every press

   release following the Series B, B-1 and C fundraising rounds for FTX Trading and the Series A

   fundraising round for FTX US, FTX highlighted the participation of, and featured statements

   endorsing FTX by, the Multinational VC Defendants:




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         350.   Regulators have taken note of the assistance provided to the FTX fraud by venture

   capitalists, including Multinational VC Defendants, in pumping FTX with cash and repeatedly

   endorsing the exchange and its founder. In a keynote address to The Warton School and the

   University of Pennsylvania Carey Law School on January 18, 2023, Christy Goldsmith Romero,

   Commissioner of the CFTC, remarked:

             FTX had financial support for its campaign to build trust. Some venture capital
             firms (and other investors) knowingly funded this trust campaign. . . . FTX
             appears to have used [venture capital firms, for example,] as a credibility


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              and trust enhancer, and it used Sequoia’s money to embark on a campaign
              to gain public trust and distinguish itself as the most trusted brand in
              crypto.….

              However, there are serious questions and allegations about whether this public
              relations “war chest” was funded not only by venture capital money but also
              customer property. If those allegations prove to be true, this could be one of the
              most significant breaches of trust in financial history.

              The multi-dimensional public relations campaign was meant to build the
              public’s trust in FTX. And I have not discussed all elements of that campaign.
              There were rumored efforts to influence charities and policy advocacy groups.
              There were efforts relating to FTX’s extensive legal and political spending, and
              even an alleged investment in a crypto news site. All of this appears to be part
              of a branding campaign designed to make FTX appear trustworthy.

          351.    In short, FTX told customers that what set it apart was its safety and its

   trustworthiness, and the Multinational VC Defendants hawked these purported features of the

   exchange again and again, despite knowing that what they were telling the public about FTX and

   about SBF was unsubstantiated. The Multinational VC Defendants succeeded in generating the

   illusion of FTX’s credibility as a legitimate exchange. As commentators in the industry describe,

   “[w]ith the help of a marquee investor roster, SBF was able to build FTX into a massively popular

   exchange…and successfully promote himself as one of the most trusted founders in all of crypto.”

          352.    The Multinational VC Defendants’ enthusiastic endorsements of FTX paid off.

   Between the Series B and B-1 fundraising rounds, FTX’s user base increased 48%, its average

   daily trade volume surpassed $14 billion, and its valuation jumped from $18 billion to $25 billion.

   At the close of the Series C fundraising round, FTX’s user base grew another 60% and its valuation

   ballooned to $32 billion. The Multinational VC Defendants who put up money in the Series B

   round therefore saw the value of their stakes in FTX grow by 40% in the three months intervening

   the Series B and Series B-1 fundraising rounds and nearly 90% in the six months intervening the

   Series B and Series C rounds.




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          353.    The Multinational VC Defendants’ assistance in furtherance of the FTX fraud

   extended beyond their fundraising for and promotion of FTX, in line with SBF’s “two main goals”

   in fundraising from the Multinational VC Defendants. In addition to raising necessary capital, SBF

   also sought to “form[] a lot of partnerships with people who are really excited about and who we

   think can help grow our business and make a lot of connections for us.” These “partnerships” were

   critical to FTX’s rise, as SBF himself recognized, telling the Financial Times on July 4, 2021, just

   prior to the close of FTX’s $900 million Series B: “The biggest thing is not the funds themselves,”

   he said, “[t]he biggest thing is the partnerships.” Again, the Multinational VC Defendants pulled

   through.

          354.    Each Multinational VC Defendant provided to FTX a self-professed “hands-on”

   investment strategy, which involved “partnering” with FTX and offering it guidance, infrastructure

   and expertise. For example, Defendant Sino Global is led by managing partner Matthew Graham,

   a veritable “kingmaker” in the digital assets space, whom “[m]any founders … swear by” and

   whose “vision and drive … helps companies and products grow” brings “same long-term, roll-

   up-your-sleeves, and deep relationship approach that [Sino Global] bring[s] to portfolio companies

   like FTX.” Sino Global worked particularly close with FTX, and the two shared “a great working

   relationship” in part because FTX’s “processes, values and agency aligned with [Sino Global’s].”

   Indeed, “From the very beginning, Matthew and the Sino Global Capital team supported the FTX

   vision and then worked with us to help make it a reality.” In turn, from its partnership with FTX,

   Sino Global reports that it derived “enormous strategic value.”

          355.    Similarly, SoftBank explains that, in investing in startups like FTX, its “role is to

   provide the operational expertise, global network, and patient capital” and recognizes that “[t]here

   are few organizations with the vision and resources to back difficult and ambitious global




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   projects.” SoftBank Group is careful to note that it is more than a passive investor, explaining that

   “[a]s important as capital is, [SoftBank] enables something even more powerful[:] building a

   unique network of portfolio companies that will collaborate and learn from each other to unlock

   further opportunities.” Moreover, once SoftBank invests in a company, SoftBank has available to

   it immense influence over its investments, as commentators rightly note:

                SoftBank can also shift how these businesses are run and upend entire markets.
                Nowhere is this more evident than with Uber. After a year full of internal chaos
                and PR crises, Uber agreed to make a series of corporate governance changes
                in part to pave the way for the SoftBank deal. Call it the allure of SoftBank
                cutting a big check -- or the threat of that check going to a competitor. SoftBank
                had said it might invest in either Uber or Lyft.

             356.   Temasek also is an “active investor and shareholder” in the companies in which it

   invests and prides itself ”[a]s an engaged shareholder in “promot[ing] sound corporate governance

   in [its] portfolio companies, including FTX. Specifically, “[p]ost investment, [Temasek] continued

   to monitor performance and engage management on business strategy, as well as legal, policy and

   regulatory matters. [Temasek] also encouraged FTX to improve and upgrade their regulatory and

   legal functions, as well as to appoint experienced executives to strengthen their leadership team in

   these areas…. This is similar to how [Temasek] engage[s] other early-stage investments as an

   active investor and shareholder.”

             357.   The Multinational VC Defendants did not deviate from their standard “hands on”

   approach when partnering with FTX. Indeed, upon information and belief, executives of

   Defendants Temasek and SoftBank served on FTX’s Advisory Board, which held meetings at least

   through March 2022. The Advisory Board was comprised of several other Co-Defendants and

   FTX executives from across the United States and The Bahamas, including, upon information and

   belief:

                x   Co-Defendant VC Sequoia, based in Menlo Park, California.



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              x   Co-Defendant VC Paradigm, based in San Francisco, California.

              x Co-Defendant VC Thoma Bravo, based in San Francisco, California, Miami,
              Florida, and Chicago, Illinois.

              x Co-Defendant VC Altimeter, based in Menlo Park, California and Boston,
              Massachusetts.

              x   Co-Defendant VC Ribbit Capital, based in Palo Alto, California.

              x   Co-Defendant VC Multicoin, based in Austin, Texas.

              x   Co-Defendant VC K5 Global, based in Miami, Florida.

              x   Brett Harrison, CEO of FTX US, based in Chicago, Illinois.

              x Dan Friedberg, General Counsel and Chief Compliance Officer of FTX Trading
              and General Counsel to Alameda, based in Seattle, Washington.

              x Zach Dexter, CEO of FTX Derivatives US and, later, President of FTX US, based
              in Miami, Florida; and

              x Constance Wang, who held multiple executive roles at FTX, including Chief
              Operating Officer of FTX Trading and Chief Executive Officer of FTX Digital
              Markets, FTX’s Bahamian subsidiary, based in The Bahamas.

          358.    FTX’s Advisory Board met quarterly and had unique inside information and access

   into FTX, holding regularly scheduled virtual meetings with PowerPoint presentations at each.

   Their participation in FTX’s business was in a contract titled “Letter Agreement Re: FTX Advisory

   Board” dated August 24, 2021, with Sequoia’s being titled “Advisory Board Letter” and dated the

   same. These Advisory Board members specifically discussed issues such as the CFTC’s potential

   request to increase FTX’s default insurance fund in connection with its application to clear

   derivatives in the U.S., FTX’s correspondence with the SEC, the celebrity-fueled marketing

   campaign engineered by K5 Global (detailed in the Domestic VC Administrative Complaint) and

   various other executive-level board issues until at least September 2022.

          359.    Temasek was represented on the Advisory Board by Pradyumna Agrawal,

   Temasek’s Managing Director for Blockchain Investments and Antony Lewis, a director in the


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   firm’s Crypto & Blockchain Venture Building & Investing group. Mr. Lewis was a featured

   speaker at the Crypto Bahamas April 2022 conference, “[a]n exclusive gathering of the leading

   investors and buildings in the blockchain, digital assets and web3 space. SBF, along with nearly a

   dozen FTX executives, including Brett Harrison and Zach Dexter were featured at the conference.

             360.     Temasek’s participation in the FTX-sponsored Crypto Bahamas event helped to

   amplify SBF’s reach. CoinDesk described the affair as “a four-day flex of FTX’s expanding empire

   – with a new era of “corporate crypto” firmly on display,” and the New York Times reported,

   “Bankman-Fried was presiding over the first edition of the Crypto Bahamas conference, a

   showcase for FTX and a vivid demonstration of his growing celebrity and influence. Everywhere

   he went, crypto entrepreneurs offered handshakes and fist bumps, patting him on the back as they

   pitched projects or presented him with branded swag.”

             361.     Temasek’s contributions at Crypto Bahamas also fueled the normalization of FTX’s

   cryptocurrency exchange “from the early days of ‘shadowy super-coders’ hearkening the end of

   banks.” On the FTX Stage, Mr. Lewis presented on behalf of Temasek in a panel discussion on

   “Institutional Crypto Adoption: From FAAMG to Sovereign Wealth.” Many news outlets reported

   on the growing acceptance of crypto on display at the Temasek panel and more broadly at Crypto

   Bahamas.         For example, Yahoo! Finance reported how the story of Crypto Bahamas was

   “traditional investors and crypto native firms.” And Forbes reported how the panels “discussed

   how digital assets fit into modern investment portfolios and the broader maturation of the asset

   class.”

             362.     SoftBank also held two seats on the FTX Advisory Board, and it filled those seats

   with its most senior executives: Rajeev Misra, CEO of both SoftBank Investment Advisers, which

   manages SoftBank’s Visions Fund 1, and SoftBank Global Advisers, which manages SoftBank’s




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   Vision Fund 2; and Tom Cheung, a San Francisco-based Partner of SoftBank Investment Advisers.

   Mr. Misra is not without a checkered history of questionable professional conduct. The Wall Street

   Journal reports that Mr. Misra “used [a] campaign of sabotage to hobble [his] internal rivals,”

   invoking tactics such as “planting negative news stories about them concocting a shareholder

   campaign to pressure SoftBank to fire them and even attempting to lure them into a ‘honey trap’

   of sexual blackmail,” all so that Mr. Misra could become the “right hand of [SoftBank CEO]

   Japanese billionaire Masayoshi Son.” 142 Notably, Mr. Misra was demoted in July 2022, and Mr.

   Cheung laid off in late September 2022, mere weeks before the FTX fraud was revealed and the

   exchange collapsed.

          363.    SoftBank assisted in other ways, too, including by submitting a letter in support of

   FTX Derivatives’ application to the CFTC for a license to operate as a derivatives clearinghouse.

   Under the proposal, FTX Derivatives would trade directly with investors using algorithms rather

   than traditional financial intermediaries such as brokers. Brett Harrison, President of FTX.US

   acknowledged that this application was “unprecedented, not just for crypto derivatives, but for

   traditional exchange-traded derivatives more generally,” and the proposal was not without

   controversy, with opponents asserting that the application would “come at the expense of risk

   management best practices, market integrity and ultimately, financial stability.” Still, SoftBank

   threw in its support, by way of a formal comment that:

              Given our knowledge of the digital asset ecosystem, we are uniquely positioned
              to comment on the nascent but rapidly growing digital asset market as the U.S.
              government seeks to calibrate its regulatory framework for digital assets…. We
              believe the FTX proposal will provide broader access to commodity products
              and increased financial participation in digital markets by retail investors, while



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        https://www.wsj.com/articles/softbanks-rajeev-misra-used-campaign-of-sabotage-to-hobble-
   internal-rivals-11582743294 (last accessed July 31, 2023).


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              protecting and reducing risk for the users of digital assets, financial
              intermediaries, and the financial system.

   In the letter, SoftBank again touted the safety of the FTX exchange, this time to the U.S. federal

   government:

              Risk mitigation in the digital asset marketplace is a key pillar of the FTX
              proposal. The digital asset marketplace is fundamentally different from
              traditional securities and commodities markets. Because digital asset
              marketplaces do not close, traditional ways of clearing, including end of day
              clearing, do not fully mitigate risks associated with a 24/7 marketplace. FTX’s
              proposal for 24/7 clearing allows for margin calculation in real time rather than
              at the end of day, removing gap risk from the system.

              Furthermore, FTX’s automated system for liquidating collateral when it falls
              below the maintenance margin level, calculated every 30 seconds, is an
              important innovation that enables FTX to safely offer margin without the
              imposition of futures commission merchants into the payment flow. The
              frequent collateral assessments and ability to rapidly liquidate collateral safely
              eliminate the need for intermediation and mutualization of losses. In unusual
              circumstances in which the liquidation of collateral is not sufficient to cover
              position losses, FTX will have arrangements with backstop liquidity providers
              who will assume positions needing to be liquidated along with the remaining
              margin. As an additional layer of protection, FTX will fund a guaranty fund of
              $250 million.

   In “strongly support[ing] FTX’s application” to the CFTC and in “urg[ing] the Commission to

   grant its approval,” SoftBank provided to FTX much needed credibility and assistance in

   expanding FTX’s reach, by allowing FTX to portray itself as at the forefront of investor protection

   and as the only regulatory-compliant cryptocurrency exchange. In 2021, FTX released a press

   release with “FTX’s Key Principles for Ensuring Investor Protections on Digital-Asset Platforms,”

   claiming “the protection of investors and the public as a top priority.” SoftBank’s lobbying efforts

   with the CFTC heavily helped shape FTX’s regulatory narrative and helped present FTX as a

   legitimate exchange to customers.

          364.    Meanwhile, Matthew Graham, CEO of Defendant Sino Global, pictured below with

   SBF, remained a “close confidante” of SBF throughout perpetuation of the FTX scheme:



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          365.   Further, Matthew Graham praised FTX and touted the rigorous due diligence that

   Sino Global undertakes. For example, Graham appeared on an episode of the FTX Podcast, where

   Graham said “where we don’t compromise is on the type of people we invest in.” He also said,

   “we spend a lot of time doing dd [i.e., due diligence] such that we feel comfortable that it’s an

   extremely high trust relationship where we really ask ourselves if this is someone we want to be

   hanging out with literally for years.” Graham described Sino Global’s internal “thesis” for

   investment which is to look for what Sino Global refers to internally “superfans,” and SBF was a

   “superfan.”



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          366.    Upon information and belief, Mr. Graham met with SBF frequently, including at

   SALT New York 2022, a crypto conference hosted by VC Defendant SkyBridge in New York

   City. Sino Global was also a sponsor of the Crypto Bahamas event that launched FTX and SBF

   into notoriety for their purported commitment to building a crypto exchange with unmatched safety

   and a commitment to serving their customers’ best interests.

          367.    Mr. Graham touted his and Sino Global’s relationship with SBF and FTX publicly.

   For instance, Mr. Graham appeared on “The Pomp Podcast,” a podcast disseminated by Apple

   from California, 143 in which he touted his relationship with SBF, claiming, among other things:

              x   He had a “deep relationship, particularly with Sam.”

              x   He and SBF “made the decision to work together after 5 minutes.”

              x   He cold called SBF when they had 3 people at FTX.

              x   He believed SBF was “the smartest person in the world.”

              x   He wanted to go “down the path” with FTX.

              x   He thought SBF was smarter than competition and outhustling them.

              x   that FTX was “all fucking studs”

              x He knew FTX only had 5 engineers but claimed they were smart, not that they were
              understaffed.

              x   Sino Global had two employees in the United States.

          368.    The close ties between Sino Global and FTX extend to Constance Wang, who

   joined FTX in 2019 and held multiple executive roles included Chief Operating Officer of FTX

   Trading and Chief Executive Officer of FTX Digital Markets, FTX’s Bahamian subsidiary. Often

   described as SBF’s “right-hand man,” Ms. Wang reportedly lived in SBF’s luxury “10-person



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     https://podcasts.apple.com/in/podcast/707-launching-a-%24200m-fund-backed-by-ftx-w-
   matthew-graham/id1434060078?i=1000540269403

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   crash-pad” in The Bahamas, from where she led FTX’s global business expansion and oversight

   of its token listings, as well as its public relations and marketing. Upon information and belief, Ms.

   Wang regularly attended meetings of the advisory board, on which Temasek and SoftBank sat. In

   addition, she reportedly oversaw “much of the company’s star-studded marketing and hosted

   almost-weekly parties at her Nassau villa.”

          369.    Like many of FTX’s executives, Ms. Wang was significantly lacking in experience

   necessary to run a multi-billion-dollar company. She graduated from college in 2015, and in the

   short time leading up to her taking the helm at FTX in 2019, she acquired just over two years of

   experience in risk management and business development. Despite her inexperience, and though

   presiding as a chief executive over the largest frauds in recent history is her most prominent

   professional accomplishment to date, Sino Global recently hired Ms. Wang, one of only “a half

   dozen” remaining SBF-loyalists, as its head of investments in gaming, a move that seemingly

   conflicts with Sino Global’s public apologies following the FTX collapse and subsequent attempts

   at distancing itself from FTX. To be sure, it is a move that Sino Global did not take lightly, as Sino

   Global is, apparently, a closely knit group and is very careful in expanding its personnel. With Ms.

   Wang, Sino Global will comprise only 11 people.

          370.    Ms. Wang’s move to Sino Global in the wake of the FTX fraud’s collapse is not

   surprising given that she would have had many opportunities to become familiar with Sino Global

   and its affiliates’ employees. Approximately five employees of Sino Global and/or its related

   entities employees worked out of the FTX offices in the Bahamas. These Sino Global employees

   did not have their own separate walled-off space within the FTX offices, but were working




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   amongst FTX employees and shared with those employees common spaces such as the office

   kitchen, restrooms, etc, and lived or frequently visited the Albany while working there. 144

              d. The Multinational VC Defendants sought to keep the fraud concealed, and therefore
              afloat, until FTX could affect an IPO or a private sale.

              371.     In performing extensive due diligence before investing in FTX and then working

   with SBF to grow the FTX Platform to its exponential scale, the Multinational VC Defendants

   obtained knowledge of SBF’s misappropriation of Class Member funds, the undisclosed

   relationship between Alameda and FTX, along with FTX’s attendant misrepresentations and

   omissions. But despite this knowledge, the Multinational VC Defendants continued to provide

   capital, infrastructure for and guidance on the company’s trajectory, with any eye towards an IPO

   or private sale, the end game for venture capitalists like the Multinational VC Defendants:

                   Venture money is not long-term money. The idea is to invest in a company’s
                   balance sheet and infrastructure until it reaches a sufficient size and credibility
                   so that it can be sold to a corporation or so that the institutional public-equity
                   markets can step in and provide liquidity. In essence, the venture capitalist buys
                   a stake in an entrepreneur’s idea, nurtures it for a short period of time, and then
                   exits with the help of an investment banker.

   For the Multinational VC Defendants, FTX was no different. In fact, in closing FTX Trading’s

   Series B funding, SBF announced that FTX was “trying to get [itself] in a position where we could

   go public relatively quickly if we wanted to.” Multinational VC Defendants stood to profit

   enormously from FTX’s public or private sale, as long as Multinational VC Defendants could help

   keep the fraud afloat until FTX went on the selling block.

              372.     By January 2022, an IPO or private sale was increasingly imminent. FTX Trading’s

   valuation reached $32 billion—one of the largest valuations in recent history, greater than the

   market cap of both Nasdaq and Twitter—while FTX US’s valuation topped $8 billion. The



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         See Ex. B, Declaration of Nishad Singh, ¶ 22.


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   Multinational VC Defendants’ relentless efforts to promote the FTX exchange as reliable and

   trustworthy predominantly drove FTX’s unprecedented valuations, all to increase the returns on

   the Multinational VC Defendants’ respective investments. In announcing the valuations, SBF

   stated that he and others at FTX “look forward to working alongside our investors [i.e., the

   Multinational VC Defendants] to achieve our mission and continue our tremendous growth

   throughout 2022 and beyond.” These multi-billion dollars valuations arose directly from the

   fundraising by venture capitalists, including Multinational VC Defendants; FTX could not have

   achieved these appraisals without the nearly $2 billion in fundraising from Multinational VC

   Defendants and other investors.

          373.   Just two months later, in March 2022, SBF met with David Solomon, CEO of

   Goldman Sachs, to discuss, among other things, FTX’s IPO. With the prospect of an IPO

   imminent, Multinational VC Defendants could cash out with massive returns on their equity stakes

   and leave Class Members to bear the losses resulting from SBF’s fraud, if they could help keep

   customer deposits flowing into FTX accounts, and SBF’s fraud concealed, until after the sale.

          374.   But at this time, cryptocurrencies had entered into a period of prolonged pricing

   declines, which has become known as the “Crypto Winter.” Just a few months later, in May 2022,

   a series of highly publicized cryptocurrency collapses occurred, including Luna and Terra USD,

   which had the effect of wiping out Three Arrows Capital, then Voyager Digital and Celsius

   Network collapsed in July 2022. With the crypto industry beginning to falter, SBF’s spree to buy

   up failing crypto companies (so to keep his fraud concealed from Class Members) took off, and

   for as long as FTX could shore of the crypto industry, FTX’s fraudulent scheme would remain

   concealed, and the Multinational VC Defendants’ investments, protected.




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          375.    Thus, by now, Multinational Defendants’ interest in keeping SBF’s fraud

   concealed—and, in turn, FTX afloat—had broadened, as Multinational Defendants had stakes not

   only in FTX, but in crypto currencies and companies throughout the industry. For example, Sino

   Global held a portfolio of digital tokens totaling in excess of $129 million, many of which were

   directly associated with SBF or FTX, including, for example, Solana’s native SOL tokens, in

   addition to serum (SRM), maps (MAPS), oxygen (OXY) and jet protocol (JET). The collapse of

   FTX led to price decreases of 80% or more for each of these tokens.

          376.    For as long as Multinational VC Defendants could keep FTX’s fraud hidden from

   public eye, FTX could in turn shore up vulnerable stakes in crypto coins and tokens, as well as in

   struggling players in the crypto industry (like it did BlockFi), including those in which

   Multinational VC Defendants had an interest. In the alternative, the collapse of FTX—then the

   second-largest cryptocurrency exchange on the market—could potentially result in a total crash of

   the cryptocurrency market. Despite that turmoil, at a time when investors were worried about the

   stability of players in the crypto markets, the Multinational VC Defendants continued to promote

   FTX as stable and fostered the narrative that SBF was the “savior” of crypto.

          377.    By mid-summer 2022, SBF had burned through the assets accessible to FTX

   (including Class Member funds) and was in need of an immediate capital injection of $1 billion.

   Multinational VC Defendants declined to invest again yet made no mention of FTX’s flatlining to

   the public. So SBF traveled to the Middle East in a desperate effort to get his hands on more cash.

   This was not known publicly at the time as FTX’s public image fostered by the VC Defendants

   was that it held ample cash having raised over $2.2 billion within the prior year and customer

   assets were fully covered dollar per dollar.




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          378.   Throughout the summer of 2022, with FTX spiraling into a liquidity crisis and the

   crypto industry faltering writ large, the Multinational VC Defendants disclosed none of it with

   their eyes on an IPO or private sale, and determined to extricate crypto industry-wide, the

   Multinational VC Defendants conspired with FTX to keep Class Member funds flowing in and the

   fraud hidden. For as long as Multinational VC Defendants could lure users to the FTX exchanges,

   their stakes in FTX would continue to skyrocket in value, and Defendants’ fees in managing the

   investments, would continue to grow. 145

          e. Multinational VC Defendants emerged from the fraud relatively unscathed, while
          Class Members lost everything.

          379.   Multinational VC Defendants nearly succeeded in cashing out on SBF’s fraudulent

   crypto exchange and they reaped substantial management fees and carried interest in their

   respective funds throughout the duration of the fraud. However, journalists broke the news of the

   fraud in early November, and SBF’s fraud swiftly imploded. Though many Class Members lost

   their entire savings to SBF’s fraud, Multinational VC Defendants emerged largely unscathed. For

   example:

              x SoftBank reported that, though they marked down their projections of returns from
              its stake in FTX, FTX’s collapse “is very not material for us.”

              x Sino Global was similarly unphased by the fraud. Sino Global described the
              minimal impact of FTX’s collapse, explaining that Sino Global “is functioning as
              normal and continues to invest as a fund,” in part because “fund investments have been
              balanced across ecosystems.”

              x Temasek reported that the total cost of its investment in FTX was 0.09% of its net
              portfolio value of $403 billion SGD (about $293 billion USD) and, like the other
              Multinational VC Defendants, wrote the investment off following the fraud’s collapse.


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      A typical fee structure for these types of funds is “2 and 20,” or an annual 2% management fee
   and 20% of any profits (i.e., carried interest). The Multinational VC Defendants’ management fees
   would therefore be based on the invested amount and the committed amount. On top of these
   guaranteed fees, these Multinational VC Defendants would reap 20% of any profits from the
   investments in FTX.

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          380.    These relatively minimal losses underscore the win/win scenario that the

   Multinational VC Defendants enjoyed at the expense of Class Members, including Plaintiffs.

   Provided the Multinational VC Defendants could keep SBF’s merry-go-round running until FTX

   went on the selling block or the volatile crypto market returned to ascendancy, the Multinational

   VC Defendants would go down in history as some of the largest rainmakers in the tech industry.

   Conversely, as they now admit, if the fraud collapsed before FTX reached a sale, the Multinational

   VC Defendants would suffer only non-material losses, losses which the Multinational VC

   Defendants could in fact harvest for hefty tax deductions. All told, the Multinational VC

   Defendants had nothing to lose in propping up SBF’s fraud; they instead had everything to gain.

   And so, the Multinational VC Defendants assisted the FTX fraud; they did so knowingly; and they

   did so at Class Members’ expense.

          381.    As detailed herein, the Multinational VC Defendants represented to Plaintiffs and

   the Classes that they had performed adequate due diligence supporting their substantial FTX

   investments; that FTX’s products and services were safe, trustworthy, and reliable; that SBF was

   a visionary crypto founder whose sole focus was on the greater good rather than profiting at the

   expense of others; that FTX was being competently run with extraordinary execution; and that

   FTX and SBF had strictly complied with all legal and regulatory requirements to safeguard their

   customers’ assets, which included ensuring that funds deposited by FTX platform users would be

   segregated for safekeeping.

          382.    The Multinational VC Defendants knew, or should have known, that these

   representations were materially false and misleading when made. The due diligence activities that

   the Multinational VC Defendants claimed to have performed with respect to FTX would have

   revealed the wanton fraud and self-dealing, the related party transactions and relationships with




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   Alameda, and the total lack of internal controls and competency present at FTX. The Multinational

   VC Defendants had knowledge that FTX was not operating in the manner that VC Defendants had

   represented to consumers and the market as a result of their experience and relationship with FTX,

   and their statements to the contrary during the relevant period omitted material facts regarding

   FTX and Alameda and made other statements did not have a reasonable factual basis given this

   insider knowledge.

          383.    Still, the Multinational VC Defendants tirelessly promoted FTX through both

   financial funding and issuing promotional statements that would reach investors and provided FTX

   with platforms – through the conferences and online shows – to present itself amongst other key

   players in the cryptocurrency industry. The Multinational VC Defendants’ unfair and deceptive

   statements described herein are likely to mislead – and clearly have misled – consumers and

   investors acting reasonably in the circumstances into depositing funds and/or cryptocurrency into

   FTX.

          384.    The Multinational VC Defendants’ unfair and deceptive statements described

   herein were likely to have misled – and indeed did mislead – consumers acting reasonably under

   the circumstances in purchasing, transacting, or depositing fiat current or crypto assets in accounts

   with FTX during the relevant period.

          385.    In addition, the Multinational VC Defendants gave hundreds of millions of dollars

   in funding to FTX knowing, or reckless in not knowing, that those funds would be used to promote

   FTX to more customers, inducing them to trade and keep their assets with FTX. Immediately after

   funds were provided, FTX plowed those funds into expensive advertising campaigns, hiring

   celebrities, naming stadiums, and conducting many other public promotional activities. The due

   diligence activities that the Multinational VC Defendants claimed to have performed with respect




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   to FTX would have revealed that FTX was not safeguarding, not segregating, not properly

   accounting for, and simply not protecting customer assets, again evidenced by the fact that other

   investors (e.g., Social Capital and Alexander Pack, and the anonymous employee of one of the VC

   firm that did invest in FTX) so quickly identified these deficiencies. The Multinational VC

   Defendants also knew that FTX was comingling and misusing assets, yet turned a blind eye, did

   not warn customers, conspired with FTX and in fact gave hundreds of millions of dollars more to

   aid and abet, and materially assists in the fraud.

          386.    FTX would not have been able to deceive customers to purchase, deposit, or

   transact in fiat currency or digital assets on its exchange if it were not for VC Defendants’ public

   platforms, promotion, and active participation in the wrongful acts described herein. The

   Multinational VC Defendants’ conduct has caused Class Members to suffer billions of dollars in

   losses, as SBF burned through Class Member funds for his own enrichment, leading FTX to

   collapse. .FTX and Alameda remain embroiled in bankruptcy proceedings, where their assets

   continue to be consumed by a variety of costs. Billions of dollars’ worth of assets have yet to be

   returned to customers, while each of the Multinational VC Defendants has escaped the collapse of

   FTX relatively unscathed and continues to operate without any major disruptions to their

   respective investment portfolios.

                                  CLASS ACTION ALLEGATIONS

          387.    As detailed below in the individual counts, Plaintiffs bring this lawsuit on behalf of

   themselves and all others similarly situated, pursuant to Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of

   the Federal Rules of Civil Procedure.




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   A. Class Definitions

          388.    Plaintiffs Vozza, Rupprecht, Winter, and Kavuri seek to represent the following

   International Classes and Plaintiffs Orr, Cabo, Henderson, Livieratos, Chernyavsky, Podalsky,

   Shetty, Ezeokoli, Norris, Garrison, Huang, and Papadakis seek to represent the following Classes:

                  (1) International Class: All persons or entities residing outside the

                      United States who, within the applicable limitations period,

                      purchased or held legal title and/or any beneficial interest in fiat

                      or cryptocurrency deposited or invested through an FTX

                      Platform, purchased or enrolled in a YBA, or purchased FTT.

                  (2) Nationwide Class: All persons or entities residing in the United

                      States who, within the applicable limitations period, purchased

                      or held legal title and/or any beneficial interest in fiat or

                      cryptocurrency deposited or invested through an FTX Platform,

                      purchased or enrolled in a YBA, or purchased FTT.

   Excluded from the Classes are MDL Defendants and their officers, directors, affiliates, legal

   representatives, and employees, the FTX Group and their officers, directors, affiliates, legal

   representatives, and employees, any governmental entities, any judge, justice, or judicial officer

   presiding over this matter and the members of their immediate families and judicial staff.

          389.    Plaintiffs reserve the right to modify or amend the definition of the proposed

   Classes, or to include additional classes or subclasses, before or after the Court determines whether

   such certification is appropriate as discovery progresses. Plaintiffs seek certification of the Classes

   in part because all offers of the FTX Platform, YBAs and/or FTT to Plaintiffs and the Class

   Members (in which MDL Defendants each materially assisted, substantially participated, and/or




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   personally participated) were made by FTX from their principal place of business in Miami,

   Florida, and thus every single offer to sell cryptocurrency, the FTX Platform, YBAs and/or FTT

   stems from a transactional occurrence that emanated from the State of Florida.

   B. Numerosity

          390.    The Classes are comprised of thousands, if not millions, of consumers globally, to

   whom FTX offered and/or sold cryptocurrency, the FTX Platform, YBAs and/or FTT. Moreover,

   thousands, if not millions, of consumers worldwide have executed trades on the FTX Platform

   within the applicable limitations period. Membership in the Classes are thus so numerous that

   joinder of all members is impracticable. The precise number of Class Members is currently

   unknown to Plaintiffs but is easily identifiable through other means, such as through FTX’s

   corporate records or self-identification.

   C. Commonality/Predominance

          391.    This action involves common questions of law and fact, which predominate over

   any questions affecting individual Class Members. These common legal and factual questions

   include, but are not limited to, the following:

             (a) whether Bankman-Fried, the FTX Insiders, and/or FTX committed fraud.

             (b) whether the MDL Defendants agreed with Bankman-Fried, the FTX Insiders,

                 and/or FTX to commit fraud.

             (c) whether the MDL Defendants had the requisite degree of knowledge of Bankman-

                 Fried’s, the FTX Insiders’, and/or FTX’s fraud.

             (d) whether the FTX Platform, YBAs and/or FTT were unregistered securities under

                 federal, Florida, California, or other law.




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             (e) whether the MDL Defendants’ participation and/or actions in FTX’s offerings and

                 sales of the FTX Platform, YBAs and/or FTT violate the provisions of applicable

                 securities law.

             (f) the type and measure of damages suffered by Plaintiffs and the Class.

             (g) whether the MDL Defendants’ practices violate the FDUTPA, the California

                 Unfair Competition Law, or other state consumer-protection statutes.

             (h) whether Plaintiffs and Class Members have sustained monetary loss and the proper

                 measure of that loss.

             (i) whether Plaintiffs and Class Members are entitled to injunctive relief.

             (j) whether Plaintiffs and Class Members are entitled to declaratory relief; and

             (k) whether Plaintiffs and Class Members are entitled to consequential damages,

                 punitive damages, statutory damages, disgorgement, and/or other legal or equitable

                 appropriate remedies as a result of the MDL Defendants’ conduct.

   D. Typicality

          392.     Plaintiffs’ claims are typical of the claims of the members of the Classes because

   all members were injured through the uniform misconduct described above, namely that Plaintiffs

   and all Class Members were offered and/or sold FTX’s FTX Platform, YBAs and/or FTT because

   of the MDL Defendants’ actions and/or participation in the offering and sale of these unregistered

   securities, that the MDL Defendants aided and abetted the fraud and conversion perpetrated by

   Bankman-Fried, the FTX Insiders, and/or FTX, or that the MDL Defendants agreed with

   Bankman-Fried, the FTX Insiders, and/or FTX to commit fraud. Plaintiffs are advancing the same

   claims and legal theories on behalf of themselves and all such members. Further, there are no

   defenses available to any MDL Defendant that are unique to Plaintiffs.




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   E. Adequacy of Representation

          393.    Plaintiffs will fairly and adequately protect the interests of the members of the

   Class. Plaintiffs have retained counsel experienced in complex consumer and securities class

   action litigation, and Plaintiffs intend to prosecute this action vigorously. Plaintiffs have no adverse

   or antagonistic interests to those of the Classes. Plaintiffs anticipate no difficulty in the

   management of this litigation as a class action. To prosecute this case, Plaintiffs have chosen the

   undersigned law firms, which have the financial and legal resources to meet the substantial costs

   and legal issues associated with this type of consumer class litigation.

   F. Requirements of Fed. R. Civ. P. 23(b)(3)

          394.    The questions of law or fact common to Plaintiffs’ and each Class Member’s claims

   predominate over any questions of law or fact affecting only individual members of the Classes.

   All claims by Plaintiffs and the unnamed members of the Classes are based on the common course

   of conduct by the MDL Defendants (1) in marketing, offering, and/or selling the FTX Platform,

   YBAs and/or FTT, which are unregistered securities, (2) in receiving secret undisclosed

   compensation for their promotion of the FTX Platform, (3) in aiding and abetting fraud and/or

   conversion by Bankman-Fried, FTX and the FTX Insiders, and/or (4) in agreeing with Bankman-

   Fried, the FTX Insiders, and/or FTX to commit fraud.

          395.    The common course of conduct by the MDL Defendants includes, but is not limited

   to their promotion, offer, sale, solicitation, material assistance, substantial participation in, and/or

   personal participation in the offer or sale of the FTX Platform, YBAs, and/or FTT, and/or their

   aiding and abetting of the FTX Group’s Ponzi scheme, fraud, and/or conversion of billions of

   dollars of customer assets.




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          396.    Common issues predominate when, as here, liability can be determined on a class-

   wide basis, even when there will be some individualized damages determinations.

          397.    As a result, when determining whether common questions predominate, courts

   focus on the liability issue, and if the liability issue is common to the Classes as is in the case at

   bar, common questions will be held to predominate over individual questions.

   G. Superiority

          398.    A class action is superior to individual actions for the proposed Classes, in part

   because of the non-exhaustive factors listed below:

              (a) Joinder of all Class members would create extreme hardship and inconvenience for

                  the affected customers as they reside nationwide and throughout the state.

              (b) Individual claims by Class members are impracticable because the costs to pursue

                  individual claims exceed the value of what any one Class member has at stake. As

                  a result, individual Class members have no interest in prosecuting and controlling

                  separate actions.

              (c) There are no known individual Class members who are interested in individually

                  controlling the prosecution of separate actions.

              (d) The interests of justice will be well served by resolving the common disputes of

                  potential Class members in one forum.

              (e) Individual suits would not be cost effective or economically maintainable as

                  individual actions; and

              (f) The action is manageable as a class action.




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   H. Requirements of Fed. R. Civ. P. 23(b)(2)

          399.    The MDL Defendants have acted and refused to act on grounds generally applicable

   to the Classes by engaging in a common course of conduct of aiding and abetting the offering

   and/or selling of the FTX Platform, YBAs and/or FTT, which are unregistered securities, and

   violating state consumer-protection laws, thereby making appropriate final injunctive relief or

   declaratory relief with respect to the classes as a whole.

          400.    The MDL Defendants have acted and refused to act on grounds generally applicable

   to the Classes by engaging in a common course of conduct of uniformly identical and uniform

   misrepresentations and omissions in receiving secret undisclosed compensation for their

   promotion of the FTX Platform, thereby making appropriate final injunctive relief or declaratory

   relief with respect to the classes as a whole.

   I. Requirements of Fed. R. Civ. P. 23(c)(4)

          401.    As it is clear that one of the predominant issues regarding the MDL Defendants’

   liability is whether the FTX Platform, YBAs and/or FTT that FTX offered and/or sold are

   unregistered securities, utilizing Rule 23(c)(4) to certify the Class for a class wide adjudication on

   this issue would materially advance the disposition of the litigation as a whole.

          402.    As it is clear that another predominant issue regarding the MDL Defendants’

   liability is whether they have violated the consumer protection and securities laws of Florida in

   making identical and uniform misrepresentations and omissions regarding the functionality of the

   FTX Platform, and/or in receiving secret undisclosed compensation for their promotion of the FTX

   Platform, utilizing Rule 23(c)(4) to certify the Classes for a class wide adjudication on this issue

   would materially advance the disposition of the litigation as a whole.




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   J. Nature of Notice to the Proposed Class.

           403.    The names and addresses of all Class Members are contained in the business

   records maintained by FTX and are readily available to FTX. The Class Members are readily and

   objectively identifiable. Plaintiffs contemplate that notice will be provided to Class Members by

   e-mail, mail, and published notice.

                                          CAUSES OF ACTION

                                   COUNT ONE (All Defendants)
                      Sale of Unregistered Securities in Violation of Florida Law

           404.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           405.    Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any

   person to sell or offer to sell a security within the State of Florida unless the security is exempt

   under Fla. Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally

   covered security, or is registered pursuant to Ch. 517, Fla. Stat.

           406.    Section 517.211 extends liability to any “director, officer, partner, or agent of or

   for the seller, if the director, officer, partner, or agent has personally participated or aided in making

   the sale, is jointly and severally liable to the purchaser in an action for rescission, if the purchaser

   still owns the security, or for damages, if the purchaser has sold the security.”

           407.    The FTX Platform, YBAs and/or FTT are each a security pursuant to Fla. Stat. §

   517.021(22)(a).

           408.    The FTX Platform, YBAs and/or FTT sold and offered for sale to Plaintiffs and

   Class members were not:

               a. exempt from registration under Fla. Stat. § 517.051.

               b. a federal covered security.



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               c. registered with the Office of Financial Regulations (OFR); or

               d. sold in a transaction exempt under Fla. Stat. § 517.061.

           409.    The FTX Group sold and offered to sell the unregistered FTX Platform, YBAs

   and/or FTT to Plaintiffs and the members of the Class.

           410.    The Multinational VC Defendants are directors, officers, partners and/or agents of

   or for the FTX Group pursuant to Fla. Stat. § 517.211.

           411.    The FTX Group, with the Multinational VC Defendants’ material assistance and

   personal participation, offered and sold the unregistered FTX Platform, YBAs and/or FTT to

   Plaintiffs and the members of the Class. As a result of this assistance, the Multinational VC

   Defendants violated Fla. Stat. § 517.07 et seq. and Plaintiffs and members of the Class sustained

   damages as herein described.

                                    COUNT TWO (All Defendants)
                              Securities Fraud in Violation of Florida Law

           412.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           413.    Fla. Stat. Ann. § 517.301 prohibits any person “in connection with the offer, sale,

   or purchase of any investment or security” from “directly or indirectly” (1) employing “any device,

   scheme, or artifice to defraud”; (2) obtaining “money or property by means of an untrue statement

   or a material fact or any omission to state a material fact necessary in order to make the statements

   made, in the light of the circumstances in which they were made, not misleading”; or (3) engaging

   in “any transaction, practice, or course of business which operates or would operate as a fraud or

   deceit upon a person.”

           414.    Section 517.211 extends liability to any “director, officer, partner, or agent of or

   for the seller, if the director, officer, partner, or agent has personally participated or aided in making



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   the sale, is jointly and severally liable to the purchaser in an action for rescission, if the purchaser

   still owns the security, or for damages, if the purchaser has sold the security.”

           415.    The FTX Platform, the YBAs and/or FTT Tokens are securities under Florida law.

           416.    In offering or selling the FTX Platform, the YBAs and/or FTT Tokens Securities

   to Plaintiffs and Class Members, FTX and/or SBF made the following material omissions:

   x   FTX was not segregating Class Member funds, instead commingling those funds in FTX’s
       omnibus accounts and treating those funds as FTX’s own.

   x   SBF was siphoning Class Member funds to his friends and family members or for his own
       personal use.

   x   FTX and Alameda were not, in fact, “wholly separate entities at arm’s length,” and were
       instead operated as a common enterprise.

   x   FTX directed that Class Member funds be wired directly into accounts held by North
       Dimension, a subsidiary of Alameda.

   x   SBF was looting Class Member funds under the guise of non-arm’s length “related party
       transactions” and “loans” often by way of Alameda.

   x   SBF routinely transferred Class Member funds out of accounts held by FTX to those held by
       Alameda.

   x   SBF was using Class Member funds to underwrite his speculative personal investments at
       Alameda.

   x   Alameda was exempt from the “risk engine” and other FTX protocols in place to prevent a
       user from becoming undercollateralized or overleveraged on the exchange.

   x   With the foregoing exemption, Alameda engaged in margin trading on the FTX platform,
       exposing Class Members to the risk of Alameda’s loss.

   x   FTX used Class Member funds to manipulate the price of FTT, which was not “widely
       distributed,” but instead concentrated in the hands of FTX and Alameda; and

   x   FTX did not have in place fundamental internal controls, including an independent board of
       directors or a CFO.

           417.    Plaintiffs and Class Members were in strict privity with FTX.




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           418.    The Multinational VC Defendants are directors, officers, partners and/or agents of

   or for the FTX Group pursuant to Fla. Stat. § 517.211.

           419.    Based on their knowledge of the financial industry, with a focus on serving crypto

   clients, and their understanding of FTX’s operations obtained through diligence, ongoing

   monitoring and/or hands-on partnership, the Multinational VC Defendants acquired knowledge of

   FTX’s omissions and untruthful conduct and misappropriation of Class Member funds.

           420.    Nevertheless, by way of the conduct described above, the Multinational VC

   Defendants directly participated in the FTX Group’s offer and sale of the FTX Platform, the YBAs

   and/or FTT Tokens Securities in Florida while perpetuating the above-listed omissions in violation

   of section 517.301.

           421.    The Multinational VC Defendants are accordingly joint and severally liable to

   Plaintiffs for rescissionary damages under section 517.211.

           422.    Plaintiffs hereby conditionally tender their FTX Group Securities in accordance

   with section § 517.211.

                                 COUNT THREE (All Defendants)
                     Sale of Unqualified Securities in Violation of California Law

           423.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           424.    Section 25110 of the California Securities Law (“CSL”) prohibits the offer or sale

   by any person in California of securities that are not qualified through registration. CSL section

   25503 affords a statutory cause of action to victimize investors for violations of section 25110.

   Additionally, section 25504.1 extends liability under Section 25503 to any person who materially

   assists in a violation of section 25110 and makes them jointly and severally liable with any other

   person liable under section 25503.



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          425.    By way of the conduct described above, the Multinational VC Defendants

   materially assisted and/or personally participated with the FTX Group in the offering and selling

   of the FTX Platform, the YBAs and/or FTT Token securities in California without being properly

   registered or qualified for offer or sale either with any federal or California regulator in violation

   of section 25503. 146

          426.    Based on their knowledge of securities laws and regulations, the financial industry,

   with a focus on serving crypto clients, and their understanding of FTX’s operations and intentions

   obtained through diligence, ongoing monitoring and/or their hands-on partnership with FTX

   and/or SBF, the Multinational VC Defendants understood that the FTX Platform, the YBAs and/or

   FTT Tokens were securities not properly qualified or registered under California law, and

   materially assisted in their issuance and sale.

          427.    Moreover, CSL section 25210(b) provides: No person shall, … on behalf of an

   issuer, effect any transaction in, or induce or attempt to induce the purchase or sale of, any security

   in this state unless [a licensed] broker-dealer and agent have complied with any rules as the

   commissioner may adopt for the qualification and employment of those agents. To the extent the

   Multinational VCs in addition to providing capital for the scheme to sell unregistered, unqualified

   securities, also promoted and invested in these unregistered, unqualified securities to induce their




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      Plaintiffs contend that secondary liability for materially assisting a strict liability violation of
   the qualification requirements of a violation pursuant to section 25503 does not require proof that
   The Multinational VC Defendants intended “to deceive or defraud.” They had to know they were
   assisting in the sale of unqualified securities. However, Plaintiffs in the alternative contend that
   even if so, The Multinational VC Defendants’ allegations demonstrate knowledge of and
   participation in FTX Group’s non-compliance with the CSL establishes their intent to deceive
   investors regarding the Deceptive FTX Platform, the YBAs and/or FTT Tokens.



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   purchase by Plaintiffs, the Multinational VC Defendants are liable under CSL sections 25504.1

   and 25210.

           428.    The Multinational VC Defendants breached section 25210(b) by, on behalf of FTX,

   inducing or attempting to induce the purchase and sale of unregistered securities in the State of

   California and by facilitating and encouraging the FTX Group to offer and sell the FTX Platform,

   YBAs and/or FTT Tokens securities despite those securities not being registered or qualified under

   the California securities law.

           429.    Additionally, CSL section 25501.5 affords a statutory cause of action to victimize

   investors for violations of section 25210(b).

           430.    The Multinational VC Defendants are accordingly joint and severally liable to

   Plaintiffs for recessionary damages under section 25504.1.

           431.    Plaintiffs hereby conditionally tender their FTX Group Securities in accordance

   with section 25503.

                                    COUNT FOUR (All Defendants)
                             Securities Fraud in Violation of California Law

           432.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           433.    Section 25401 of the California Securities Law (“CSL”) makes it “unlawful for any

   person to offer or sell a security in this state, or to buy or offer to buy a security in this state, by

   means of any written or oral communication that includes an untrue statement of a material fact or

   omits to state a material fact necessary to make the statements made, in the light of the

   circumstances under which the statements were made, not misleading.” Section 25501 provides a

   private right of action to purchasers of securities injured by violation of section 25401.




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          434.    Additionally, section 25504.1 extends liability under Section 25501 to any person

   who materially assists in a violation of section 25401 and makes them jointly and severally liable

   with any other person liable under section 25501.

          435.    The FTX Platform, the YBAs and/or FTT Tokens are securities under California

   law. The Multinational VC Defendants materially assisted FTX and SBF’s scheme to sell

   securities through utilizing material omissions.

          436.    In offering or selling the FTX Platform, the YBAs and/or FTT Tokens Securities

   to Plaintiffs and Class Members, FTX and/or SBF made the following material omissions:

   x   FTX was not segregating Class Member funds, instead commingling those funds in FTX’s
       omnibus accounts and treating those funds as FTX’s own;

   x   SBF was siphoning Class Member funds to his friends and family members or for his own
       personal use.

   x   FTX and Alameda were not, in fact, “wholly separate entities at arm’s length,” and were
       instead operated as a common enterprise that engaged in a material, undisclosed related party
       transactions.

   x   FTX directed that Class Member funds be wired directly into accounts held by North
       Dimension, a subsidiary of Alameda.

   x   SBF was looting Class Member funds under the guise of non-arm’s length “related party
       transactions” and “loans” often by way of Alameda.

   x   SBF routinely transferred Class Member funds out of accounts held by FTX to those held by
       Alameda.

   x   SBF was using Class Member funds to underwrite his speculative personal investments at
       Alameda.

   x   Alameda was exempt from the “risk engine” and other FTX protocols in place to prevent a
       user from becoming undercollateralized or overleveraged on the exchange.

   x   With the foregoing exemption, Alameda engaged in margin trading on the FTX platform,
       exposing Class Members to the risk of Alameda’s loss.

   x   FTX used Class Member funds to manipulate the price of FTT, which was not “widely
       distributed,” but instead concentrated in the hands of FTX and Alameda; and



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   x   FTX did not have in place fundamental internal controls, including an independent board of
       directors or a CFO.

          437.    Plaintiffs and Class Members were in strict privity with FTX and purchased

   securities issued by FTX.

          438.    Based on their knowledge of the financial industry, with a focus on serving crypto

   clients, and their understanding of FTX’s operations obtained through diligence, ongoing

   monitoring and/or hands-on partnership, the Multinational VC Defendants acquired knowledge of

   FTX’s omissions, related party transactions and relationships, and other untruthful conduct and

   misappropriation of Class Member funds.

          439.    Nevertheless, by way of the conduct described above, the Multinational VC

   Defendants materially assisted with the FTX Group in the offering and selling of the FTX Platform,

   the YBAs and/or FTT Tokens Securities in California while perpetuating the above-listed

   omissions in violation of section 25501. The Multinational VC Defendants so assisted or

   participated with the intent to deceive or defraud Plaintiffs and Class Members; Plaintiff sand Class

   Members’ deposits increased the value of FTX and, by extension, the Multinational VC

   Defendants’ investments.

          440.    The Multinational VC Defendants materially assisted the scheme to sell

   unregistered securities via material omissions to citizens of California. All of the Multinational

   VC defendants had knowledge of the omitted related party transactions and relationship between

   FTX and Alameda orchestrated by SBF, including, as alleged, through providing SBF the capital

   for the fraudulent scheme, providing their reputations and false assurances of due diligence to

   garner trust in SBF, FTX and these securities, and by even partnering with SBF and both FTX and

   Alameda in investment entities that churned these fraudulent, unregistered securities while SBF

   looted FTX.



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           441.    The Multinational VC Defendants are accordingly joint and severally liable to

   Plaintiffs for rescissionary damages under section 25504.1.

           442.    Plaintiffs hereby conditionally tender their FTX Group Securities in accordance

   with section 25503.

                                  COUNT FIVE (All Defendants)
                   Securities Market Manipulation in Violation of California Law

           443.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           444.    Section 25400 of the CSL makes it unlawful for any person, directly or indirectly,

   to make any statement in the offer or sale of a security, “which was, at the time and in the light of

   the circumstances under which it was made, false or misleading with respect to any material fact,

   or which omitted to state any material fact necessary in order to make the statements made, in the

   light of the circumstances under which they were made, not misleading, and which he knew or had

   reasonable ground to believe was so false or misleading” in order to “induce the purchase or sale

   of such security.” Under Section 25500, “[a]ny person who willfully participates in any act or

   transaction in violation of Section 25400 [i.e., market manipulation] shall be liable to any person

   who purchases or sells any security at a price which was affected by such act or transaction for the

   damages sustained by the latter.”

           445.    The FTX Platform, the YBAs and/or FTT Tokens are securities under California

   law.

           446.    In offering or selling the FTX Platform, the YBAs and/or FTT Tokens Securities

   to Plaintiffs and Class Members, FTX and/or SBF made the following material omissions:

   x   FTX was not segregating Class Member funds, instead commingling those funds in FTX’s
       omnibus accounts and treating those funds as FTX’s own.




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   x   SBF was siphoning Class Member funds to his friends and family members or for his own
       personal use.

   x   FTX and Alameda were not, in fact, “wholly separate entities at arm’s length,” and were
       instead operated as a common enterprise.

   x   FTX directed that Class Member funds be wired directly into accounts held by North
       Dimension, a subsidiary of Alameda.

   x   SBF was looting Class Member funds under the guise of non-arm’s length “related party
       transactions” and “loans” often by way of Alameda.

   x   SBF routinely transferred Class Member funds out of accounts held by FTX to those held by
       Alameda.

   x   SBF was using Class Member funds to underwrite his speculative personal investments at
       Alameda.

   x   Alameda was exempt from the “risk engine” and other FTX protocols in place to prevent a
       user from becoming undercollateralized or overleveraged on the exchange.

   x   With the foregoing exemption, Alameda engaged in margin trading on the FTX platform,
       exposing Class Members to the risk of Alameda’s loss.

   x   FTX used Class Member funds to manipulate the price of FTT, which was not “widely
       distributed,” but instead concentrated in the hands of FTX and Alameda; and

   x   FTX did not have in place fundamental internal controls, including an independent board of
       directors or a CFO.

          447.    FTX made these omissions of material fact despite having represented that it would

   hold its customers’ funds for their benefit after taking custody of such funds.

          448.    FTX made the foregoing omissions in order to induce the purchase or sale of the

   FTX Platform, the YBAs and/or FTT Tokens Securities. Such omissions affected the value of the

   FTX Platform, the YBAs and/or FTT Tokens Securities.

          449.    Based on their knowledge of the financial industry, with a focus on serving crypto

   clients, and their understanding of FTX’s operations obtained through diligence, ongoing

   monitoring, control, their positions on advisory committees and/or hands-on partnership, The




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   Multinational VC Defendants acquired knowledge of FTX’s omissions and untruthful conduct and

   misappropriation of Class Member funds.

           450.    Nevertheless, by way of the conduct described above, the Multinational VC

   Defendants willfully participated in the FTX Group’s offers and sales of the FTX Platform, the

   YBAs and/or FTT Tokens Securities in California while perpetuating the above-listed omissions

   in violation of section 25500.

           451.    The Multinational VC Defendants are accordingly joint and severally liable to

   Plaintiffs for damages under section § 25500.

                                   COUNT SIX (All Defendants)
                  Control Person Liability for Violation of California Securities Law

           452.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           453.    Section 25504 of the CSL extends liability under Section 25501 (which provides a

   private right of action for violations of section 25401) to control persons of any person or entity

   liable under section 25501, including “every broker-dealer or agent who materially aids in the act

   or transaction constituting the violation, are also liable jointly and severally with and to the same

   extent as such person[s] liable under section 25501.

           454.    Here Defendants Temasek and SoftBank were control persons of FTX and FTX US

   as significant equity owners of FTX and FTX US who had representatives who sat on an advisory

   board committee at FTX. Those Defendants wielded their power, control, and deep pockets, to

   launch FTX’s house of cards to its multi-billion-dollar scale. Along with the other Defendant VCs,

   Temasek and SoftBank invested nearly $2 billion in FTX. Temasek and SoftBank were more well

   than passive investors in the control positions. Indeed, Temasek and SoftBank provided critical

   groundwork for the FTX fraud, when serving on FTX’s advisory board and providing guidance to



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   the fraud and promoting FTX despite knowing that SBF was misappropriating Class Member

   funds.

                                   COUNT SEVEN (All Defendants)
                                        Civil Conspiracy

            455.   Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

            456.   There was an express or implied agreement between at least one of SBF and/or

   other agents of FTX and each of the Multinational VC Defendants to deceive Class Members, and

   to commit the wrongful conduct described herein, including FTX’s fraud, breach of fiduciary duty

   to Class Members, and conversion of Class Members’ property, which wrongful conduct is

   described more fully above.

            457.   Moreover, Temasek Holdings and Temasek USA expressly or impliedly agreed to

   act in furtherance of the wrongful conduct described herein, including FTX’s fraud, breach of

   fiduciary duty to Class Members, and conversion of Class Members’ property, which wrongful

   conduct is described more fully above.

            458.   SoftBank Group, SoftBank US, and SoftBank Advisers likewise expressly or

   impliedly agreed to act in furtherance of the wrongful conduct described herein, including FTX’s

   fraud, breach of fiduciary duty to Class Members, and conversion of Class Members’ property,

   which wrongful conduct is described more fully above.

            459.   Through the course of their due diligence and hands-on partnerships with FTX, and

   in providing guidance to FTX and its founder, SBF, the Multinational VC Defendants acquired

   knowledge of FTX’s omissions and untruthful conduct and misappropriation of Class Members’

   funds. Despite this knowledge, each Multinational VC Defendant stood to gain financially from




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   FTX’s misconduct, and each Multinational VC Defendant agreed, at least impliedly, to assist that

   unlawful conduct.

           460.    The Multinational VC Defendants agreed, at least impliedly, with SBF and/or one

   or more of his co-conspirators to commit the overt acts alleged herein, each in furtherance of SBF’s

   fraud, breach of fiduciary duty, and conversion of Class Members’ property, including (1)

   propping up SBF’s fraud—and expanding its reach—by injecting more than $500 million of

   necessary capital into the scheme; (2) generating for FTX the appearance of legitimate operations,

   strong financial condition, and other credibility, which permitted the scheme to grow in scale and

   persist in duration; (3) advising FTX on ways to continue its growth, thereby attracting new victims

   and thrusting the scheme forward; and (4) concealing the fraud when the cryptocurrency industry

   began to falter, with the purpose of keeping the fraud afloat until Defendants could cash out in a

   public or private sale or once the crypto market recovered.

                                      COUNT EIGHT (All Defendants)
                                   Common Law Aiding and Abetting Fraud

           461.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           462.    FTX, and its founder SBF, defrauded Class Members by, among other things,

   making the following material omissions in soliciting their deposits:

   x   FTX was not segregating Class Member funds, instead commingling those funds in FTX’s
       omnibus accounts and treating those funds as FTX’s own.

   x   SBF was siphoning Class Member funds to his friends and family members or for his own
       personal use.

   x   FTX and Alameda were not, in fact, “wholly separate entities at arm’s length,” and were
       instead operated as a common enterprise.

   x   FTX directed that Class Member funds be wired directly into accounts held by North
       Dimension, a subsidiary of Alameda.



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   x   SBF was looting Class Member funds under the guise of non-arm’s length “related party
       transactions” and “loans” often by way of Alameda.

   x   SBF routinely transferred Class Member funds out of accounts held by FTX to those held by
       Alameda.

   x   SBF was using Class Member funds to underwrite his speculative personal investments at
       Alameda.

   x   Alameda was exempt from the “risk engine” and other FTX protocols in place to prevent a
       user from becoming undercollateralized or overleveraged on the exchange.

   x   With the foregoing exemption, Alameda engaged in margin trading on the FTX platform,
       exposing Class Members to the risk of Alameda’s loss.

   x   FTX used Class Member funds to manipulate the price of FTT, which was not “widely
       distributed,” but instead concentrated in the hands of FTX and Alameda; and

   x   FTX did not have in place fundamental internal controls, including an independent board of
       directors or a CFO.

            463.   Based on their knowledge of the financial industry, with a focus on serving crypto

   clients, and their understanding of FTX’s operations obtained through diligence, ongoing

   monitoring and/or hands-on partnership, the Multinational VC Defendants acquired knowledge of

   FTX’s omissions and untruthful conduct and misappropriation of Class Member funds.

            464.   Notwithstanding this knowledge, and by reason of the conduct described above, the

   Multinational VC Defendants substantially aided, abetted, and/or participated with SBF and his

   co-conspirators in a fraudulent scheme against Class Members, including by the actions set forth

   above.

            465.   The Multinational VC Defendants’ actions, in combination with the actions of SBF

   and his co-conspirators, are a proximate cause of actual damages to Class Members. As a result of

   this conduct, the Multinational VC Defendants are jointly and severally liable with the FTX Group

   and the FTX Insiders for aiding and abetting his fraudulent scheme.




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                                 COUNT NINE (All Defendants)
                         Common Law Aiding and Abetting Fiduciary Breach

           466.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           467.    FTX took custody of the Class Member funds. As alleged herein, FTX promised

   Class Members funds were safe in its hands, and that FTX customer funds were “held by FTX for

   [their] benefit.” As a custodian of Class Member funds, and by virtue of the promises FTX made

   to safeguard their funds, FTX owed a fiduciary duty to Class Members, and FTX was obligated to

   discharge that duty in good faith, with the care that a fiduciary in a similar position would exercise

   and, in a manner, reasonably believed to be in the best financial interests of Class Members.

           468.    Rather than safeguarding Class Member funds, FTX misappropriated their funds in

   breach of the fiduciary duty owed to Class Members. These breaches include but are not limited

   to: (1) transferring funds belonging to Class Members to Alameda and other of SBF’s separately

   owned entities; (2) transferring funds belonging to Class Members to SBF and his co-conspirators;

   (3) using funds belonging to Class Members to engage in self-dealing, including non-arms’ length

   transactions among SBF’s affiliated entities.

           469.    Based on their knowledge of the financial industry, with a focus on serving crypto

   clients, and their understanding of FTX’s operations obtained through diligence, ongoing

   monitoring and/or hands-on partnership, the Multinational VC Defendants acquired knowledge of

   FTX’s fiduciary duty to Class Members and breaches thereof.

           470.     Notwithstanding this knowledge, and by reason of the conduct described above,

   the Multinational VC Defendants substantially aided, abetted, and/or participated with SBF and

   his co-conspirators in a fraudulent scheme against Class Members, including by the actions set

   forth above.



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           471.    The Multinational VC Defendants’ actions, in combination with the actions of SBF

   and his co-conspirators, are a proximate cause of actual damages to Class Members. As a result of

   this conduct, the Multinational VC Defendants are jointly and severally liable with the FTX Group

   and the FTX Insiders for participating in the breach of FTX’s fiduciary duty.

                                  COUNT TEN (All Defendants)
                             Common Law Aiding and Abetting Conversion

           472.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           473.    The funds deposited by Class Members into YBAs on the FTX exchange were

   personal property of Class Members. SBF and his co-conspirators wrongfully exercised dominion

   or control over such property, misappropriating Class Member funds entrusted to FTX.

           474.    Based on their knowledge of the financial industry, with a focus on serving crypto

   clients, and their understanding of FTX’s operations obtained through diligence, ongoing

   monitoring and/or hands-on partnership, the Multinational VC Defendants acquired knowledge of

   FTX’s conversion of Class Member funds.

           475.    Notwithstanding this knowledge, and by reason of the conduct described above, the

   Multinational VC Defendants substantially aided, abetted, and/or participated with SBF and his

   co-conspirators in conversion of funds belonging to Class Members, including by the actions set

   forth above.

           476.    The Multinational VC Defendants’ actions, in combination with the actions of SBF

   and his co-conspirators, are a proximate cause of actual damages to Class Members. As a result of

   this conduct, Defendants are jointly and severally liable with the FTX Group and the FTX Insiders

   for participating in the breach of FTX’s conversion of Class Member funds.

                            COUNT ELEVEN (The Sino Global Defendants)
                                        Conversion


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          337.    Plaintiffs reallege and incorporate by reference the allegations contained in

   all preceding paragraphs as if fully set forth herein.

          338.    The Sino Global Defendants accepted a $60 million investment from Alameda

   and yet another investment of an undisclosed amount from Sam Bankman-Fried, each of which,

   upon information and belief, was comprised of Class Member funds. It further partnered with

   FTX and Alameda as co-general partners in the $200 million Liquid Value I fund, Sino Global’s

   first ever outside venture fund.

          338. The funds deposited by Class Members into the FTX Platform were

   personal property of the Plaintiffs and Class Members. The Sino Global Defendants wrongfully

   interfered with Plaintiffs' possessory interest in a specific, identifiable sum of money: the amount

   that the Sino Global Defendants took from FTX in the form of investments in Sino Global.

          339. Plaintiffs’ funds were their own. They each had a possessory interest in the sum of

   money they invested in the FTX Platform.

          340. Nevertheless, the Sino Global Defendants misappropriated those funds for their

   own benefit by taking funds from FTX (in the form of an investment in Sino Global entities)

   which were owned by FTX customers, given FTX’s general practice of unlawfully converting

   funds that belonged to Plaintiffs.

          341. The Sino Global Defendants’ actions are a proximate cause of actual damages to

   Plaintiffs and class members and the Sino Global Defendants are jointly and severally liable for

   the conversion of Plaintiffs’ funds in an amount to be proven at trial.

                            COUNT TWELVE (Sino Global Defendants)
                                Aiding and Abetting Conversion




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          342. Plaintiffs reallege and incorporate by reference the allegations contained in all

   preceding paragraphs as if fully set forth herein.

          343. The funds deposited by Class Members into the FTX Platform were

   personal property of the Plaintiffs and Class Members. The Sino Global Defendants wrongfully

   interfered with Plaintiffs’ possessory interest in a specific, identifiable sum of money: the

   amount that each plaintiff had in their FTX account that they could not withdraw.

          344. Plaintiffs’ funds were their own. They each had a possessory interest in the sum of

   money they invested in the FTX Platform.

          345. The Sino Global Defendants, based on their knowledge of the FTX Group’s

   operations obtained through due diligence, ongoing monitoring, and partnership, acquired

   knowledge of FTX’s conversion of Plaintiffs’ funds.

          345. Notwithstanding this knowledge, and by reason of the conduct described herein,

   the Sino Global Defendants took money from FTX anyways in the form of investments in Sino

   Global entities and substantially aided, abetted, and/or participated with FTX in the conversion

   of funds that belonged to Plaintiffs.

          347. The Sino Global Defendants’ actions, in combination with the actions of FTX, are

   a proximate cause of actual damages to Plaintiffs and class members. The Sino Global

   Defendants are jointly and severally liable for participating in the conversion of Plaintiffs’ funds

   in an amount to be proven at trial.

                           COUNT THIRTEEN (Sino Global Defendants)
                                    Unjust Enrichment

          363. Plaintiffs reallege and incorporate by reference the allegations contained in all

   preceding paragraphs above as if fully set forth herein.

          364. Plaintiffs directly conferred a monetary benefit on the Sino Global Defendants in



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   the form of investment funds provided to the Sino Global Defendants from FTX customer funds.

           365. Plaintiffs also conferred a monetary benefit on the Sino Global Defendants because

   they accepted funds that they knew, or should have known, were FTX consumer deposits.

           366. With Plaintiffs’ money, the Sino Global Defendants enriched themselves.

           367. The Sino Global Defendants have knowledge of the benefits that Plaintiffs

   conferred on them.

           368. Under principles of equity and good conscience, the Sino Global Defendants

   should not be permitted to retain the funds and assets they received as a result of their

   misappropriation of Plaintiffs’ assets, because they knowingly concealed material information

   from Plaintiffs regarding FTX’s conversion of the funds, which directly resulted in the loss of

   Plaintiffs’ funds and assets that were supposed to have been stored on the exchange.

           369. As a result of the Sino Global Defendants’ conduct, Plaintiffs have suffered

   damages in an amount to be determined at trial.

           370. To the extent that Plaintiffs have no other adequate remedy at law, Plaintiffs seek

   restitution of all funds and assets that the Sino Global Defendants have unjustly received as a

   result of their conduct alleged herein, as well as interest, reasonable attorneys’ fees, expenses,

   and costs to the extent allowable, as well as all other relief the Court deems necessary to make

   them whole.

                                COUNT FOURTEEN (All Defendants)
                           Violation of California’s Unfair Competition Law
                                (Cal. Bus. & Prof. Code §17200, et seq.)

           477.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           478.    The California Unfair Competition Law (“UCL”) prohibits any “unlawful, unfair

   or fraudulent business act or practice.” Cal. Bus. & Prof. Code §17200.


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          479.    The Multinational VC Defendants’ unfair and deceptive practices described herein

   were likely to mislead – and in fact did mislead – consumers acting reasonably in the circumstances

   into purchasing, depositing, and/or transacting in fiat currency and digital assets with accounts

   with FTX.

          480.    Unlawful: During the relevant period, the Multinational VC Defendants advertised

   and otherwise promoted FTX using false and/or misleading claims, such that the Multinational VC

   Defendants’ actions as alleged herein violate at least the following laws:

      (a) The False Advertising Law, Cal. Bus. & Prof. Code §17500, et seq.; and

      (b) Cal. Corp. Code §25504.1.

          481.    Fraudulent: A practice is “fraudulent” under the UCL if members of the general

   public were or are likely to be deceived. As detailed herein, the Multinational VC Defendants’

   statements regarding, inter alia, the safety and viability of FTX and their due diligence activities

   having confirmed such safety and viability were deceptive to or likely to deceive the public. In the

   alternative, the Multinational VC Defendants deceived the public in suggesting that they conducted

   extensive due diligence regarding FTX when they in fact did not and nevertheless touted FTX’s

   safety and viability.

          482.    Unfair: The UCL gives courts maximum discretion to address improper business

   practices that are “unfair.” The Multinational VC Defendants’ collective conduct with respect to

   the marketing and promotion of FTX is unfair because Defendants’ conduct was immoral,

   unethical, unscrupulous, or substantially injurious to consumers in inducing them to purchase,

   transact, and/or deposit fiat currency and digital assets with accounts with FTX and the utility of

   the Multinational VC Defendants’ conduct, if any, does not remotely outweigh the gravity of the

   harm to their victims. Plaintiffs and the Class would not have purchased, transacted, and/or




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   deposited fiat currency and digital assets with accounts with FTX at the prices paid or at all had

   they known that the statements were misrepresentations and deceptive.

           483.    The Multinational VC Defendants’ conduct with respect to the promotion of FTX

   is also unfair because the consumer injury is substantial, not outweighed by benefits to consumers

   or competition, and not one that consumers can reasonably avoid.

           484.    The harm suffered by Plaintiffs and the Class was directly and proximately caused

   by the deceptive and unfair practices of Defendants related to the promotion and marketing of

   FTX, as described herein.

           485.    In accordance with Cal. Bus. & Prof. Code §17203, Plaintiffs seek an order

   enjoining the Multinational VC Defendants from continuing to conduct business through

   fraudulent or unlawful acts and practices and to commence a corrective advertising campaign. On

   behalf of the Class, Plaintiffs also seek an order for the restitution of all monies made from the

   Multinational VC Defendants’ investments in or other business dealings with FTX, which were

   made resulting from acts of fraudulent, unfair, or unlawful competition as detailed herein.

                                  COUNT FIFTEEN (All Defendants)
                             Violation of California’s False Advertising Law
                                 (Cal. Bus. & Prof. Code §17500, et seq.)

           486.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           487.    California’s False Advertising Law prohibits any statement in connection with the

   sale of goods or services “which is untrue or misleading.” Cal. Bus. & Prof. Code §17500.

           488.    As set forth herein, the Multinational VC Defendants made statements regarding

   FTX and their own due diligence activities that were untrue or misleading. They publicly

   represented, inter alia, that FTX was a viable and safe way to invest in crypto and that their due

   diligence efforts had confirmed such representations, statements designed to deceive consumers


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   into investing with FTX. In the alternative, the Multinational VC Defendants deceived the public

   in suggesting that they conducted extensive due diligence regarding FTX when they in fact did not

   and nevertheless touted FTX’s safety and viability.

          489.    The Multinational VC Defendants’ claims that FTX was, inter alia, viable and safe

   for investing in crypto and that their robust due diligence efforts had verified these representations

   were untrue and manifestly false and misleading for the reasons detailed herein. For example,

   when FTX imploded in late 2022, it was revealed that FTX had failed to employ the most basic

   safeguards and siphoned billions of dollars’ worth of customer assets for their own nefarious

   purposes during the relevant period.

          490.    The Multinational VC Defendants knew, or reasonably should have known, that

   their claims relating to, inter alia, the viability and safety of FTX and the results of their own due

   diligence activities were untrue or misleading.        In the alternative, if the Multinational VC

   Defendants did not carry out the robust due diligence efforts they advertised, then the Multinational

   VC Defendants knew, or reasonably should have known, that their claims relating to their due

   diligence were untrue or misleading. The Multinational VC Defendants failed to adequately inform

   Plaintiffs and the Class of the true nature of FTX.

          491.    When the true nature of FTX became publicly known at the end of the relevant

   period, the immediate public outrage, bankruptcy proceedings, and government investigation

   reflected the degree to which consumers and the public at large felt they were deceived by the

   Multinational VC Defendants and FTX’s business practices.

          492.    By reason of the above conduct, the Multinational VCs Defendants are liable

   pursuant to Cal. Bus. & Prof. Code §17500.




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                                 COUNT SIXTEEN (All Defendants)
                   Violation of Florida’s Deceptive and Unfair Trade Practices Act
                                  (§501.201, Florida Statutes, et seq.)

           493.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           494.    The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §501.201 et seq.

   (“FDUPTA”) “protect[s] the consuming public . . . from those who engage in unfair methods of

   competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade

   or commerce.” §501.202(2) Fla. Stat.

           495.    Plaintiffs and Class Members are consumers as defined by §501.203, Fla. Stat. The

   Multinational VC Defendants’ actions as described herein occurred while engaging in “[t]ride or

   commerce” as defined by the FDUTPA. Fla. Stat. §501.203(8).

           496.    The Multinational VC Defendants’ conduct, as described herein, constitutes

   “[u]nfair methods of competition, unconscionable acts or practices, or unfair or deceptive acts or

   practices in the conduct of any trade or commerce” and is unlawful under the FDUTPA.

   §501.204(1) Fla. Stat.

           497.    The Multinational VC Defendants’ unfair and deceptive practices, as described

   herein were objectively likely to mislead – and in fact did mislead – consumers acting reasonably

   in the circumstances into purchasing, depositing, and/or transacting in fiat currency and digital

   assets with accounts with FTX.

           498.    The Multinational VC Defendants violated FDUPTA by engaging in such unfair

   and deceptive practices, as described herein, which offend public policies, are immoral, unethical,

   unscrupulous and injurious to consumers.




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          499.    During the relevant period, the Multinational VC Defendants engaged in unfair and

   deceptive practices by advertising and otherwise promoting FTX using false and/or misleading

   claims to attract and lure Plaintiffs and Class Members into paying into the FTX Platform.

          500.    A practice is deceptive or “deception occurs if there is a representation, omission,

   or practice that is likely to mislead the consumer acting reasonably in the circumstances, to the

   consumer’s detriment.”     As detailed herein, the Multinational VC Defendants’ statements

   regarding, inter alia, the safety, and viability of FTX and the results of their own due diligence

   activities were deceptive to the public. In the alternative, the Multinational VC Defendants

   deceived the public in suggesting that they conducted extensive due diligence regarding FTX when

   they in fact did not and nevertheless touted FTX’s safety and viability.

          501.    In interpreting unfair or deceptive acts or practices FDUTPA gives deference to the

   interpretations of the Federal Trade Commission and the federal courts relating to §5(a)(1) of the

   Federal Trade Commission Act, 15 U.S.C. §45(a)(1), §501.204(2) Fla. Stat. The Multinational

   VC Defendants’ collective conduct with respect to the marketing and promotion of FTX is unfair

   because the Multinational VC Defendants’ induced Plaintiffs and consumers to purchase, transact,

   and/or deposit fiat currency and digital assets with accounts with FTX which resulted in injuries

   that (1) were substantial to the consumers; (2) were not outweighed by benefits to the consumers,

   and (3) could not have reasonably been avoided by the consumers.

          502.    Plaintiffs and the Class would not have purchased, transacted, and/or deposited fiat

   currency and digital assets with accounts with FTX at the prices paid or even at all had they known

   that the Multinational VC Defendants’ statements were misrepresentations and deceptive.




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           503.    The Multinational VC Defendants’ deceptive promotion and misleading marketing

   of FTX, as described herein, directly, and proximately caused the harm suffered by Plaintiffs and

   the Class.

           504.    The Multinational VC Defendants still utilize many of the deceptive acts and

   practices described herein. Plaintiffs and the other members of the Classes have suffered and will

   continue to suffer irreparable harm if the Multinational VC Defendants continue to engage in such

   deceptive, unfair, and unconscionable practices.

           505.    As a direct and proximate cause of Defendants’ unfair and deceptive acts, Plaintiffs

   and Class Members paid into the FTX Platform and were aggrieved and damaged by the

   Multinational VC Defendants in the amount of their lost investments.

           506.    Further to the amounts of their lost investments, Plaintiffs and consumers in the

   Classes make claims for actual damages, attorneys’ fees and costs pursuant to §§501.211(2) and

   501.2105, Fla. Stat.

           507.    Section 501.211(1), Fla. Stat., also entitles Plaintiffs and the Classes to obtain both

   declaratory and injunctive relief . §501.211(1) Fla. Stat. As such, Plaintiffs seek an order enjoining

   these the Multinational VC Defendants from continuing to conduct business through fraudulent or

   unlawful acts and practices and providing declaratory relief requiring Defendants to commence a

   corrective advertising campaign.

                                   COUNT SEVENTEEN (All Defendants)
                                      Negligent Misrepresentation

           508.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           509.    Plaintiffs allege this cause of action in the alternative in the event that the

   Multinational VC Defendants did not conduct the robust due diligence that they advertised.



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          510.    As detailed herein, the Multinational VC Defendants negligently misrepresented

   certain material facts, including, inter alia, regarding the safety and viability of FTX and their own

   due diligence activities in order to induce confidence in the FTX platforms and convince

   consumers to commit fiat currency and digital assets to the FTX platforms, thereby increasing the

   value of the Multinational VC Defendants’ investments in FTX.

          511.    The Multinational VC Defendants made these material misrepresentations without

   reasonable grounds for believing the misrepresented facts to be true.

          512.    The representations made by the Multinational VC Defendants in connection with

   FTX were material and would have been considered by a reasonable consumer in making decisions

   to engage in any transactions with FTX.

          513.    Plaintiffs and the Class justifiably relied on the Multinational VC Defendants’

   statements in that they purchased, deposited, and/or transacted in fiat currency and digital assets

   with accounts with FTX, which they would not have done at the prices paid or at all had they

   known the true nature of the FTX platforms. Plaintiffs and the members of the Class opened

   accounts and purchased, transacted, and/or deposited fiat currency and digital assets into accounts

   with the FTX entities believing that the FTX platforms would be operated in accordance with the

   representations made by the Multinational VC Defendants.

          514.    As a result, Plaintiffs and members of the Class were directly and proximately

   injured by the Multinational Defendants’ negligence in failing to inform Plaintiffs and members

   of the Class of the true nature of the operations of the FTX platforms.

          515.    As a result of the Multinational Defendants’ negligent misrepresentation during the

   relevant period, Plaintiffs and the Class suffered damages, including because they cannot retrieve




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   their fiat currency or digital assets currently in accounts with the FTX platforms as a result of the

   insolvency of FTX.

                                   COUNT EIGHTEEN (All Defendants)
                                      Intentional Misrepresentation

           516.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           517.    As detailed herein, the Multinational VC Defendants knowingly misrepresented

   certain material facts, including, inter alia, regarding the safety and viability of FTX and that their

   own due diligence confirmed such safety and viability in order to induce confidence in the FTX

   platforms and convince consumers to commit fiat currency and digital assets to the FTX platforms,

   thereby increasing the value of these Defendants’ investments in FTX.

           518.    The Multinational VC Defendants made these misrepresentations with the

   knowledge that their statements were materially misleading.

           519.    The Multinational VC Defendants’ misrepresentations in connection with FTX

   were material and would have been considered by a reasonable consumer in making decisions to

   engage in any transactions with FTX.

           520.    Plaintiffs and the Class actually and justifiably relied on Defendants’ statements in

   that they purchased, deposited, and/or transacted in fiat currency and digital assets with accounts

   with FTX, which they would not have done at the prices paid or at all had they known the true

   nature of the FTX platforms. Plaintiffs and the members of the Class opened accounts and

   purchased, transacted, and/or deposited fiat currency and digital assets into accounts with the FTX

   entities believing that the FTX platforms would be operated in accordance with the representations

   made by the Multinational VC Defendants.




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           521.    As a result, Plaintiffs and members of the Class were directly and proximately

   injured by Defendants’ intentional misrepresentations in failing to inform Plaintiffs and members

   of the Class of the true nature of the operations of the FTX platforms.

           522.    As a result of the Multinational VC Defendants’ intentional misrepresentations

   during the relevant period, Plaintiffs and the Class suffered damages, including because they

   cannot retrieve their fiat currency or digital assets currently in accounts with the FTX platforms as

   a result of the insolvency of FTX.

                                   COUNT NINETEEN (All Defendants)
                                       Fraudulent Inducement

           523.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           524.    As detailed herein, the Multinational VC Defendants materially misrepresented and

   omitted existing facts about the FTX entities when they failed to disclose information regarding

   the true nature of FTX and the results of their own due diligence efforts that were known to them.

   In the alternative, Defendants materially misrepresented and omitted existing facts about the extent

   of their own due diligence efforts that were known to them.

           525.    The omission is material because Plaintiffs and the Class would not have transacted

   with FTX had they known the true nature of FTX.

           526.    The Multinational VC Defendants marketed and promoted FTX to Plaintiffs and

   the Class despite having knowledge of the true nature of FTX that were contrary to their public

   misrepresentations.

           527.    The Multinational VC Defendants intended that consumers and purchasers would

   rely on these Defendants’ statements regarding, inter alia, the safety and viability of FTX and the

   results of their own due diligence activities so as to increase the user base for FTX and thereby



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   increase the value of their investments in FTX. In the alternative, the Multinational VC Defendants

   intended that their statements regarding the extent of their due diligence activities would lend an

   air of legitimacy to FTX that would increase the user base for FTX and thereby increase the value

   of their investments in FTX.

           528.    Plaintiffs and the Class were not aware of the true nature and safety of FTX’s

   platform and could not reasonably have discovered those true characteristics. Plaintiffs and the

   Class were not aware of the results of or the extent of the Multinational VC Defendants’ due

   diligence efforts and could not reasonably have discovered those true characteristics.

           529.    Plaintiffs and the Class justifiably relied on the Multinational VC Defendants’

   statements in that they purchased, deposited, and/or transacted in fiat currency and digital assets

   with accounts with FTX, which they would not have done at the prices paid or at all had they

   known the true nature of the FTX platforms.

           530.    As a result of the Multinational VC Defendants’ fraudulent inducement of Plaintiffs

   and the Class onto the FTX platforms, Plaintiffs and the Class suffered damages, including because

   they cannot retrieve their fiat currency or digital assets currently in accounts with the FTX

   platforms as a result of the insolvency of FTX.

                                    COUNT TWENTY (All Defendants)
                                   Declaratory Judgment (28 U.S.C. §2201)

           531.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           532.    Plaintiffs seek declaratory relief based upon the violations of the UCL and the

   California False Advertising Law as alleged herein.

           533.    There is a bona fide, actual, and present need for the declaratory relief requested

   herein; the declaratory relief prayed for herein deals with a present, ascertained, or ascertainable



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   state of facts and a present controversy as to the state of facts; contractual and statutory duties and

   rights are dependent on those facts and law applicable to the facts; the parties have an actual,

   present, adverse, and directly antagonistic interest in the subject matter; and the antagonistic and

   adverse interests are all before this Court by proper process for final resolution.

           534.    Plaintiffs and the Class have an obvious and significant interest in the outcome of

   this lawsuit.

           535.    Plaintiffs and the Class purchased, transacted, and/or deposited fiat currency and

   digital assets with accounts with FTX in reliance on the Multinational VC Defendants’ false and

   misleading statements.

           536.    If Plaintiffs and the Class knew the true facts surrounding FTX, Plaintiffs and the

   Class would not have purchased, transacted, or deposited fiat currency and digital assets with FTX

   at the prices paid or at all.

           537.    Thus, there is a justiciable controversy over whether the Multinational VC

   Defendants illegally solicited their purchases, deposits, and other transactions from Plaintiffs and

   the Class.

           538.    Plaintiffs and the Class seek an order declaring that the Multinational VC

   Defendants committed the violations of law alleged herein; enjoining Defendants from continuing

   such legal violations; ordering that the Multinational VC Defendants engage in appropriate and

   equitable remedial measures, such as issuing public announcements to correct their

   misrepresentations of material fact regarding FTX and their own due diligence activities; and

   ordering that each of these Multinational VC Defendants that received financial benefits from their

   wrongful acts detailed herein provide appropriate and equitable restitution to Plaintiffs and

   members of the Class.




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                                   COUNT TWENTY-ONE (All Defendants)
                                    Declaratory Judgment (28 U.S.C. §2201)

           539.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           540.    Plaintiffs seek declaratory relief based upon the Multinational VC Defendants’ role

   in the selling or offering of the YBAs, Deceptive FTX Network, and FTT, which are unregistered

   securities under applicable law, as well as the Multinational VC Defendants’ misrepresentations

   regarding FTX and the results of their due diligence or due diligence more generally.

           541.    There is a bona fide, actual, and present need for the declaratory relief requested

   herein; the declaratory relief prayed for herein deals with a present, ascertained, or ascertainable

   state of facts and a present controversy as to the state of facts; contractual and statutory duties and

   rights are dependent on those facts and law applicable to the facts; the parties have an actual,

   present, adverse, and directly antagonistic interest in the subject matter; and the antagonistic and

   adverse interests are all before this Court by proper process for final resolution.

           542.    Plaintiffs and the Class have an obvious and significant interest in the outcome of

   this lawsuit.

           543.    Plaintiffs and the Class purchased, transacted, and/or deposited fiat currency and

   digital assets with accounts with FTX in justifiable reliance on the Multinational VC Defendants’

   misrepresentations and omissions as described hereinabove.

           544.    If Plaintiffs and the Class had known the true facts surrounding FTX, including but

   not limited to the fact that YBAs are unregistered securities and that the Multinational VC

   Defendants’ representations to Plaintiffs and consumers regarding FTX and Bankman-Fried were

   false, then Plaintiffs and the Class would not have purchased, transacted, or deposited fiat currency

   and digital assets with FTX at the prices paid or at all.



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           545.    Thus, there is a justiciable controversy over whether the YBAs were sold illegally

   and whether the Multinational VC Defendants illegally solicited the purchases, deposits, and other

   transactions made by Plaintiffs and the Class.

           546.    Plaintiffs and the Class seek an order declaring that Defendants committed the

   violations of law alleged herein; enjoining Defendants from continuing such legal violations;

   ordering that the Multinational VC Defendants engage in appropriate and equitable remedial

   measures, such as issuing public announcements to correct their misrepresentations of material

   fact regarding FTX and Bankman-Fried and the results of their own due diligence activities; and

   ordering that each of these Defendants that received financial benefits from its wrongful acts as

   detailed herein provide appropriate and equitable restitution to Plaintiffs and the Class.

                               COUNT TWENTY-TWO (All Defendants)
                                       Punitive Damages

           547.    Plaintiffs repeat and re-allege the allegations contained in all preceding paragraphs

   as if fully set forth herein.

           548.    When the Multinational VC Defendants conspired with and aided and abetted FTX

   and its founder, SBF, in their violations of applicable securities laws, fraud, breaches of fiduciary

   duty, and conversion, the Multinational VC Defendants acted with oppression, fraud, malice,

   and/or gross negligence.

           549.    The Multinational VC Defendants knew of FTX and SBF’s omissions and

   untruthful conduct and misappropriation of Class Members’ funds and nevertheless perpetuated

   their fraud, breaches of fiduciary duty, and conversion by propping up FTX and SBF with funding

   and encouraging Class Members’ investments by bolstering the reputations of FTX and SBF while

   concealing FTX and SBF’s underlying misconduct.




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          550.    The Multinational VC Defendants’ conduct reflects a willful and conscious

   disregard or total indifference to Class Members’ rights and property.

          551.    As a result of this conduct, the Multinational VC Defendants are jointly and

   severally liable for punitive damages.

                                       PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for a judgment on behalf of themselves and the Classes:

              a. Certifying the Class as requested herein.

              b. Awarding actual, direct and compensatory damages.

              c. Awarding restitution and disgorgement of revenues.

              d. Awarding declaratory relief as permitted by law or equity, including declaring the

                  MDL Defendants’ practices as set forth herein to be unlawful.

              e. Awarding injunctive relief as permitted by law or equity, including enjoining the

                  MDL Defendants from continuing those unlawful practices as set forth herein, and

                  directing the MDL Defendants to identify, with Court supervision, victims of

                  their conduct and pay them all money they are required to pay.

              f. Awarding statutory, punitive, and multiple damages, as appropriate.

              g. Awarding attorneys’ fees and costs; and

              h. Providing such further relief as may be just and proper.

                                    DEMAND FOR JURY TRIAL

          Plaintiffs hereby demand a jury trial as to all claims so triable.




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   Respectfully submitted on November 13, 2024,

                                    Plaintiffs’ Co-Lead Counsel

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                                      CERTIFICATE OF SERVICE
            I hereby certify that a true and correct copy of the forgoing was filed on November 13,

   2024, via the Court’s CM/ECF system, which will send notification of such filing to all attorneys

   of record.

                                                              /s/ Adam M. Moskowitz
                                                                  Adam M. Moskowitz




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              Exhibit $
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 1:22-CV-23753-KMM

   EDWIN GARRISON, et al. on behalf of
   themselves and all others similarly
   situated,

          Plaintiff,
   v.

   SAM BANKMAN-FRIED, et al.,

         Defendants.
   __________________________________/



                             DECLARATION OF DAN FRIEDBERG

   I, Dan Friedberg, declare as follows:

          1.      I am a citizen and permanent resident of the United States. I am over 18 and am

   competent to make this Declaration.

          2.      I am admitted to practice law in the State of Washington. I served as chief

   compliance officer of West Realm Shires Services, Inc. (“FTX.US”) and chief regulatory officer

   of FTX Trading Ltd. (“FTX International”) until I resigned as described below. I have personal

   knowledge of the facts stated herein.

          3.      I am providing non-privileged information about aspects of the business of the FTX

   Entities and certain celebrities that served as what we called FTX Brand Ambassadors. As set

   forth below, many of these activities occurred in, and/or were emanated, from our FTX offices in

   Miami, Florida.
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                                                                        CASE NO.: 1:22-CV-23753-KMM




   I.         My Role with FTX International, FTX US, and Alameda Research

              4.     I was introduced to Samuel Bankman-Fried (“Sam”) by his father who is a

   prominent tax professor at Stanford. I represented Alameda Research LLC (“Alameda”) and then

   FTX International as outside counsel when I served as Chair of the Fintech group at an outside law

   firm since about the time that Sam left Jane Street to form his own trading firm.

              5.     In early 2020, when Sam decided to form FTX.US, I left my law firm to work full

   time for him. Ultimately, there were over a dozen lawyers retained, including the General Counsel

   for FTX.US (Ryne Miller), the General Counsel for FTX International (Can Sun), and the General

   Counsel for FTX Ventures (Tim Wilson) (Alameda, FTX International and FTX US shall hereafter

   be referred to as “the Organization”).

              6.     The goal was for the General Counsels to report directly to Sam where possible in

   the case of FTX International, the President of FTX.US in the case of FTX.US, and to the CEO of

   Alameda in the case of FTX Ventures. I oversaw all lawyers -- as needed -- to efficiently deliver

   legal services to the Organization.

        ,,        Events Leading Up to My Resignation From the Organization

                   On November 7, 202, certain FTX personnel including Defendant Sam Bankman-

   Fried informed certain executives in the Bahamas of the existence of an $8 billion customer deficit

   with respect to FTX International.

              8.     The FTX International general counsel contacted me by zoom to inform me of this

   shocking development.

              9.     Prior to this disclosure, I had no idea of any customer deficit. I believed that the

   customer assets were fully funded on a 1:1 basis as represented to customers.



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          10.     I reviewed my ethical obligations and felt that there was substantial risk that I would

   be used to further additional fraud in connection with the additional investment efforts if I stayed

   on. In addition, I no longer trusted Sam, Gary, or Nishad, and did not think that I could proceed

   under such circumstances.

          11.     I therefore tendered my resignation the following day.

      III.      Events Leading Up to My Cooperation With Plaintiffs

          12.     I was named as a Defendant in this action, in the current operative complaint filed

   on December 16, 2022. ECF No. 16.

          13.     After I was served with the Complaint, I called Plaintiffs’ Counsel on March 3,

   2023, to discuss an extension of time to file and serve my Response to the Complaint. I left a

   telephone message and was called back by Plaintiffs’ Counsel. They asked me if I was represented

   in this matter, and I told him that I am a lawyer and that I was proceeding pro se.

          14.     I told Plaintiffs’ Counsel that I did not have any personal knowledge of the issues

   that the Organization was facing, until shortly before my resignation. I also told Plaintiffs’ Counsel

   that I wanted to cooperate and assist for the benefit of the FTX customers.

          15.     I explained to Plaintiffs’ Counsel that at that point in time, I had already spent much

   money paying for counsel and that I had spent significant time disclosing everything I knew about

   these events to various federal officials and parties to the “Bankruptcy Action,” pending in the

   United States Bankruptcy Court for the District of Delaware and styled In re: FTX Trading Ltd.,

   et al., No. 22-11068-JTD.

          16.     Plaintiffs’ Counsel informed me to make sure to not reveal any information that

   could be covered by attorney-client privilege and/or any other potentially applicable privilege or

   confidentiality protections. I certainly agreed and have not disclosed any such information.



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           17.     Plaintiffs’ Counsel further asked me to make sure that any cooperation I provided

   to Plaintiffs, and the proposed Class, would not in any manner interfere with, and/or run contrary

   to any state or federal investigations. I agreed and reaffirmed to them that I had met extensively

   with federal authorities to assist with their investigation against the perpetrators.

           18.     Against this backdrop, I represented to Plaintiffs’ Counsel that I was more than

   willing to help the injured FTX customers, and we agreed that we would explore a possible

   resolution, whereby I would: (a) provide proof that I did not have significant, non-exempt assets

   in light of the quantum of damages sought, available to provide monetary relief to Plaintiffs or the

   Class, in the event they obtained a judgment against me in this Action, and (b) provide non-

   privileged information and assistance that could benefit the harmed customers in terms of seeking

   out and obtaining possible recoveries. After reviewing all the applicable facts and evidence,

   Plaintiff’s Counsel confirmed that Plaintiffs and the Class would seek preliminary (and then final)

   approval by the Court, of a proposed class-wide settlement and resolution of the claims against

   me.

           19.     I have been very careful not to provide Plaintiffs, and the Class, with any

   information that could ever be considered as covered by the attorney-client privilege and/or any

   other potentially applicable privilege or protection.

         IV.     FTX’s Miami Office and Miami-Based Business Activities


           20.     FTX maintained an office in Miami, Florida, since early 2021, long before we

   eventually moved FTX’s Domestic headquarters to Brickell in late 2022. Since early 2021, our

   Miami office was run by Mr. Avinash Dabir, who originally worked for Blockfolio, which FTX

   later acquired, and eventually became FTX’s Vice President of Business Development. I met with

   Mr. Dabir often and I am very familiar with him and his activities.


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          21.      Mr. Dabir, operated from our Miami office, and he was focused on formulating and

   executing our important FTX celebrity partnerships. Mr. Dabir had a lot of prior experience

   working with some of the major sports industries, including the NBA.

          22.      It is my opinion that Mr. Dabir was very good at his job, and it was his idea to

   expend significant resources on FTX’s sports and celebrity-based partnerships.        Mr. Dabir

   specifically started by suggesting FTX form a Partnership with the Miami Heat and the naming

   rights to the Miami Arena. FTX announced the Partnership in March 2021, and included FTX

   purchasing the naming rights of the Miami Heat stadium for 19 years in a deal worth approximately

   $135 million.

          23.      The naming of the “FTX Arena” served an important centerpiece for our efforts to

   reach other FTX partnerships with celebrities and other well-known partners. Mr. Dabir was the

   senior FTX executive responsible for creating, consummating, and implementing deals between

   FTX and other Partners, such as Major League Baseball, the MLB Umpire’s Association, TSM,

   the Mercedes Formula 1 team, Tom Brady, Stephen Curry, the Golden State Warriors, Naomi

   Osaka, Larry David, and Shohei Ohtani.

          24.      Having Larry David agree to conduct a commercial for FTX during the 2022 Super

   Bowl was a very big event for FTX because, to my knowledge, it was the first time that he had

   ever agreed to serve as a spokesperson for any product. Mr. Dabir deserves much of the credit for

   creating that idea and concept and collaborating with Mr. David and his team, resulting in the

   award-winning Super Bowl FTX commercial that aired with the Super Bowl in 2022.




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          25.     If called upon to testify, I would testify competently to the facts set out in this

   Declaration. I declare under penalty of perjury under the laws of the United States of America that

   the foregoing is true and correct.

   Dated: May 7, 2023




                                                        __________________________
                                                              Daniel Friedberg




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   <>;9<@8E 25:-85F10 @41 @1>9? ;2 - ?1@@8191:@ ?@5<A8-@5;: C5@4 -@@;>:1E? 2;> #8-5:@522? -:0 /8-??

   919.1>?-:0;:1.>A->E            ?-@2;>-:5:5@5-8<>;221>?1??5;:C5@4-@@;>:1E?>1<>1?1:@5:3

   #8-5:@522? -:0 /8-?? 919.1>? 5: @45? 9A8@505?@>5/@ 85@53-@5;:  4-B1 -3>110 @; ?5@ 2;> -005@5;:-8

   <>;221>?1??5;:?-:0@;<>;B501;@41>5:2;>9-@5;:@;#8-5:@522?-:0/8-??919.1>?5:@45?/-?1

        

                   )41:6;5:108-910-5@C-?41-0=A->@1>105:1>7181E-852;>:5-8@4;A34

   8-910- 9;B10 5@? 41-0=A->@1>? @; ;:3 ;:3 5:   5@ 9-5:@-5:10 -@ 81-?@ ;:1 ;225/1 5:

   -852;>:5-@4>;A34@41/;88-<?1;2&*5:!;B19.1>               C41@41>-?@-:0-8;:1;225/1;>C5@45:

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Case 1:23-md-03076-KMM Document 783 Entered on FLSD Docket 11/19/2024 Page 212 of
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   &*J?;225/1

                 &*'%9-5:@-5:109A8@5<81;225/1?5:@41':5@10%@-@1?5:/8A05:3.A@:;@8595@10

   @;8;/-@5;:?5: 5-95%-:>-:/5?/;45/-3;-:0!1C+;>71>@-5:&*'%19<8;E11?-8?;

   ;//-?5;:-88EC;>710;A@;28-910-J?1>7181E;225/1

                 @@41@591;2&*'%J?-/=A5?5@5;:;28;/72;85;5:950@;8-@1  5@3-5:10

   19<8;E11 >B5:-?4-.5>-8;:3C5@4;@41>@41:8;/72;85;19<8;E11? >-.5>-:0/1>@-5:

   ;@41> 8;/72;85; 19<8;E11? .1/-91 .-?10 -@ 81-?@ 5: <->@ 5:     5-95 >;9       A:@58 &*J?

   /;88-<?1 >-.5>1D1/A@10?;91;2&*J?B->5;A?<A.85/5@E/-9<-53:?2>;9- 5-95;225/1

       >-.5>C;>710C5@4;@41>&*-:0&*'%19<8;E11?@4-@050@41?-91?;91-8?;.-?10;A@

   ;2 5-95&41?1/-9<-53:?5:/8A010&*J?9-:E/181.>5@E<->@:1>?45<?-?C188-?5@?<->@:1>?45<

   C5@4@41 5-951-@-:0/;>>18-@5B1<A>/4-?1;2@41:-95:3>534@?@;@41 5-951-@?@-05A9

   C45/4.1/-91&*>1:-&*'%4-0-@81-?@@C;2>;:@>;C?1-@?-:0-?A5@12;> 5-951-@

   3-91?-@@41&*>1:-C45/4C-?5:2;>910&*'%@;;7122;>@?@;2588C5@4.A?5:1??<->@:1>?

                 :950@;8-@1      &*'%-/=A5>101031>*-:0?A.?1=A1:@8E>1.>-:0105@-?

   &*'%1>5B-@5B1? >1D@1><>1B5;A?8E@414512D1/A@5B1"225/1>;21031>*/;:@5:A10

   -?@41";2&*'%1>5B-@5B1?-2@1>@411031>*-/=A5?5@5;:-:0>1:-91:                >1D@1>

   -:0&*'%1>5B-@5B1?4512&1/4:;8;3E"225/1>>-:0;:;@->-C1>185B5:35: 5-95

                    >1D@1>05>1/@10@41122;>@?@;?@->@A<&*'%1>5B-@5B1?J2A@A>1?@>-05:31

   C;>7102>1=A1:@8EC5@4%;:45?<;85@5/-8122;>@?C5@4181/@10;225/5-8?-:0;>>13A8-@;>?-:041

   ;2@1:@>-B1810@;)-?45:3@;:-?->1?A8@@C-?-<<->1:@@;91@4-@;:1;2@419;?@<>;95?5:3

   ;>B-8A-.81<51/1?;2&*'%C-?&*'%1>5B-@5B1?-:09;>1?<1/525/-88E5@?-.585@E@;1:3-31

   5: 2A@A>1? @>-05:3  .1851B1 @41 -0B-:@-31? @4-@ ?A/4 85/1:?1? -:0 @1/4:;8;3E 81:@ @; &* '%

   1>5B-@5B1?-:0.E1D@1:?5;:&*'%C1>1:;@-.81-:0@41EC;A804-B1-0010B-8A1@;-:E

   5:B1?@91:@5:&*'%

                %1B1>-8 ;2 &*J? <-E91:@? @1-9 919.1>? C1>1 8571C5?1 .-?10 5: @41 3>1-@1>

       5-95->1-5:/8A05:31??5/- ;?1>-8-65 A0-85E->-:0"?/-> 1??5:->&41?119<8;E11?

   C;>7105:@415>/-<-/5@E-?919.1>?;2@41<-E91:@?@1-92;>@41.1:125@;2.;@4&*&>-05:3

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   -:0&*'%&45?<-E91:@?@1-9C-?C;>75:3@;C->0?<>;B505:39A8@5<8101<;?5@-:0C5@40>-C-8

   ;<@5;:?2;>&*-:0&*'%/A?@;91>?@;9-:-31@415>25-@/A>>1:/E9;:3;@41>91-:?5@

   -/451B10 @45? .E <->@:1>5:3 C5@4 (5?- @; 5??A1 />105@ /->0? @4-@ -88;C10 &* '% /A?@;91>? @;

   1221/@5B18EC5@40>-C2A:0?;:@41<8-@2;>9

                 :%1<@19.1>        %-::;A:/10@;@41/;9<-:E;B1>B501;/;:21>1:/1@4-@@41

       5-95;225/1C;A80.1/;91@41;225/5-8&*'%41-0=A->@1>?-:0@4-@5@C;A80/8;?15@?;@41>

   ;225/1? 5: 2-B;> ;2 @41    5-95 8;/-@5;: &45? ?181/@5;: ;2   5-95 ;//A>>10 2;> 9-:E >1-?;:?

   5:/8A05:3-01?5>1@;/;:?;850-@1;<1>-@5;:?5:@41':5@10%@-@1?&*'%19<8;E11?J<>121>1:/1

   2;>   5-95 2;> ?A/4 /;:?;850-@5;:     5-95J? /8;?1 <>;D595@E @; @41 -4-9-? -:0 1-?1 ;2 @>-B18

   .1@C11: @41 @C; 8;/-81? > 1D@1>J? ?@-@A>1 C5@45: &* '% %J? >18-@5;:?45< C5@4 5-95

   9-E;> >-:/5? %A->1F       5-95J? ?@-@A? -? -: 5:2;>9-8 H/>E<@; 4A.I -:0 @41 >1.>-:05:3 ;2 @41

       5-951-@->1:--?&*>1:-:@412;88;C5:30-E?-@81-?@@C1:@E;:119<8;E11?:;@-8>1-0E

   8;/-@105: 5-955:05/-@10@41EC;A809;B1@; 5-95?;;:"@41>?5:05/-@10@41EC;A80?<1:0

   @41 9-6;>5@E ;2 @415> @591 5: 5-95 &* '% ?181/@10 - :1C .5331> ;225/1 ?<-/1 5:     5-95 @;

   1D<-:05:@;-?<->@;2@41>18;/-@5;:;25@?;225/5-841-0=A->@1>?

                 B1:@4;A34&*&>-05:3C-?:;@.-?105:@41':5@10%@-@1?-@81-?@;:1;2%

   -:0 $-9:57 >;>- &* &>-05:3J? 41-0 ;2 <>;0A/@ @>-B1810 @; @41 ':5@10 %@-@1? ;: -B1>-31

   >;A348E1B1>E;@41>C117@;911@C5@4.A?5:1??<->@:1>?5:/8A05:35:B1?@;>??<1/525/-88E>1/-88

   @4-@@41?1@>5<?;2@1:@;;7@419@;-@-95:59A9)-?45:3@;:!1C+;>7-:0 5-95

                 1?<5@1      > >;>-J? @5@81 41 ;2@1: 2;/A?10 ;: &*J? 2A:0>-5?5:3 122;>@? 2>;9

   B1:@A>1/-<5@-85?@5:B1?@;>?C45/4-8;:1/;A804-B1/;:?@5@A@10-2A88@5916;.2;>45931:1>-88E

   A:01>?@;;0@4-@@410A1058531:/1<>;/1??5:B1?@;>?A:01>@;;75:/;::1/@5;:C5@4-:E5:B1?@91:@

   5:&*C-?->0A;A?>1/-8881->:5:32>;9 >>;>-@4-@&19-?175:<->@5/A8->1:3-3105:-:

   1?<1/5-88E 8;:3 0A1 058531:/1 5:B1?@53-@5;: ;2 &* <>5;> @; 5@? 5:B1?@91:@ ;:1 @4-@ 8-?@10 2;>

   ?1B1>-8 9;:@4?  >1/-88 ;:/1 05?/A??5:3 C5@4        > >;>- 4;C &19-?17 C-? -9;:3 @41 9;?@

   019-:05:35:B1?@;>?2;>0A1058531:/101?<5@1.15:3?1@A<@;>1/15B1@41.1?@@1>9?2>;9&*2;>

   5@?5:B1?@91:@@4-@>;A:0 >>;>-5:2;>91091@4-@45?/;A:@1><->@-@@41&19-?17@1-94-0-@

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   @591?3>;C:2>A?@>-@10C5@4@411D@1:@;2@410A1058531:/1@4-@45?25>9019-:010<>5;>@;@41&*

   5:B1?@91:@

                   "@41>?1:5;>&*19<8;E11??A/4-?$E-:%-8-91-:0-:>510.1>3@>-B1810

   .-/7-:02;>@4.1@C11:@41'%-:0@41-4-9-?@4;A34:;@=A5@1-?;2@1:-?%;> >>;>-

   ;@4&*&>-05:3-:08-910-1B1:-2@1>5@?41-0=A->@1>?9;B10-C-E2>;95@?1>7181E>;;@?

   9-5:@-5:1019<8;E11?@4>;A34;A@@41'%5:45/-3; 5-95-852;>:5-)-?45:3@;:-:0

   !1C+;>7

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                    >;9@591@;@591&*5:B1?@;>?C;A80B5?5@@41&*;225/1?-:0?;/5-85F1C5@4

   &*19<8;E11?-@&*J?;225/1-:08.-:E;>1D-9<81>1/-88 5/41881>-05:;2%1=A;5-

   -<5@-8B5?5@5:3&*5:@41-4-9-?;:-:A9.1>;2;//-?5;:?>;99E;.?1>B-@5;:??41?<;71

   <>59->58EC5@4%-:0?41-8?;?;/5-85F10C5@4%-:0;@41>&*19<8;E11?-@8.-:E

                    -8?;>1/-88@4-@-<<>;D59-@18E25B1%5:;8;.-8-<5@-819<8;E11?C;>710;A@;2

   @41&*;225/1?5:@41-4-9-?&41E050:;@4-B1@415>;C:?1<->-@1C-8810;22?<-/1C5@45:@41

   &* ;225/1? .A@ C1>1 C;>75:3 -9;:3?@ &* 19<8;E11? -:0 ?4->10 C5@4 @4;?1 19<8;E11?

   /;99;: ?<-/1? ?A/4 -? @41 ;225/1 75@/41: >1?@>;;9? 1@/ &41E 8571  -:0 ?1B1>-8 ;@41> &*

   19<8;E11? -8?; 85B10 -@ ;> 2>1=A1:@8E B5?5@10 8.-:E C4581 @41E C1>1 C;>75:3 2>;9 @41 &*

   ;225/1?

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                    -88;C10;@41>?@-22-@8-910-&*@;A?19E.-:7-//;A:@@;9-71<;85@5/-8

   0;:-@5;:?@;/-:050-@1?-:0;>3-:5F-@5;:?5:@41':5@10%@-@1?%;91;2@41?10;:-@5;:?C1>19-01

   @;>1/5<51:@?5:8;>50-5:/8A05:3@; ;B5:3>;C->0;>C->0#;5?>-:7182;>;:3>1??

   -?@;>2;>;:3>1??-:0@41:-#-:0?;91C1>19-01@;>1/5<51:@?5:-852;>:5-5:/8A05:3

       -@?A52;>;:3>1??-:0::-?4;;2;>;:3>1??* 

                    &412A:0?2;>9-:E;2@41?10;:-@5;:?;>535:-@102>;98-910-:;CA:01>?@-:0

   @4-@;:1;2@41-//;A:@?8-910-?1:@@41?12A:0?2>;9C-?5@?-//;A:@-@%58B1>3-@1-:78;/-@10

   5:-852;>:5-:@41?15:?@-:/1?@412A:0?28;C102>;98-910-J?%58B1>3-@1-//;A:@@4>;A34

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   9E<1>?;:-8.-:7-//;A:@-@#>591&>A?@-:75:!1B-0-.12;>1@>-:?21>@;@41/-:050-@1?@415>

   /-9<-53:?-:0;><;85@5/-8-/@5;:/;995@@11?

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   !5?4-0%5:3401/8->1A:01>@41<1:-8@E;2<1>6A>E@4-@@412;>13;5:35?@>A1-:0/;>>1/@
   
           D1/A@10;:1.>A->E                                                   
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                             Certificate of Accuracy
  Transcription of 40 The Crypto Company Spending 500 Million
   On Sports Partnerships With Avinash Dabir.mp3 in English

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Case
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                                      Exhibit A
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          FIRST INTERIM REPORT OF JOHN J. RAY III TO THE INDEPENDENT
            DIRECTORS ON CONTROL FAILURES AT THE FTX EXCHANGES




                                      April 9, 2023
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    I.      Introduction

                     FTX Trading Ltd. (“FTX.com” and, together with its U.S. counterpart, FTX.US,

    the “FTX exchanges”) was among the world’s largest cryptocurrency exchanges, where millions

    of customers bought, sold and traded crypto assets. The FTX exchanges gained international

    prominence for their popularity among users, their high-profile acquisitions and celebrity

    endorsements, and the public image of Sam Bankman-Fried, their co-founder and CEO, as a

    philanthropist who worked to enhance standards, disclosure, oversight, and customer protection

    in the crypto industry. 1 On November 11, 2022, however, capping a stunning collapse that

    began just nine days earlier with the revelation of financial weakness at their affiliated trading

    firm, Alameda Research LLC (“Alameda”), the FTX exchanges and certain entities under

    common ownership (the “FTX Group”) 2 filed for bankruptcy (the “Chapter 11 Cases”). Within
                                                  1F




    weeks, Bankman-Fried was charged with perpetrating a multibillion-dollar fraud through the

    FTX Group with at least three senior insiders, who have pleaded guilty in connection with the

    scheme.

                     When the Chapter 11 Cases were first filed, the Debtors 3 identified five core

    objectives: (1) implementation of controls, (2) asset protection and recovery, (3) transparency

    and investigation, (4) efficiency and coordination with any non-U.S. proceedings and




    1
             See David Yaffe-Bellany, A Crypto Emperor’s Vision: No Pants, His Rules, N.Y. TIMES, May 14, 2022,
    https://www.nytimes.com/2022/05/14/business/sam-bankman-fried-ftx-crypto.html?.

    2
            The “FTX Group” refers to FTX Trading Ltd., West Realm Shires Services Inc., d/b/a FTX.US, Alameda
    Research LLC, and their directly and indirectly owned subsidiaries.
    3
              The Debtors comprise the approximately one hundred entities associated with the FTX Group listed at
    https://restructuring.ra.kroll.com/FTX.

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    (5) maximization of value. 4 It is in furtherance of these core objectives, particularly

    transparency, that this first interim report is issued. The Debtors plan to issue supplemental

    reports which describe the cause and effect of the pre-petition events which lead up to the

    Chapter 11 Cases.

                      In working to achieve their objectives, the Debtors have had to overcome unusual

    obstacles due to the FTX Group’s lack of appropriate record keeping and controls in critical

    areas, including, among others, management and governance, finance and accounting, as well as

    digital asset management, information security and cybersecurity. Normally, in a bankruptcy

    involving a business of the size and complexity of the FTX Group, particularly a business that

    handles customer and investor funds, there are readily identifiable records, data sources, and

    processes that can be used to identify and safeguard assets of the estate. Not so with the FTX

    Group.

                      Upon assuming control, the Debtors found a pervasive lack of records and other

    evidence at the FTX Group of where or how fiat currency and digital assets could be found or

    accessed, and extensive commingling of assets. This required the Debtors to start from scratch,

    in many cases, simply to identify the assets and liabilities of the estate, much less to protect and

    recover the assets to maximize the estate’s value. This challenge was magnified by the fact that

    the Debtors took over amidst a massive cyberattack, itself a product of the FTX Group’s lack of

    controls, that drained approximately $432 million worth of assets on the date of the bankruptcy




    4
             First Day Declaration of John Ray III, Dkt 24 (“First Day Declaration”) ¶ 6. See also Presentation to the
    Official Committee of Unsecured Creditors, Dkt 507 at 7; Presentation to the Official Committee of Unsecured
    Creditors, Dkt 792 (describing efforts to assess exchange shortfalls); Presentation to the Official Committee of
    Unsecured Creditors, Dkt 1101 (describing statement of financial affairs).

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    petition (the “November 2022 Breach”), 5 and threatened far larger losses absent measures the
                                                      4F




    Debtors immediately implemented to secure the computing environment.

                       Despite the public image it sought to create of a responsible business, the FTX

    Group was tightly controlled by a small group of individuals who showed little interest in

    instituting an appropriate oversight or control framework. These individuals stifled dissent,

    commingled and misused corporate and customer funds, lied to third parties about their business,

    joked internally about their tendency to lose track of millions of dollars in assets, and thereby

    caused the FTX Group to collapse as swiftly as it had grown. In this regard, while the FTX

    Group’s failure is novel in the unprecedented scale of harm it caused in a nascent industry, many

    of its root causes are familiar: hubris, incompetence, and greed.

                       This first interim report provides a high-level overview of certain of the FTX

    Group’s control failures in the areas of (i) management and governance, (ii) finance and

    accounting, and (iii) digital asset management, information security and cybersecurity. The

    report does not address all control failures in these or other areas. The Debtors continue to learn

    new information daily as their work progresses and expect to report additional findings in due

    course.

    II.       Background

                       The following is a brief description of the FTX Group entities most relevant to

    this interim report.

              A.       Alameda

                       Founded in 2017 by Bankman-Fried and Gary Wang, Alameda operated as a

    “crypto hedge fund” that traded and speculated in crypto assets and related loans and securities




    5
              All crypto asset values set forth in this report are as of the petition date, November 11, 2022.

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    for the account of its owners, Bankman-Fried (90%) and Wang (10%). 6 Alameda also offered

    over-the-counter trading services and made and managed other debt and equity investments.

    Beginning in October 2021, Caroline Ellison acted variously as CEO and co-CEO of Alameda,

    which was organized in the State of Delaware.

               B.          FTX.com

                           Founded in 2019 by Bankman-Fried and Wang, FTX.com was a digital asset

    trading platform and exchange that was organized in Antigua and represented as being off-limits

    to U.S. users. 7 FTX.com was operated, at the most senior level, by Bankman-Fried, Wang, and

    Nishad Singh, who had worked at Alameda and joined FTX.com soon after it was launched. By

    November 2022, FTX.com had more than seven million registered users around the world.

               C.          FTX.US

                           Founded in January 2020 by Bankman-Fried, Wang, and Singh, FTX.US was an

    exchange for spot trading in digital assets and tokens in the United States. The FTX.US platform

    was organized in the State of Delaware. By November 2022, FTX.US had over one million U.S.

    users. 8

    III.       Scope of Review

               A.          Retention of Advisers

                           In connection with the Chapter 11 Cases and related matters, the Debtors have

    retained a number of advisers, including: 9


    6
               First Day Declaration ¶ 22.

    7
               See id. ¶ 33.

    8
               Id. ¶ 21.

    9
              This summary is limited to the advisers, and the work these advisers are performing, on the control failures
    that are relevant to this interim report. As noted in the Debtors’ Chapter 11 filings, some of these advisers have
    additional responsibilities, and the Debtors have retained additional advisers beyond those listed here to assist with
    other important matters of the estate.

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         x    Legal: The Debtors retained Sullivan & Cromwell LLP as lead counsel to assist in the
              filing and prosecution of the Chapter 11 Cases, investigating potential causes of action
              and avenues of recovery for the Debtors’ estate, and responding to requests from
              government authorities, among other matters. The Debtors also retained Quinn
              Emanuel Urquhart & Sullivan LLP as Special Counsel to assist the Debtors and the
              Board in litigating bankruptcy-related matters against third parties, and investigating and
              prosecuting certain claims, including asset recovery actions.

         x    Restructuring, asset identification and forensic accounting: The Debtors retained
              Alvarez & Marsal North America, LLC (“A&M”) as their restructuring adviser to assist
              in identifying, quantifying, and securing liquid and crypto assets, investments, and other
              property of the Debtors’ estate, as well as development of ongoing business plans and
              supporting the overall restructuring process. The Debtors also retained AlixPartners
              LLP (“AlixPartners”) to assist in tracing and analyzing financial and accounting data,
              including trading activity and FTX Group internal transfers, and re-constructing
              historical financial statements for each Debtor entity.

         x    Cybersecurity, computer engineering, and cryptography: The Debtors retained
              Sygnia, Inc. (“Sygnia”) to secure their computing environment following the November
              2022 Breach; to identify and secure the Debtors’ remaining digital assets; to investigate
              the November 2022 Breach; and to perform technical and forensic analysis in support of
              the Debtors’ other ongoing work to recover assets.

         x    Blockchain analytics: The Debtors retained TRM Labs, Inc. (“TRM”) and Chainalysis
              Inc. (“Chainalysis”) to engage in blockchain analysis to assist A&M and Sygnia in
              identifying crypto assets of the Debtors, and to monitor crypto assets stolen in the
              November 2022 Breach, including in order to work with law enforcement and other
              third parties to attempt to freeze and recover the stolen assets.

    Identifying and recovering assets of the Debtors’ estate, and identifying potential claims of the

    estate, requires extensive coordination among these advisers, particularly given the FTX Group’s

    lack of adequate record keeping and extensive commingling of assets.

             B.     Data Collection

                    To date, the Debtors have reviewed over one million documents collected from

    Debtor entities around the world, including communications (e.g., Slack, Signal, email) and other

    documents (e.g., Excel spreadsheets, Google Drive documents). The Debtors have also been

    engaged in substantial analysis of FTX Group customer transaction data, which is housed in

    databases that are over one petabyte (i.e., 1000 terabytes) in size. The Debtors’ review of

    relevant documents and customer transaction data remains ongoing.
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                    The Debtors have also reviewed and analyzed the FTX Group’s available

    financial records. These include QuickBooks, which certain entities in the FTX Group used as

    their general ledgers; certain bank statements; financial statements; tax returns; promissory notes

    evidencing intercompany loans; spreadsheets recording real estate transactions, political and

    charitable contributions, and venture investments; and Slack channels devoted to expense

    reimbursements and related matters.

                    Finally, the Debtors have analyzed a small set of laptops and other electronic

    devices of certain employees of the FTX Group, and continue to collect such devices. The set of

    electronic devices in the Debtors’ possession does not include those known to have belonged to

    Bankman-Fried and other key insiders that are currently in the possession of the Bahamian Joint

    Provisional Liquidators (“JPLs”) and are the subject of ongoing discussion between the Debtors

    and the JPLs.

           C.       Witnesses

                    To date, the Debtors have conducted interviews of 19 employees of the FTX

    Group, and received substantial information through counsel for five others. These include

    interviews of employees who worked in Policy and Regulatory Strategy, Information

    Technology, Controllers, Administration, Legal, Compliance, and Data Science and Engineering,

    among others. The Debtors continue to identify, interview, and collect information from

    potentially relevant witnesses.

                    While Singh, Wang, and Ellison have pleaded guilty pursuant to cooperation

    agreements with the Justice Department, it is generally not feasible for the Debtors to interview

    them on key subjects until after the ongoing criminal prosecution of Bankman-Fried has

    concluded. Wang has provided discrete assistance to the Debtors’ financial and technical

    advisors.

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    IV.     Review of Control Failures

                     The FTX Group’s control failures created an environment in which a handful of

    employees had, among them, virtually limitless power to direct transfers of fiat currency and

    crypto assets and to hire and fire employees, with no effective oversight or controls to act as

    checks on how they exercised those powers. These employees, particularly Bankman-Fried,

    deprioritized or rejected advice to improve the FTX Group’s control framework, exposing the

    exchanges to grave harm from both external bad actors and their own misconduct.

            A.       Lack of Management and Governance Controls

                     The FTX Group lacked appropriate management, governance, and organizational

    structure. As a result, a primary objective of the Debtors has been to institute an appropriate

    governance framework from the outset of the bankruptcy.

                     1.       FTX Group Management and Governance

                     The management and governance of the FTX Group was largely limited to

    Bankman-Fried, Singh, and Wang. Among them, Bankman-Fried was viewed as having the

    final voice in all significant decisions, and Singh and Wang largely deferred to him. 10 These

    three individuals, not long out of college and with no experience in risk management or running

    a business, controlled nearly every significant aspect of the FTX Group. With isolated

    exceptions, including for FTX.US Derivatives (“LedgerX”), a non-Debtor entity it acquired in

    late 2021, FTX Japan, a Debtor acquired in 2022, and Embed Clearing LLC, a non-Debtor

    acquired in 2022, the FTX Group lacked independent or experienced finance, accounting, human

    resources, information security, or cybersecurity personnel or leadership, and lacked any internal

    audit function whatsoever. Board oversight, moreover, was also effectively non-existent.


    10
             See, e.g., SEC v. Caroline Ellison et al., 22-cv-10794 (S.D.N.Y. Dec. 21, 2022), Compl. ¶¶ 21, 25, 45(b),
    45(c), 46, 67, 96, Dkt 1; SEC v. Nishad Singh, 23-cv-01691 (S.D.N.Y. Feb. 28, 2023), Compl. ¶¶ 8, 9, 32, 34, 40,
    50-51, 67, 90, 100, Dkt 1.

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                   Most major decision-making and authority sat with Bankman-Fried, Singh, and

    Wang, and numerous significant responsibilities were not delegated to other executives or

    managers even where such individuals had been hired. Commenting on Wang’s and Singh’s

    control over the FTX Group’s technology development and architecture, an FTX Group

    executive stated that “if Nishad [Singh] got hit by a bus, the whole company would be done.

    Same issue with Gary [Wang].”

                   Efforts to clarify corporate responsibilities and enhance compliance were not

    welcome and resulted in backlash. For example, the President of FTX.US resigned following a

    protracted disagreement with Bankman-Fried and Singh over the lack of appropriate delegation

    of authority, formal management structure, and key hires at FTX.US; after raising these issues

    directly with them, his bonus was drastically reduced and senior internal counsel instructed him

    to apologize to Bankman-Fried for raising the concerns, which he refused to do. Similarly, less

    than three months after being hired, and shortly after learning about Alameda’s use of a North

    Dimension bank account to send money to customers of the FTX exchanges, a lawyer within the

    FTX Group was summarily terminated after expressing concerns about Alameda’s lack of

    corporate controls, capable leadership, and risk management.

                   Echoing its lack of appropriate management and governance structure, the FTX

    Group lacked an appropriate organizational structure. Rather than having an ultimate parent

    company able to serve as a central point for decision-making that could also direct and control its

    subsidiaries, the FTX Group was organized as a web of parallel corporate chains with various

    owners and interests, all under the ultimate control of Bankman-Fried.

                   The FTX Group’s lack of management and governance controls also manifested

    in the absence of any comprehensive organizational chart of the FTX Group entities prior to the

    end of 2021, and the lack of any tracking of intercompany relationships and ownership of

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    particular entities. At the time of the bankruptcy filing, the FTX Group did not even have

    current and complete lists of who its employees were.

                   2.       Debtors’ Management and Governance

                   A primary objective of the Debtors was to institute an appropriate management,

    governance, and structural framework at the outset of the bankruptcy. To do so, the Debtors

    arranged the conduct of the Chapter 11 Cases into four groups of businesses, or “Silos,” for

    organizational purposes: (a) Debtor West Realm Shires Inc. and its Debtor and non-Debtor

    subsidiaries (the “WRS Silo”), which includes the businesses known as FTX.US, LedgerX,

    FTX.US Derivatives, FTX.US Capital Markets, and Embed Clearing, among other businesses;

    (b) Debtor Alameda Research LLC and its Debtor subsidiaries (the “Alameda Silo”); (c) Debtor

    Clifton Bay Investments LLC, Debtor Clifton Bay Investments Ltd., Debtor Island Bay Ventures

    Inc. and Debtor FTX Ventures Ltd. (the “Ventures Silo”); and (d) Debtor FTX Trading Ltd. and

    its Debtor and non-Debtor subsidiaries (the “Dotcom Silo”), including the exchanges doing

    business as “FTX.com” and similar exchanges in non-U.S. jurisdictions. The Debtors then

    moved expeditiously to build a Board of Directors that, for the first time, would provide

    independent oversight of the disparate corporate chains that constituted the FTX Group.

                   As previously set forth in filings in the Chapter 11 Cases, the Debtors appointed a

    board of directors (the “Board”) consisting of five directors with respective silo

    responsibilities. 11 These directors were wholly independent from the FTX Group, and have a

    wealth of experience in complicated restructuring matters well suited to the Debtors’ present




    11
           First Day Declaration ¶¶ 46-47.

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    circumstances. 12 The Board meets effectively on a weekly or more frequent basis on matters of

    common interest of the Silo directors, including the objectives set forth above. 13

                      The Debtors appointed John J. Ray III as their Chief Executive Officer, Mary

    Cilia as their Chief Financial Officer, Kathryn Schultea as their Chief Administrative Officer,

    and Raj Perubhatla as their Chief Information Officer. These officers each have extensive

    experience in providing crisis management services, including work relating to complex

    financial and operational restructurings, to distressed and under-performing companies.

    Collectively, these executives have over 125 years of experience, including at senior

    management levels of public companies.

             B.       Lack of Financial and Accounting Controls

                      At its peak, the FTX Group operated in 250 jurisdictions, controlled tens of

    billions of dollars of assets across its various companies, engaged in as many as 26 million

    transactions per day, and had millions of users. Despite these asset levels and transaction

    volumes, the FTX Group lacked fundamental financial and accounting controls. Reconstruction

    of the Debtors’ balance sheets is an ongoing, bottom-up exercise that continues to require

    significant effort by professionals.




    12
            Id. The Director of the WRS Silo is Mitchell I. Sonkin, a Senior Advisor to MBIA Insurance Corporation.
    The Director of the Alameda Silo is Matthew R. Rosenberg, a Partner at Lincoln Park Advisors. The Director of the
    Ventures Silo is Rishi Jain, a Managing Director and Co-Head of the Western Region of Accordion. The Director of
    the Dotcom Silo, and the Lead Independent Director, is the Honorable Joseph J. Farnan, who served for almost three
    decades as a United States District Judge for the District of Delaware.

    13
               At this phase in the Chapter 11 Cases, the Debtors are focused on asset recovery and maximization of value
    for all stakeholders through the eventual reorganization or sale of the Debtors’ complex array of businesses,
    investments and property around the world. The Debtors believe that all Silos benefit from this central
    administration process and full visibility of the assets being obtained, and the various sales processes being run, with
    all Silo Directors participating in the relevant decision-making processes in order to flag any inter-Silo issues early.
    At a later stage in the Chapter 11 Cases, when the Debtors’ assets have been appropriately marshaled and secured,
    the Board and Debtors will turn their focus to distributional matters. The Board has also implemented appropriate
    procedures for the resolution of any conflicts of interest among the Silos and if necessary as the case progresses, any
    Silo may engage independent counsel in connection with the resolution of intercompany claims which, as the
    Debtors have previously noted, are likely to be complex but are still in the process of being assessed.
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                   1.      Lack of Key Personnel, Departments and Policies

                   The FTX Group did not have personnel who were experienced and

    knowledgeable enough to account accurately for assets and liabilities, understand and hedge

    against risk, or compile and validate financial reports. Key executive functions, including those

    of Chief Financial Officer, Chief Risk Officer, Global Controller and Chief Internal Auditor,

    were missing at some or all critical entities. Nor did the FTX Group have any dedicated

    financial risk, audit, or treasury departments. Although certain of the FTX Group entities

    nominally employed individuals responsible for accounting at those entities, in many instances,

    those individuals lacked the requisite expertise and had little or no internal staff. As a general

    matter, policies and procedures relating to accounting, financial reporting, treasury management,

    and risk management did not exist, were incomplete, or were highly generic and not appropriate

    for a firm handling substantial financial assets.

                   Indeed, in late December 2020, when the FTX Group learned, in connection with

    exploring a potential direct listing on NASDAQ, that FTX.US would have to be audited, and that

    this audit would include a review of policies and procedures, senior FTX Group personnel

    scrambled to cobble together purported policies that could be shown to auditors. In requesting

    the assistance of certain employees in quickly writing policies, FTX Group management

    informed them that because the “auditors [would] spend time in understanding and reviewing

    [FTX] internal processes,” internal controls would have to be documented. FTX Group

    management asked employees “well-versed with” “parts of the [work]flow” to provide first

    drafts of policies and procedures in a mere 24 hours. It is unclear to what extent the resulting

    policies—which were prepared by editing off-the-shelf precedents provided by the FTX Group’s

    outside accountants—reflected the reality of the FTX Group’s business, but they were never

    formally promulgated, and no employees were ever trained on them.

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                     The FTX Group principally relied on a small outside accounting firm to perform

    almost all of its basic accounting functions. Although the outside accountants’ public profile is

    limited, it appears to have a small number of employees and no specialized knowledge relating to

    cryptocurrencies or international financial markets. There is no evidence that the FTX Group

    ever performed an evaluation of whether its outside accountants were appropriate for their role

    given the scale and complexity of the FTX Group’s business, or whether they possessed

    sufficient expertise to account for the wide array of products in which the FTX Group transacted.

                     2.      Lack of Appropriate Accounting Systems

                     Companies with operations as large and complex as those of the FTX Group

    normally employ either an advanced off-the-shelf Enterprise Resource Planning (“ERP”) 14              13F




    system (e.g., Oracle Fusion Cloud ERP, SAP S/4HANA Cloud) or a sophisticated proprietary

    system tailored to the accounting needs of the business such as, for a crypto exchange or trading

    business, a system tailored to the crypto assets in which the business transacted. Any appropriate

    accounting system should be capable of handling large volumes of data to accurately record,

    process, and report financial statement information (balance sheet/income statement) as well as

    operational information (actual versus budgeted spending), and to store key supporting materials.

    To minimize the risk of data integrity errors and the need for manual processing of transactions,

    data should flow automatically into the accounting system from core systems of the business,

    with transactions recorded based on appropriate accounting criteria and logic. None of the FTX

    Group companies employed such an accounting system.

                     Fifty-six entities within the FTX Group did not produce financial statements of

    any kind. Thirty-five FTX Group entities used QuickBooks as their accounting system and


    14
            An ERP system is a type of software system that helps an organization automate and manage core business
    processes for optimal performance. ERP software coordinates the flow of data among a company’s business
    processes, streamlining operations across the enterprise.

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    relied on a hodgepodge of Google documents, Slack communications, shared drives, and Excel

    spreadsheets and other non-enterprise solutions to manage their assets and liabilities.

    QuickBooks is an accounting software package designed for small and mid-sized businesses,

    new businesses, and freelancers. 15 QuickBooks was not designed to address the needs of a large

    and complex business like that of the FTX Group, which handled billions of dollars of securities,

    fiat currency, and cryptocurrency transactions across multiple continents and platforms.

                   As a result of the FTX Group’s poor controls, and the inherent limitations of

    QuickBooks software for use in a large and complex business, the FTX Group did not employ

    QuickBooks in a manner that would allow it to maintain accurate financial records. For

    example, QuickBooks did not interface directly with the FTX Group’s core systems. Data had to

    be transported from the FTX Group systems into QuickBooks manually, generally by outside

    accountants who did not have access to the source data to validate that they had completely and

    accurately transferred the data into QuickBooks. Furthermore, because they processed large

    volumes of data only manually, a great deal of transaction detail (e.g., the purpose of a

    transaction) was either populated en masse, or omitted entirely. Substantial accounts and

    positions went untracked in QuickBooks. Digital asset transactions were tracked in QuickBooks

    using the generic entry “investments in cryptocurrency,” but detailed recordkeeping reflecting

    what those cryptocurrency investments actually consisted of did not exist in QuickBooks,

    making reconciliation with other data sources extremely challenging or impossible.

    Approximately 80,000 transactions were simply left as unprocessed accounting entries in

    catch-all QuickBooks accounts titled “Ask My Accountant.” Further complicating matters,




    15
           See INTUIT QUICKBOOKS, https://quickbooks.intuit.com/ (last visited Apr. 4, 2023).

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    QuickBooks entries were often made months after transactions occurred, rendering impossible

    real-time financial reporting and risk management.

                      Alameda often had difficulty understanding what its positions were, let alone

    hedging or accounting for them. For the vast majority of assets, Alameda’s recordkeeping was

    so poor that it is difficult to determine how positions were marked. A June 2022 “Portfolio

    summary” purporting to model cryptocurrency positions held by Alameda stated, with respect to

    valuation inputs for certain tokens, that Alameda personnel should “come up with some

    numbers? idk.” In an internal communication, Bankman-Fried described Alameda as

    “hilariously beyond any threshold of any auditor being able to even get partially through an

    audit,” adding:

           Alameda is unauditable. I don’t mean this in the sense of “a major accounting firm
           will have reservations about auditing it”; I mean this in the sense of “we are only
           able to ballpark what its balances are, let alone something like a comprehensive
           transaction history.” We sometimes find $50m of assets lying around that we lost
           track of; such is life.

    Bankman-Fried’s statements evidence the challenges a competent audit firm would have had to

    overcome to audit Alameda’s business.

                      3.     Inadequate Reporting and Documentation

                      A large number of FTX Group entities did not close financial reporting periods on

    a timely basis, and back-end checks to identify and correct material errors (e.g., secondary

    review of transactions over a certain size, reconciliations of bank accounts, cryptocurrency

    wallets transactions, and other off-exchange positions) did not occur. These and other

    deficiencies resulted in numerous, often substantial, positions either not being recorded or being

    recorded in vague or inaccurate ways.

                      Key accounting reports necessary to understand the FTX Group’s assets and

    liabilities, such as statements of cash flows, statements of equity, intercompany and related party


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    transaction matrices, and schedules of customer entitlements, did not exist or were not prepared

    regularly. Important treasury reports, such as reports on daily liquidity, daily settlement, funding

    mismatches, concentration risk, and liability profiles, did not exist or were not prepared

    regularly. Copies of key documentation—including executed loan agreements, intercompany

    agreements, acquisition and investment documents, bank and brokerage account statements, and

    contract and account information of all types—were incomplete, inaccurate, contradictory, or

    missing entirely. Thousands of deposit checks were collected from the FTX Group’s offices,

    some stale-dated for months, due to the failure of personnel to deposit checks in the ordinary

    course; instead, deposit checks collected like junk mail. As discussed in greater detail below, the

    FTX Group did not maintain reliable lists of bank or trading accounts, cryptocurrency wallets, or

    authorized signatories. The Debtors have had to construct this historical data from scratch and

    make sense of the numerous resulting discrepancies, anomalies, and undocumented positions.

                   Although the FTX Group consisted of many, separate entities, transfers of funds

    among those entities were not properly documented, rendering tracing of funds extremely

    challenging. To make matters worse, Slack, Signal, and other informal methods of

    communication were frequently used to document approvals. Signal and Telegram were at times

    utilized in communications with both internal and external parties with “disappearing messages”

    enabled, rendering any historical review impossible. Expenses and invoices of the FTX Group

    were submitted on Slack and were approved by “emoji.” These informal, ephemeral messaging

    systems were used to procure approvals for transfers in the tens of millions of dollars, leaving

    only informal records of such transfers, or no records at all.

                   Numerous loans were executed between former insiders and Alameda without

    contemporaneous documentation, and funds were disbursed pursuant to those purported loans

    with no clear record of their purpose. In one instance, an insider entered into an agreement to

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    purchase a piece of real estate. The funds used to purchase that property, however, were wired

    directly from Alameda and FTX Digital Markets Ltd. (“FTX DM”), a Bahamas-based entity

    which was owned by, and had obtained the funds from, FTX Trading Ltd. Only four months

    after the real estate purchase had closed did the employee enter into a promissory note with

    Alameda in which he undertook to repay the funds used to purchase the property. Other insiders

    received purported loans from Alameda for which no promissory notes exist.

                   4.     Trading Records from Other Exchanges

                   While the FTX Group maintained over a thousand accounts on external digital

    asset trading platforms in jurisdictions around the world, many of which held significant assets at

    various points in time, it had no comprehensive, centralized source of information reflecting the

    purpose of these accounts, or the credentials to access them. Many of these accounts were

    opened using names and email addresses that were not obviously linked to any of the FTX Group

    entities. Other accounts were opened using pseudonymous email addresses, in the names of shell

    companies created for these purposes, or in the names of individuals (including individuals with

    no direct connection to the FTX Group).

                   The Debtors have been working to identify and access these external accounts in

    order to secure the Debtors’ assets and extract historical trading data. Obtaining such access has

    required significant document review, interviews with current and former employees, and

    engagement with the external platforms. In many instances, accounts belonging to the Debtors

    have been seized, locked, or frozen, requiring further coordination with the platforms and foreign

    government agencies to provide adequate proof of ownership and authorization to access the

    accounts.




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                   5.      Intercompany Transactions

                   The FTX Group did not observe any discernable corporate formalities when it

    came to intercompany transactions. Assets and liabilities were routinely shuffled among the

    FTX Group entities and insiders without proper process or documentation. Alameda routinely

    provided funding for corporate expenditures (e.g., paying salaries and other business expenses)

    whether for Alameda, for various other Debtors, or for FTX DM, and for venture investments or

    acquisitions whether for Alameda or for various other Debtors. Alameda also transferred funds

    to insiders to fund personal investments, political contributions, and other expenditures—some

    of which were nominally “papered” as personal loans with below-market interest rates and a

    balloon payment due years in the future.

                   Intercompany and insider transfers were often recorded on the QuickBooks

    general ledgers in a manner that was inconsistent with the apparent purpose of the transfers. For

    example, an Alameda bank account transferred tens of millions of dollars to a personal bank

    account of Bankman-Fried in 2021 and 2022. Although the transfers were documented in

    promissory notes as loans from Alameda to Bankman-Fried, they were recorded on the general

    ledger as “Investment in Subsidiaries: Investments-Cryptocurrency.” The Debtors have

    identified examples of intercompany transactions that do not balance to each other (i.e., where

    the amounts “due to” and “due from” do not balance across the relevant entities). North

    Dimension, a shell company owned by Alameda, frequently recorded cash transfers to Alameda

    accounts in the general ledger with the description “interco transfer reflecting bank wire,”

    without otherwise stating the purpose or substance of the transaction.

                   In addition to these inconsistencies, many intercompany transactions recorded in

    the QuickBooks general ledgers involved digital assets, but critical records regarding which

    digital assets were transferred, and at what values they were transferred, were not maintained in

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    QuickBooks. Multiple intercompany transactions were recorded in QuickBooks by grouping

    many transactions together in summary batch entries without sufficient information to identify or

    properly account for the underlying transactions. Compounding the issue, these batch entries

    were then recorded under generalized account names in QuickBooks such as “investments in

    cryptocurrency,” as described above. The cumulative impact is that these intercompany

    transactions as recorded in QuickBooks are difficult to reconcile with underlying documentation,

    and have required substantial additional investigation to understand and properly account for.

                      6.       Extraordinary Privileges Granted to Alameda

                      Alameda was a customer of FTX.com, trading for its own account as well as

    engaging in market-making activities, and, in that capacity, it was granted extraordinary

    privileges by the FTX Group. 16 As detailed below, the FTX Group configured the codebase of

    FTX.com and associated customer databases to grant Alameda an effectively limitless ability to

    trade and withdraw assets from the exchange regardless of the size of Alameda’s account

    balance, and to exempt Alameda from the auto-liquidation process that applied to other

    customers. Any number of different controls routinely implemented by financial institutions and

    exchanges in established financial markets would be expected to have prevented, detected, and

    escalated these secret privileges to personnel in control functions with sufficient independence

    and authority to address the issue. 17




    16
            FTX Group granted the same privileges to Alameda on FTX.US. Because the Debtors’ investigation is
    ongoing as to whether or to what extent Alameda made use of these privileges on FTX.US, this discussion focuses
    on FTX.com.

    17
              For instance, at a financial institution, these privileges would be expected to be identified by the finance
    department, as part of balance activity reports and margin balance monitoring; the market risk department, via VAR
    calculations and funding risk metrics; and the accounting department, through reconciliations of account-level
    balances against independently calculated aggregate exchange balances; and by having compliance, information
    technology, risk management, and finance departments that are segregated and independent from traders and other
    front-line business personnel.

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                     The FTX Group not only failed to disclose these privileges to its customers or the

    public, but affirmatively misrepresented Alameda’s privileged status relative to that of other

    customers. On July 31, 2019—the same day Singh altered the codebase to allow Alameda to

    withdraw apparently unlimited amounts of crypto assets from FTX.com, and a week after he

    altered it to effectively exempt Alameda from auto-liquidation—Bankman-Fried claimed on

    Twitter that Alameda’s account was “just like everyone else’s and “Alameda’s incentive is just

    for FTX to do as well as possible.” 18 As recently as September 2022, in interviews with

    reporters, Bankman-Fried claimed that Alameda was a “wholly separate entity” and Ellison

    claimed that Alameda was “arm’s-length and [did not] get any different treatment from other

    market makers.” 19

                              a.       FTX customers and auto-liquidation processes

                     In general, there were two types of customers on FTX.com: retail customers and

    market makers (i.e., liquidity providers that stand ready to buy or sell to satisfy market demand).

    As to both types of customers, the exchange implemented automatic liquidation processes such

    that if the customer’s account balance fell below a certain threshold, then the customer’s existing

    positions on the exchange would be liquidated (i.e., sold off) until the account balance became

    net-positive again.

                     For retail customers, the auto-liquidation process was triggered if the customer’s

    account balance approached zero. Market-makers and certain other preferred customers were



    18
              Sam Bankman-Fried, Twitter (July 31, 2019), at
    https://twitter.com/bitshine_/status/1156665108174651392?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed%7
    Ctwterm%5E1156696100729806849%7Ctwgr%5E4bccfdc775938ec4496be7f2a64f95301cbc3e7b%7Ctwcon%5Es
    2_&ref_url=https%3A%2F%2Fwww.forbes.com%2Fadvisor%2Finvesting%2Fcryptocurrency%2Fwhat-happened-
    to-ftx%2F (responding to a Twitter user’s question about how Bankman-Fried would “resolve the conflict of interest
    of running [his] own derivative exchange, AND actively trading against the market at the same time”).
    19
            Annie Massa, Anna Irrera, and Hannah Miller, Quant Shop with Ties to FTX Powers Bankman-Fried’s
    Crypto Empire, BLOOMBERG NEWS (Sept. 14, 2022).

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    provided lines of credit in amounts that varied by customer up to a maximum of $150 million;

    for those customers, the auto-liquidation process would be triggered if the account became

    negative and approached the pre-set borrowing limit.

                   Apart from auto-liquidation processes that prevented customers from trading on

    the exchange if their balance went below a given threshold, through the operation of its code,

    FTX.com did not allow customers—except, as set forth below, Alameda—to withdraw assets

    from the exchange in excess of the amount of their net-positive account balance.

                           b.     Alameda’s privileges

                   Contrary to the public claims of FTX Group management, the FTX Group

    exempted Alameda from the automatic processes set forth above in multiple ways. Specifically,

    one of the privileges secretly granted to Alameda, executed through a setting known as

    “borrow,” permitted Alameda alone to trade on FTX.com effectively without regard to the size

    of its overall negative position. Borrow was a field in the customer account settings within the

    FTX.com exchange’s customer databases that contained a value for each customer representing

    how much the customer could “borrow”—i.e., whether and to what extent the customer’s

    account balance could become net-negative without triggering trade restrictions or the FTX.com

    exchange’s auto-liquidation processes. As of the petition date, on FTX.com:

                       x   Most retail customers had a borrow value of zero;

                       x   Certain preferred customers and market makers had a borrow value greater
                           than zero and in amounts up to $150 million;




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                           x   Alameda alone had a borrow value set to $65 billion. 20

                     The second and third privileges secretly granted to Alameda, known as

    “can_withdraw_below_borrow,” and “allow_negative,” provided Alameda the unique ability to

    withdraw an unlimited amount of crypto assets from FTX.com even when its account balance

    was net-negative. Singh added these features to the codebase of the FTX.com exchange on July

    23, 2019 and July 31, 2019, respectively. It appears that Alameda’s

    can_withdraw_below_borrow privilege was quickly supplanted by the addition to the codebase

    of allow_negative, which operated in essentially the same manner and controlled in the event of

    conflict with the settings for can_withdraw_below_borrow. 21

                     Allow_negative referred to a field in the FTX.com exchange’s customer databases

    that, if set to “true” for a particular customer, (i) allowed the customer to withdraw an unlimited

    amount of crypto assets from the FTX.com exchange while having a net-negative account

    balance (as opposed to merely “borrow”) and (ii) exempted the customer from the FTX.com

    exchange’s automatic liquidation processes. As of the petition date, Alameda was the only

    customer on FTX.com for which allow_negative was set to “true.” When taken together,

    Alameda’s $65 billion borrow and allow_negative settings gave it the unique ability to trade and




    20
              Due to the FTX Group’s failure to maintain appropriate database logs, it is not possible to determine
    precisely when these particular borrow values for Alameda were configured, or by whom. In interviews, one FTX
    Group employee recalled that, in approximately the summer of 2022, he discovered a configuration that gave
    Alameda a line of credit in a very large amount, and raised the issue with Singh, who responded that he would
    reduce the amount to $1 billion (an amount that would still be approximately seven times larger than that of any
    customer or market maker on the exchange). Due to the lack of database logs, it is unclear what Alameda’s borrow
    value was set to at the time, or to what extent Singh made any change to reduce it. Nonetheless, database records
    reflect that as of the petition date, Alameda’s borrow limit was set to $65 billion.

    21
             While it appears that can_withdraw_below_borrow was thus rendered obsolete by Singh’s addition of
    allow_negative, the Debtors currently understand that the borrow privilege granted to Alameda continued to remain
    relevant because Alameda would still need a net-positive account balance (after accounting for the specified borrow
    value) in order to actually trade on the exchange.

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    withdraw virtually unlimited assets, regardless of the size of its account balance and without risk

    of its positions being liquidated.

                   The Debtors’ investigation of extraordinary privileges granted to Alameda

    remains ongoing.

           C.      Lack of Digital Asset Management, Information Security & Cybersecurity
                   Controls

                   The Debtors identified extensive deficiencies in the FTX Group’s controls with

    respect to digital asset management, information security, and cybersecurity. These deficiencies

    were particularly surprising given that the FTX Group’s business and reputation depended on

    safeguarding crypto assets. As a result of these control failures, the FTX Group exposed crypto

    assets under its control to a grave risk of loss, misuse, and compromise, and lacked a reasonable

    ability to prevent, detect, respond to, or recover from a significant cybersecurity incident,

    including the November 2022 Breach.

                   1.      Lack of Key Personnel, Departments, and Policies

                   While the FTX Group employed software developers and a single dedicated IT

    professional, it had no dedicated personnel in cybersecurity, a specialized discipline that

    generally acts as a “check” to mitigate risks posed by business pressure for technology to operate

    as fast and easily as possible. The FTX Group had no independent Chief Information Security

    Officer, no employee with appropriate training or experience tasked with fulfilling the

    responsibilities of such a role, and no established processes for assessing cyber risk,

    implementing security controls, or responding to cyber incidents in real time. Instead, its

    security was largely managed by Singh and Wang, neither of whom had the training or

    experience to handle the FTX Group’s cybersecurity needs, and both of whom had

    responsibilities for the speed, efficiency, and continuing development of the FTX Group’s

    technology, which are business needs that generally run counter to those of security and thus are
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    not appropriately managed by the same personnel. In short, as with critical controls in other

    areas, the FTX Group grossly deprioritized and ignored cybersecurity controls, a remarkable fact

    given that, in essence, the FTX Group’s entire business—its assets, infrastructure, and

    intellectual property—consisted of computer code and technology.

                      2.       Crypto Asset Management and Security

                      A critical responsibility of a crypto exchange, as with any business that holds

    funds provided by others, is to safeguard crypto assets from loss, misuse, misappropriation, or

    theft by insiders or unauthorized third parties. Crypto exchanges face unique security challenges

    in this regard, which only heightens their need to focus adequate time, resources, and expertise

    on fulfilling this core responsibility.

                               a.       Crypto wallets and storage

                      Crypto assets are held in a crypto wallet, which consists of (i) a public key that

    serves as the asset owner’s identifier on the blockchain ledger, and (ii) a private key that is

    required to access the user’s crypto holdings, authorize transactions, and exercise ownership over

    a blockchain asset. A crypto wallet can either be a “cold” wallet (i.e., an offline storage unit 22)

    or a “hot” wallet (i.e., a storage unit that is connected to the internet). Crypto assets held in hot

    wallets are at a higher risk of compromise because hot wallets are internet-connected, rendering

    their private keys vulnerable to hacking, malware, and other cybersecurity threats.

    Compounding the risk, blockchain transactions are generally irreversible and anonymous,

    making unauthorized transfers particularly challenging, if not impossible, to recover. For these

    reasons, it is axiomatic in the crypto industry that a private key should be kept confidential,




    22
             Assets maintained in cold wallets are typically kept in a physically secured location and accessed only by
    authorized personnel on a need-to-access basis, a method known as “cold storage.”

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    including by being generated and stored in a secure and encrypted manner, 23 and used

    exclusively by the owner. Relatedly, businesses that control private keys need detailed access

    control policies such that the keys may only be accessed by authorized parties or systems.

                      The FTX Group stored the private keys to its crypto assets in its cloud computing

    environment, which included over one thousand servers and related system architecture, services,

    and databases that it leased from Amazon Web Services (the “AWS account”). AWS’s cloud

    computing platform offers businesses a range of infrastructure-as-a-service (IaaS), platform-as-a-

    service (PaaS), and software-as-a-service (SaaS) capabilities, and through it, like other

    businesses, the FTX Group customized, configured, and controlled its own cloud environment.

                               b.       Lack of security controls to protect crypto assets

                      The FTX Group failed to implement basic, widely accepted security controls to

    protect crypto assets. Each failure was egregious in the context of a business entrusted with

    customer transactions, and any one of the controls may have prevented the loss in the November

    2022 Breach. Taken together, the failures were further magnified, since each control failure

    exacerbated the risk posed by the others.

                      First, the FTX Group kept virtually all crypto assets in hot wallets, which are far

    more susceptible to hacking, theft, misappropriation, and inadvertent loss than cold wallets

    because hot wallets are internet-connected. Prudently-operated crypto exchanges keep the vast

    majority of crypto assets in cold wallets, which are not connected to the internet, and maintain in

    hot wallets only the limited amount necessary for daily operation, trading, and anticipated




    23
             Encryption is the process by which readable data is converted to an unreadable form to prevent
    unauthorized parties from viewing or using it. Plaintext, by contrast, refers to data that is unencrypted and,
    therefore, can be viewed or used without requiring a key or other decryption device.

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    customer withdrawals. 24 Relatedly, prudently-operated crypto exchanges implement strict

    processes and controls to minimize the security risks (for example, the risk of hacking, theft or

    loss) inherent in the transfer of crypto assets between hot and cold wallets.

                      The FTX Group undoubtedly recognized how a prudent crypto exchange should

    operate, because when asked by third parties to describe the extent to which it used cold storage,

    it lied. For example, in 2019, Bankman-Fried falsely responded to a customer question on

    Twitter by providing assurance that “[we use the] standard hot wallet/cold wallet setup.” 25 In            24F




    2022, the FTX Group responded to questions posed by certain advisers and counterparties about

    its use of cold storage as follows:

                     FTX uses a best practice hot wallet and cold wallet standard solution for the
                     custody of virtual assets. The firm aims to maintain sufficient virtual assets in
                     the hot wallet to cover two days of trading activities, which means only a
                     small proportion of assets held are exposed to the internet, the remaining
                     assets are stored offline in air gapped encrypted laptops, which are
                     geographically distributed. The 2-day trading figure is continuously
                     monitored and if the hot wallet exceeds this amount, it will overflow into the
                     cold wallet. If the figure drops below the 2-day trading figure, the hot wallet
                     will be topped up from the cold wallet.

    These representations were false. None of FTX.com, FTX.US, or Alameda had a system in

    place to monitor or move to cold wallets crypto assets in excess of the amount needed to cover

    two days of trading activity, and they did not use offline, air-gapped, encrypted, and

    geographically distributed laptops to secure crypto assets.




    24
             Although there is currently no regulation in the United States that requires exchanges to use cold wallets to
    store customer assets, other regulatory authorities have imposed such requirements. For instance, regulation in
    Japan mandates that “Crypto Asset Exchange Service Providers” keep at least 95% of users’ crypto assets in a
    device that is always disconnected from the internet. See Article 63-11(2) Payment Services Act in connection with
    Article 27(2) Cabinet Order on Crypto Asset Exchanges. Offline storage of information is also a standard security
    practice and control for organizations outlined in the U.S. National Institute of Standards and Technology
    (“NIST”)’s Special Publication 800-53 under System and Communications Protection SC-28(2).
    25
              Sam Bankman-Fried, (@SBF_FTX), Twitter (Aug. 16, 2019, 5:00 AM),
    https://twitter.com/SBF_FTX/status/1162288084634836993.

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                       FTX Group employees openly acknowledged uncertainty about FTX Group’s use

    of cold storage, and that regulators and users appeared to receive different information on the

    subject. In Slack communications in October 2022, an FTX Group employee relayed an internal

    communication that “it’s ab[ou]t 70% cold and 30% hot,” and that he had been instructed that

    this information was not to be shared with regulators unless it was specifically requested.

    Another FTX Group employee responded that if the question was being posed by “non-

    regulators,” then “we say 10% in hot wallet, and 90% in cold wallet.”

                       In fact, neither of these assertions about cold storage use was true. Outside of

    Japan, where required by regulation to use cold storage, the FTX Group made little use of cold

    storage. The Debtors have identified evidence that an individual associated with LedgerX, a

    non-Debtor entity, recommended to FTX Group management that FTX.US secure crypto assets

    in cold storage using a system similar to that employed by LedgerX, but no such system was put

    in place prior to the bankruptcy.

                       Second, the FTX Group failed to employ multi-signature capabilities or

    Multi-Party Computation (“MPC”) controls (together, “multi-signature/MPC controls”) that are

    widely used throughout the crypto industry to protect crypto assets. These controls require the

    cooperation of multiple individuals using unique keys or key fragments to effectuate a

    transaction. 26 As a result, the controls significantly reduce the risk of fraud, theft, misuse, or
                 25F




    errors either by any single individual or in the event any single individual’s key or key fragment

    is compromised. These controls are widely understood to be crucial for crypto exchanges to

    ensure that unauthorized transactions do not occur, for many reasons: exchanges are regularly


    26
              “Multi-signature” refers to the requirement that two or more authorized individuals provide unique keys or
    credentials to perform sensitive or critical operations, such as engaging in a high-value transfer of crypto assets.
    MPC controls generate multiple private keys required to digitally sign transactions, thus providing multi-signature
    capabilities to crypto assets that do not natively support multi-signature. Because MPCs utilize cryptographic
    methods, multiple parties can act to effect a single transaction without revealing their private keys to each other.

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    targeted by hackers; exchanges custody assets provided by others, heightening the need for

    security; exchanges engage in a high volume of transactions, increasing the likelihood that errors

    will occur; and, as noted above, compounding all of these issues, crypto assets may be difficult

    or impossible to recover once they have been transferred.

                   While a single-key mechanism may not be inappropriate for wallets holding a

    relatively small amount of assets, such as those held by many retail customers, there is no

    question that a crypto exchange should employ multi-signature/MPC controls and cold storage

    solutions for—at a minimum—the central wallets that hold the majority of the crypto assets of

    the exchange. Nonetheless, neither the FTX exchanges nor Alameda utilized them to protect

    crypto assets. In the few instances in which the FTX Group even attempted to employ these

    controls, it misapplied them: for each wallet, the FTX Group stored together, in one place, all

    three private keys required to authorize a transfer such that any individual who had access to one

    had access to all the keys required to transfer the contents of the wallet, thus defeating the

    purpose of the controls.

                   Third, the FTX Group failed to manage or implement any appropriate system to

    attempt to manage private keys. As noted above, because crypto assets in a hot wallet may be

    misappropriated by anyone with access to the private key for that wallet, private keys must be

    maintained in a highly-secure manner. For crypto exchanges, controls to protect and manage

    keys are of paramount importance because customers who transfer crypto assets from their own

    wallets to the exchange’s wallet must relinquish control over the security of their assets to the

    exchange. Exchanges and other crypto businesses rely on a variety of methods of secure key

    storage and management that are generally not difficult to implement, and they rely on detailed

    access control and management policies such that the keys may only be accessed by authorized




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    parties or systems critical to the operation of the associated wallets. 27 Businesses also regularly

    retain the services of third-party crypto custodians to secure their crypto assets and minimize the

    risk of maintaining their own private keys.

                     Despite the well-understood risks, private keys and seed phrases 28 used by

    FTX.com, FTX.US, and Alameda were stored in various locations throughout the FTX Group’s

    computing environment in a disorganized fashion, using a variety of insecure methods and

    without any uniform or documented procedure. Among other examples:

            x    The Debtors identified private keys to over $100 million in Ethereum assets stored in
                 plain text and without encryption on an FTX Group server.

            x    The Debtors identified private keys, as well as credentials to third-party exchanges,
                 that enabled access to tens of millions of dollars in crypto assets that were stored in
                 plain text and without encryption across multiple servers from which they could be
                 accessed by many other servers and users in many locations.

            x    Single-signature-based private keys to billions of dollars in crypto assets were stored
                 in AWS Secrets Manager (a cloud-based tool used to manage sensitive information),
                 and/or a password vault (a tool for secure storage of passwords), neither of which is
                 designed to meet the needs of secure-key storage; any of the many FTX Group
                 employees who had access to AWS Secrets Manager or the password vault could
                 access certain of the keys and unilaterally transfer the corresponding assets. 29

            x    Alameda also lacked appropriate documentation as to the description or usage of
                 private keys. For example, a key for $600 million dollars’ worth of crypto assets was
                 titled with four non-descriptive words, and stored with no information about what the
                 key was for, or who might have relevant information about it. The Debtors identified
                 other keys to millions of dollars in crypto assets that were simply titled “use this” or
                 “do not use,” with no further context.


    27
             Examples of these methods include encryption, as well as the use of commercially available products such
    as hardware wallets, hardware security modules (“HSMs”), and MPC protocols. A hardware wallet stores a user’s
    private keys in a secure hardware device that resembles a USB drive. Crypto transactions can be made by plugging
    the hardware wallet into a computer or other device. An HSM is a physical computing device that protects, manages,
    and stores secrets, such as cryptographic keys.

    28
            A seed phrase (also known as a recovery phrase or mnemonic seed) is a series of words generated by a
    crypto wallet that allows a user to recover all the crypto assets associated with that wallet.
    29
             In the infrequent instances in which the FTX Group stored private keys in encrypted form, it stored the
    decryption key in AWS Secrets Manager and not in a protected form, such as HSM. As a result, the decryption keys
    could easily be retrieved by an unauthorized actor, thereby dramatically reducing the value of encryption.

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           x   Many FTX Group private keys were stored without appropriate backup procedures
               such that if the key was lost, the associated crypto assets would likely be permanently
               lost.

           x   Because the FTX Group lacked adequate records of private keys, there was a
               significant risk that crypto assets would be lost simply because no one knew how to
               locate or access them. As described below, through painstaking analysis by experts,
               the Debtors have recovered to date over a billion dollars’ worth of crypto assets as to
               which few or no records existed.

           x   Because the FTX Group failed to maintain appropriate records of access to private
               keys, employees or others could potentially copy those keys to their own electronic
               devices and transfer the associated crypto assets without detection.

                   Fourth, the FTX Group failed to appropriately implement controls to manage

    “wallet nodes,” which are software programs that operate on servers running the software of the

    blockchain network and help to implement and propagate transactions and maintain the security

    and integrity of the blockchain. A wallet node that holds private keys for a specific wallet is

    responsible for managing that wallet’s assets and communicating with the blockchain network to

    process transactions. As a result, the security of the associated wallet’s assets depends in large

    part on the security of the server on which the node is running.

                   Crypto exchanges typically use trusted wallet nodes to broadcast transactions and

    query the blockchain to reconcile exchange ledger data with blockchain data. The FTX

    exchanges and Alameda maintained servers that ran wallet nodes for blockchains, including

    Bitcoin, Litecoin, and Dogecoin, among others; these nodes acted as hot wallets that held

    hundreds of millions of dollars’ worth of assets. Virtually all FTX.com Bitcoin assets, for

    example, were held in a single Bitcoin Core wallet node.

                   Despite the obvious importance of securing its wallet nodes, the FTX Group’s

    security controls for its wallet nodes were grossly deficient. For example, the passwords for

    encrypting the private keys of wallet nodes were stored in plain text, committed to the code

    repository (where they could be viewed by many and were vulnerable to compromise), and

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    reused across different wallet nodes such that if one were compromised, every other node with

    the same password could be compromised as well. Furthermore, wallet node servers were not

    securely segregated from connected servers such that anyone who compromised the FTX

    Group’s computing environment could potentially compromise its wallet nodes.

                     3.       Identity and Access Management

                     The FTX Group failed to implement in an appropriate fashion even the most

    widely accepted controls relating to Identity and Access Management (“IAM”)—often the first

    line of defense in preventing an unauthorized system compromise. IAM refers to the policies,

    technologies, and procedures used to manage digital identities and control access to computer

    systems. Typically, IAM controls involve user authentication, authorization, and permissions

    management to ensure that only authorized individuals or systems are granted access to

    resources, while preventing unauthorized access and enforcing security policies. In the context

    of a cryptocurrency exchange, IAM controls are essential for protecting the confidentiality,

    integrity, and availability of crypto assets.

                     The FTX Group’s IAM controls were insufficient in at least three respects:

                     First, the FTX Group failed to adhere to the basic security principle of “least

    privilege,” by which users and systems are given access to the minimum needed to perform their

    duties or functions and nothing more. 30 By limiting access in this way, the impact of a security

    breach or an unintentional action involving any particular user or system is also necessarily

    limited. Among notable examples of the FTX Group’s failures in this respect, over a dozen

    people had direct or indirect access to the FTX.com and FTX.US central omnibus wallets, which



    30
              The Committee on National Security Systems defines “least privilege” as “[t]he principle that a security
    architecture should be designed so that each entity is granted the minimum system resources and authorizations that
    the entity needs to perform its function.” Committee on National Security Systems (CNSS) Glossary, CNSSI No.
    4009-2015, (Apr. 6, 2015).

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    held billions of dollars in crypto assets, and dozens of other users were granted access to other

    types of FTX exchange and Alameda wallets. Only a small number of these individuals needed

    access to these wallets to perform their duties.

                    Second, the FTX Group failed to effectively enforce the use of multi-factor

    authentication (“MFA”) among its own personnel and corporate infrastructure, increasing the

    risk that key account credentials would be compromised and critical assets would thereby be

    vulnerable to unauthorized access. MFA is a basic security mechanism that requires users to

    provide two or more methods of authentication (for example, a password and one-time passcode

    sent to a cell phone or email previously associated with the user) to verify their identity and gain

    access to a system or account. MFA is a widely used and simple technique to mitigate the risks

    created by password weaknesses and theft, and businesses commonly require MFA to access any

    corporate systems, and particularly systems holding sensitive data.

                    The FTX Group did not enforce the use of MFA in connection with two of its

    most critical corporate services—Google Workspace, its primary tool for email and document

    storage and collaboration, and 1Password, its password-management program. The deficiency

    is ironic given that the FTX Group recommended that customers use MFA on their own

    accounts, 31 and Bankman-Fried, via Twitter, publicly stressed the importance of “2FA [Two-

    factor authentication],” a form of MFA, for crypto security:




    31
             See FTX.US Security Features, (Sept. 25, 2021)
    [http://web.archive.org/web/20210925211745/https:/help.ftx.us/hc/en-us/articles/4408447825815-FTX-US-
    Security-Features]; FTX.US Security Features, (Aug. 14, 2022)
    [http://web.archive.org/web/20220814000906/https:/help.ftx.us/hc/en-us/articles/4408447825815-FTX-US-
    Security-Features]; FTX Security Features, (Sept. 21, 2021)
    [http://web.archive.org/web/20210921181611/https:/help.ftx.com/hc/en-us/articles/360044838051-FTX-Security-
    Features-]; FTX Security Features, (July 1, 2022)
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                      Daily reminder: use 2FA! 90% of crypto security is making sure
                      you’ve done the basics. 32

    While he correctly characterized MFA as one of “the basics” in securing crypto assets, the FTX

    Group did not enforce it in the essential areas described above. And in an important instance in

    which FTX Group did use MFA—for a corporate email account that handled significant

    administrative matters—FTX Group management arranged to bypass the MFA requirement.

                      Third, the FTX Group generally did not use Single Sign-On (“SSO”), 33 an             32F




    authentication scheme used by companies worldwide to manage user access centrally, enabling

    users to adopt a single strong password to use across multiple applications, thus reducing the risk

    of unauthorized access and other harms. Without SSO, among other problems, the FTX Group

    could not effectively manage or revoke user access, enforce MFA, revoke user access, or prevent

    users from having many user accounts for different services with separate passwords, which

    increased the likelihood of compromise.

                      4.       Cloud and Infrastructure Security

                      The FTX Group also failed to implement appropriate controls with respect to

    cloud and infrastructure security—that is, controls to protect its cloud services, networks,

    servers, and “user endpoints” such as desktops and laptops. These controls were crucial for the

    FTX Group, which essentially “lived” in the cloud, where the exchanges operated and the FTX




    32
              Sam Bankman-Fried, (@SBF_FTX), TWITTER (Sept. 12, 2019, 4:11 AM),
    https://twitter.com/SBF_FTX/status/1172060173604515840.
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             SSO enables users to authenticate their identity once in order to continually gain access to multiple
    applications and services without having to re-enter login credentials.

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    Group stored the majority of its assets. The FTX Group’s management of its cloud and

    infrastructure security deviated from standard corporate practices in several respects.

                     First, the FTX Group generally shared computer infrastructure and IT services

    among FTX.com, FTX.US, and Alameda, and in doing so, departed from the fundamental

    security principle of segmentation, whereby business entities and computing environments are

    separated to minimize the impact of a breach, and exercise greater control over who can access

    particular systems. Among many examples, the FTX exchanges and Alameda used a single,

    shared AWS account, meaning that a compromise of that AWS account would expose all three

    entities’ assets to misuse or theft. 34

                     Second, while crypto exchanges are notoriously targeted by hackers, the FTX

    Group had poor or, in some cases, no “visibility” controls to detect and respond to cybersecurity

    threats. As widely understood across industries, and emphasized by the U.S. government in

    public advisories, appropriate visibility controls generally include the creation and collection of

    logs that record and reflect activity within the computing environment, and systems to alert




    34
             Other significant examples of the FTX Group’s segmentation failures that increased the risk of harm from
    an information security problem or compromise include hosting FTX.com and Alameda in the same collaboration
    platform, Google Workspace, and employing the same password vault tenant, 1Password, for both FTX.com and
    FTX.US. The FTX Group appears to have recognized the deficiency, because as of the petition date, FTX.US had
    begun a process of migrating to its own dedicated AWS account; because it did not complete that work, its assets
    remained within the shared account such that FTX.US lost approximately $139 million of its crypto assets during
    the November 2022 Breach. In these ways, the FTX Group departed from best practices, which call for segregation
    and separation of an organization’s infrastructure and networks in order to effectively mitigate the risk of, and
    impact from, unauthorized access to the organization’s environment. See, e.g., U.S. CYBERSECURITY &
    INFRASTRUCTURE SECURITY AGENCY, Securing Network Infrastructure Devices, at https://www.cisa.gov/news-
    events/news/securing-network-infrastructure-devices (noting that “[s]ecurity architects must consider the overall
    infrastructure layout, including segmentation and segregation” because “[a] securely segregated network can contain
    malicious occurrences, reducing the impact from intruders in the event that they have gained a foothold somewhere
    inside the network”).

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    designated personnel to suspicious activity. 35 The FTX Group failed by any measure to

    maintain such appropriate controls.

                      Among many examples of its control deficiencies in this area, the FTX Group did

    not have any mechanism to identify promptly if someone accessed the private keys of central

    exchange wallets holding hundreds of millions or billions of dollars in crypto assets, and it did

    not fully enable even the basic features offered by AWS to assist with cyber threat detection and

    response. 36 In fact, due to the lack of such controls, the FTX Group did not learn of the

    November 2022 Breach until the Debtors’ restructuring advisor alerted employees after

    observing, via Twitter and other public sources, that suspicious transfers appeared to have

    occurred from FTX Group crypto wallets. The FTX Group similarly failed to institute any basic

    mechanism to be alerted to any “root” login to its AWS account, the cloud computing

    environment where it operated the FTX exchanges and stored keys to billions of dollars in crypto

    assets, even though such access would provide virtually complete access to the environment.

                      Third, the FTX Group did not implement controls sufficient to protect its network

    endpoints, such as laptops and desktops, from potential security threats. The FTX Group had no

    commonly used technical controls to ensure that employees used their corporate laptops, leaving

    employees free to use personal devices devoid of corporate security controls. The FTX Group

    also lacked any endpoint protection tool to monitor cloud-hosted servers for threats, and several



    35
             See, e.g., U.S. CYBERSECURITY & INFRASTRUCTURE SECURITY AGENCY, Weak Security Controls and
    Practices Routinely Exploited for Initial Access (last revised Dec. 8, 2022), at https://www.cisa.gov/news-
    events/cybersecurity-advisories/aa22-137a (noting that “[l]og files play a key role in detecting attacks and dealing
    with incidents[,]” that “implementing robust log collection and retention” provides organizations with “sufficient
    information to investigate incidents and detect threat actor behavior,” and that effective log management calls for
    setting up “notifications of suspicious login attempts based on an analysis of log files”).

    36
              For example, Amazon GuardDuty, an AWS feature that supports threat detection, was not enabled at all on
    FTX.com, and across the entities, VPC flow logs that can capture IP traffic information were only enabled to log the
    rejected traffic (and only in some networks)—they were not enabled to log the permitted traffic at all. The lack of
    these and other logs complicated the Debtors’ investigation of the November 2022 Breach.

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    of its critical services did not have the latest security updates installed. For example, to manage

    inbound internet traffic on a key server, the FTX Group used a version of software that was

    nearly four years out of date, leaving the server exposed to known vulnerabilities that had been

    addressed in updated versions of the software. This practice flouted industry standards by which

    software flaws and vulnerabilities should be remediated in a timely manner. 37

                     Fourth, the FTX Group had no comprehensive record from which it could even

    identify critical assets and services, including employee workstations, software application

    servers, business data, and third-party cloud and other services it relied upon, leaving it with little

    to no visibility into what it needed to secure, let alone how to best secure it. 38 Indeed, to

    understand and gain necessary access to the full scope of services that the FTX Group used, the

    Debtors had to analyze financial records such as bills paid to vendors, and search through

    employees’ email and chat messages. Although the FTX Group’s designated IT professional

    began creating an inventory of electronic devices issued to employees, and stressed to Singh

    (who was supposedly in charge of the FTX’s Group’s cybersecurity) the importance for security

    purposes of having Singh and other FTX Group senior management identify in the inventory the

    electronic devices they were using, neither Singh nor other senior management provided the

    requested information.

                     5.       Application and Code Security

                     The FTX Group did not implement controls sufficient to protect sensitive data

    relating to its applications, including its application code, from vulnerabilities and attacks. While

    essential in any context, securing such data was particularly critical for the FTX Group, which


    37
            See NIST Special Publication 800-53 Revision 5: SI-2: Flaw Remediation.
    38
             The NIST identifies the development and maintenance of an inventory of information systems (including
    hardware, software, and firmware) that are owned, leased, or operated by an organization as a standard security
    practice and control. See NIST Special Publication 800-53 Revision 5: PM-5: Information System Inventory.

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    used multiple applications with access to sensitive data and assets, including customer data,

    financial data, and crypto wallets. In managing its application and code security, the FTX Group

    departed from standard practices in several ways.

                        First, while it is widely recognized that sensitive data should be protected through

    encryption and appropriate access controls, 39 the FTX Group failed to adopt these basic controls

    to secure its “application secrets,” that is, the highly sensitive data such as passwords, API

    keys, 40 and private keys used by its applications. Protecting these secrets is paramount because
          39F




    they are frequently the target of malicious actors who may use them to gain access to additional

    data and assets. With respect to the FTX Group, access to such secrets could enable someone to

    make transfers of billions of dollars’ worth of crypto assets from hot wallets or third-party crypto

    exchanges. Nonetheless, among many examples of its deficient controls in this area, the FTX

    Group simply stored certain secrets—including the private keys and seeds to Alameda’s crypto

    wallets—in unencrypted files to which numerous employees had access, and kept hundreds of

    other secrets—including passwords for crypto wallet nodes, API keys for crypto exchanges, and

    credentials for sensitive email accounts—in source code repositories from which they were

    widely accessible. 41   40F




    39
                See NIST Special Publication 800-53 Revision 5: SC-28: Protection of Information at Rest.

    40
              Application Programming Interface, or “API,” keys are credentials used to authenticate to third-party
    services, including, for example, other crypto exchanges.

    41
            While a senior developer subsequently deleted a file containing these secrets from the repository, the
    developer did not remove the file from the code history in the repository, contrary to the recommended practice of
    GitHub, where the repository was maintained. As a result, the file continued to remain exposed to anyone who
    accessed the code repository.

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                     Second, the FTX Group failed to adopt certain standard controls in order to ensure

    the integrity of its code. 42 For example, there was no effective process for securely introducing,

    updating, or patching software, and no procedures, such as scanning, to continually ensure the

    integrity of the code running on FTX Group servers. Thus, among many other harms, the FTX

    Group was highly vulnerable to software “supply chain” attacks in which malicious actors insert

    vulnerabilities into third-party software in order to compromise any organization that uses the

    software. 43 Furthermore, with only minimal code review and testing procedures in place, and no

    focus on continuous security testing, the FTX Group did not review, test, or otherwise deploy its

    code in a manner that sufficiently ensured that it was functioning as expected and free of

    vulnerabilities that might be leveraged by malicious actors.

                     6.       Debtors’ Work to Identify and Secure Crypto Assets in the
                              Computing Environment

                     As a result of FTX Group’s lack of appropriate documentation and recordkeeping,

    the Debtors had to undertake significant efforts to identify, access, and secure crypto assets from

    the FTX Group’s computing environment. The lack of records was particularly challenging

    because cryptocurrency keys are simply strings of alphanumeric characters that may otherwise

    be indiscernible in a computing environment. The Debtors’ challenge was compounded by the




    42
              See, e.g., NIST Special Publication 800-53 Revision 5: SA-12: Supply Chain Protection (“Verify the
    integrity of code obtained from external sources before it is deployed on the system”); NIST Special Publication
    800-53 Revision 5: SA-11: Developer Security Testing and Evaluation (“Require developers to test their code for
    security vulnerabilities before it is deployed into production”); NIST Special Publication 800-53 Revision 5: SA-3:
    System Development Life Cycle (“Incorporate security requirements into the system development life cycle and
    ensure that security is addressed in all stages of the life cycle”).

    43
             The most prominent example of a software supply chain attack is the 2020 SolarWinds attack, in which
    Russian state-sponsored actors compromised SolarWinds software, used widely throughout the U.S. public and
    private sectors, in order to gain access to the networks of government agencies and companies that downloaded the
    software.

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    enormous time pressure that they faced due to a confluence of circumstances that resulted from

    other FTX Group control failures described above:

                       x The Debtors took over responsibility for a computing environment that had
                         been compromised. A malicious actor had just drained approximately $432
                         million worth of crypto assets in hours; the FTX Group did not have the
                         controls to detect the compromise, much less to stop it; and due to the FTX
                         Group’s deficient controls to secure crypto assets, the Debtors faced the threat
                         that billions of dollars of additional assets could be lost at any moment.

                       x Compounding the challenge, and reflecting additional FTX Group control
                         deficiencies, the Debtors’ cybersecurity experts found that the FTX Group had
                         no written plans, processes, or procedures that explained the architecture or
                         operation of its computing environment or storage of crypto assets.

                       x Even as they raced to secure the environment in these challenging
                         circumstances, the Debtors separately faced the risk that individuals in
                         possession of private keys to crypto assets could unilaterally transfer those
                         assets. In other words, securing the environment would not be enough: until
                         the crypto assets were transferred to cold storage, they could be taken by
                         anyone who had the private keys. Indeed, the day after the November 2022
                         Breach, without the Debtors’ authorization, and at the direction of Bahamian
                         authorities, Bankman-Fried and/or Wang used private keys they had in their
                         possession to transfer hundreds of millions of dollars’ worth of FTT, SRM,
                         MAPS and other tokens out of Debtor wallets and into cold wallets in
                         Bahamian custody. 44

                       x Compounding all of these challenges, and as the Debtors worked to identify
                         and access crypto assets with no “map” to guide them, the Debtors had to
                         engineer technological pathways to transfer many types of assets they
                         identified to cold storage because the FTX Group had never engaged in the
                         computer engineering necessary to make those transfers possible.

                      The Debtors’ work to identify and secure these crypto assets required the

    combined efforts of experts in computer engineering, cryptography, blockchain technology,

    cybersecurity, IT architecture, and cloud computing. Examples of the work that was undertaken

    to identify crypto assets in the environment—ultimately, to date, over a billion dollars’ worth of

    crypto assets as to which few or no records existed—include the following:



    44
            Due to price declines, illiquidity, and other issues, these tokens are currently worth a small fraction of the
    amount of their estimated worth at the time of transfer.

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                      x   Experts developed novel code to identify crypto assets and keys that were
                          stored in over a thousand servers and IT resources that constituted the FTX
                          Group computing environment. Millions of these keys had no labelling or
                          description that reflected their nature or use, requiring further analysis and
                          blockchain analytics. Through this work, the Debtors recovered hundreds of
                          millions of dollars’ worth of crypto assets not reflected in any recordkeeping
                          system of the FTX Group.

                      x   Experts identified and recovered crypto wallets used for the FTX Group’s
                          extensive trading operations, and developed scanning tools and dedicated
                          software to identify Alameda’s DeFi portfolio 45 as to which few centralized
                          records have been identified. Using these tools, the Debtors have identified
                          tens of millions of dollars’ worth of crypto assets that are in the process of
                          being recovered.

                      x   Experts learned that the FTX exchanges had experienced difficulty with the
                          accuracy of code that the FTX Group had engineered to identify and transfer
                          assets from over 10 million wallets of exchange customers into omnibus
                          accounts. Surmising that crypto assets could still remain scattered among the
                          wallets due to the inaccuracy of that code, experts developed code that would
                          automatically both identify any crypto assets across blockchains that remained
                          among the more than 10 million wallets, and then automatically transfer those
                          assets to cold storage. Through the operation of this code alone, the Debtors
                          have identified and secured over $140 million in crypto assets of the estate.

    V.       Conclusion

                      The FTX Group’s profound control failures placed its crypto assets and funds at

    risk from the outset. They also complicated the Debtors’ recovery efforts, although the Debtors

    have made and continue to make substantial progress in that regard. To date, through the work

    described above, the Debtors have recovered and secured in cold storage over $1.4 billion in

    digital assets, and have identified an additional $1.7 billion in digital assets that they are in the

    process of recovering. The Debtors will continue to provide updates on their ongoing recovery

    efforts and investigation.




    45
             A Decentralized Finance (DeFi) portfolio encompasses a range of investments, holdings, and trading
    positions in blockchain-based financial applications that operate in a decentralized, peer-to-peer manner, rather than
    relying on centralized exchanges, brokerage firms, or banks.

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   FTX Advisory Board Meeting for Mar 21th 2022

   Link to previous advisory board meetings: Q4 2021


   Metrics

   Market Share / Growth and Revenue

   Data for 2021
      ● Ended 2021 with $1.004B of revenues for FTX.com and $40.9M of revenues for FTX.us
      ● Ended 2021 at 10.5% of global volume (FTX.com) and 3.3% of US volumes (FTX.us)


                         FTX Intl                                  FTX US




    Does not include FTT Buy-and-burn.

    Market share as of 12/31/2021 = 10.5%         Market share as of 12/31/2021 = 3.3%
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   YTD Data for 2022


                         FTX Intl                                  FTX US




    Does not include FTT Buy-and-burn.

    Market share as of 03/20/2022 = 10.09%        Market share as of 03/20/2022 = 4.53%




   The updated FTX Stats can be found
                                f und here (until 03/20).
                                fo
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   Highlights
      1. Regulatory and licenses:
            a. Our application to the CFTC fofforr real-time 24x7 margin system fo
                                                                                fforr retail
               customers is live for
                                 f r public comments
                                 fo
            b. Since the last advisory board meeting we’ve received licenses for  f r crypto spot and
                                                                                  fo
               derivatives in Europe (EU), Switzerland, Dubai, Japan, Australia, Gibraltar,
               Bahamas. In addition, we have pending license applications / acquisitions for  f r the
                                                                                              fo
               UK, Canada, Singapore (Spot), Bahrain, Philippines and Indonesia.
            c. 30 MTL applications have been accepted. Also, a NY Trust application license
               was submitted recently
      2. Launch of new product lines including:
            a. Gaming and associated partnerships
            b. Whitelabels partnerships
            c. Access
            d. Ve
               V  ntures
               Ventures



   Lowlights
      1. The overall crypto volumes have come down substantially over Q1. Our market share
         has flattened because of two reasons:
            a. For the last 8 months, a maj  a ority of the company is fo
                                           majority                    ffocussed
                                                                          cussed on building
                 regulatory moats
            b. Rate limits and exchange throughput can be a huge unlock
                     i. We just rolled out a 50% increase, expecting another 2-5x increase this
                        year
            c. The benefits of being regulatory compliant (e.g. banking relationships, on/offf
                 ramps, ability to market) haven’t come online as yet
                     i. Banking relationships coming online over the next 3 months
                    ii. US futures sometime in 2022
                   iii.              enfo
                                        f rcement actions: the only
                        Absence of enforcement                     l maja or crypto exchange
                                                                     major
                        anywh
                            w ere
                        anywhere r in the world without any enforcements,
                                                              enfo
                                                                f rcements, etc.
      2. NFT volumes are quite small relative to our dominance in fungible tokens



   Asks
      1. CFTC license application:
           a. Please provide comments to our CFTC license application
           b. Brief notes here: https://docsend.com/view/ta36fnu4rg49gk8q (password:
                FTXBAHAMAS)
             c. The deadline for the comments is April 11, 2022.
      2. Crypto Bahamas - Please visit us for
                                            f r Crypto Bahamas. We will host the next meeting
                                            fo
         in-person (with virtual attendance for
                                            f r those that cannot attend)
                                            fo
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      3. Fundraising (Series D for
                               f r FTX Trading and Series A fo
                               fo                           fforr FTX US) - See below



   Product and recent launches
      1. Continuation of a number of matching engine improvements to support the volume,
         increase reliability etc. We now have a little head room (~ 2 months) before  befo
                                                                                          f re this
         becomes a blocker
      2. Large amount of developer capacity has been spent on regulatory approvals, and launch
         of FTX in Europe, Japan and Australia and integration of FTX US Derivatives to FTX US.
      3. Large number of localized on/off-ramps
                                       on/off
                                           ff-ramps and KYC / AML improvements including move to
         Stripe Identity
      4. Support fo
                  fforr whitelabel partners to bring them online. In the next few months, Ledger
         (hardware wallet), TradingView (trading charts software),
                                                             soft
                                                               f ware), DraftKings
                                                                         Draft f Kings (sportsbetting) and
         Dave.com (neobank) might go online with crypto trading enabled by FTX
      5. We are likely to launch Stocks in the US on the FTX App fo     fforr internal testing in the next
         month. As we file state by state notices, we’ll be able to launch over the next few months
      6. Improved onboarding flow and telemetry for    f r FTX App. Huge improvement from six
                                                       fo
         months ago; some upgrades still coming.



   FTX US
      1. FTX US Derivatives and readiness fo  fforr launch of derivatives in the US: sometime in 2022
      2. Regulatory license applications including NY Trust license and MTLs (at 30 MTLs now)
      3. Details about US derivatives:
            a. Direct to customer, including both retail and institutional
            b. Real-time margining
            c. Collateral posted directly with clearinghouse
            d. There is some precedent for f r some of this (e.g. ICE-NGX) but no US exchange
                                           fo
                 has put these together befo
                                           f re
                                        before
            e. Would have prevented the LME/Nickel implosion
            f. Unlocks the US futures market fo     fforr non-institutional participants



   Fund raising
      1. We are likely to pursue another fund raise for
                                                      f r FTX and FTX US. This is fo
                                                      fo                           fforr a few
         reasons:
            a. Acquisitions:
                    i.   We expect consolidation in the crypto exchange market. In particular,
                         local exchanges with large user bases are particularly attractive at this
                         time. We are in conversations with multiple large regional crypto
                         exchanges.
                   ii.   In the last year, we have done roughly $1b of acquisitions, which have
                         resulted in us getting: US futures license; European licensing; Japanese
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                        licensing; an in-house video game; Australian licensing; in-house qualified
                        custodian; blockchain/RPC server     servr er dev support; etc. There is some more
                        on the horizon: mostly licensing and user acquisition.
              b. Regulatory moats:
                    i.  FTX US Derivatives and a new real-time margin, direct to retail approach
                        is likely to come online soon. This would be a huge regulatory moat and
                        the captive opportunity is over 2x our current business. We would likely
                        be the only exchange (crypto or otherwise) otherw
                                                                        r ise) authorized to directly offer
                                                                                                      off
                                                                                                       f er
                        crypto futures to all clients in the US.
                   ii.  We’re the most regulated exchange with 17 licenses and licenses to
                        serv
                           r e over 50% of the world’s GDP (large parts of the world currently
                        serve
                        don’t have a licensing regime). These are long-term compounding moats
                        and advantages with better payment rails and ability to market.
              c. More capacity fo   fforr insurance fund fo
                                                          fforr FTX US Derivatives. This hasn’t been
                 requested yet but there is a nontrivial chance that the CFTC requests us to post
                 up to $1b fo
                            fforr the risk waterf r all. We posted $250m from a previous raise, and the
                                             waterfall.
                 CFTC was ve  vveryr happy; it probably sped up our futures application by 3-6 months
                                   ry
                 and removed the remaining significant possibility of rejection.rej
                                                                                 e ection.



   Others
       1. Recent acquisitions:
             a. Liquid - Japanese crypto exchange
             b. Storybook Brawl - A small TCG game to understand NFTs       T fo
                                                                              fforr gaming
             c. [Confidential and hasn’t closed] Aza Finance - FX OTC desk fo      fforr on and off
                                                                                                 f ramps
                  in Africa, together with licensing
       2. Endorsements and marketing:
             a. FTX Super bowl ad in case you missed it
             b. Considering soccer, music, and fashion right now
       3. FIA in Boca Raton:
             a. The Futures Industry Association conference was held in Boca Raton, Florida
                  where crypto was an important topic of conversation. Here is a JPM report on the
                  FIA (h/t to Oliver from Standard Investments); “FTX dominated the dialogue with
                  its proposal to offer
                                  off
                                   f er a non-intermediated, direct to customer clearing model”.

   –

   Attendees:
   Alfred Lin (Sequoia)
   Matt Huang (Paradigm)
   Robert Sayle (Orlando Bravo)
   Jan Koum (Newlands)
   Michael Abramson (Newlands)
   Prady Agarwal
          Agarw
              r al (Temasek)
                   (Te
                    T masek)
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